Case 2:19-cv-02215-SHL-dkv Document 1-2 Filed 04/05/19 Page 1 of 126                                              PageID 7

                                                                           Service of Process
                                                                           Transmittal
                                                                           03/06/2019
                                                                           CT Log Number 535041806
   TO:     KRISTINE LOFRESE
           DITECH FINANCIAL LLC
           1100 VIRGINIA DR
           FORT WASHINGTON, PA 19034-3276

   RE:     Process Served in Tennessee

   FOR:    DITECH FINANCIAL LLC  (Domestic State: DE)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                 JULIE RENE MULANAX, Pltf. vs. QUICKEN LOANS, INC., and DITECH FINANCIAL, LLC,
                                    Dfts.
   DOCUMENT(S) SERVED:              Letter, Complaint, Affidavit, Exhibit(s)
   COURT/AGENCY:                    Shelby County Chancery Court, TN
                                    Case # CH190324
   NATURE OF ACTION:                Foreclosure Litigation - Mortgage - 1194 Wingfield Road in Memphis, Tennessee
   ON WHOM PROCESS WAS SERVED:      C T Corporation System, Knoxville, TN
   DATE AND HOUR OF SERVICE:        By Courier on 03/06/2019
   JURISDICTION SERVED :            Tennessee
   APPEARANCE OR ANSWER DUE:        03/18/2019 at 10:00 a.m.
   ATTORNEY(S) / SENDER(S):         Kevin A. Snider
                                    Snider & Horner, PLLC
                                    9056 Stone Walk Place
                                    Corporate Gardens
                                    Germantown, TN 38138
                                    901-751-3777
   ACTION ITEMS:                    CT has retained the current log, Retain Date: 03/06/2019, Expected Purge Date:
                                    03/11/2019

                                    Image SOP

                                    Email Notification,  KRISTINE LOFRESE  kristine.lofrese@ditech.com

                                    Email Notification,  MANISH VERMA  manish.verma@ditech.com

   SIGNED:                          C T Corporation System
   ADDRESS:                         300 Montvue RD
                                    Knoxville, TN 37919-5546
   TELEPHONE:                       312-345-4336




                                                                           Page 1 of  1 / DK
                                                                           Information displayed on this transmittal is for CT
                                                                           Corporation's record keeping purposes only and is provided to
                                                                           the recipient for quick reference. This information does not
                                                                           constitute a legal opinion as to the nature of action, the
                                                                           amount of damages, the answer date, or any information
                                                                           contained in the documents themselves. Recipient is
                                                                           responsible for interpreting said documents and for taking
                                                                           appropriate action. Signatures on certified mail receipts

EXHIBIT A
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                     Case 2:19-cv-02215-SHL-dkv Document 1-2 Filed 04/05/19 Page 3 of 126                                        PageID 9


                                                             March 5,2019

                                                             VIA EMAIL & FEDEX

                                                             PADGETT LAW GROUP
ATTORNEYS AT                                    LAW          6267 Old Water Oak Road, Suite 203
   A frofessionol Limited Liability Company
                                                             Tallahassee, FL 32312
         9056 STONE WALK PLACE
                                                             QUICKEN LOANS, INC.
   GERMANTOWN, TN 38138-7824                                 do CT Corporation System
       TELEPHONE (901)751-3777                               300 Montvue Road
        FACSIMILE (901)759-0041                              Knoxville, TN 37919
         WWW.KEVINSNIDER.COM
                                                             Ditech Financial, LLC
                                                             do CT Corporation System
                                                             300 Montvue Road
                                                             Knoxville, TN 37919

                                                             Re: Julie Rene Mulanax v. Quicken Loans & Ditech Financial -

                                                             To Whom It May Concern:

                                                             Be advised that our office have been retained by Julie Rene Mulanax for
                                                             representation in regard to a lawsuit against Quick Loans and Ditech
                                                             Financial. To that end, enclosed you will find a copy of the Complaint as
                                                             well as a copy of the Temporary Restraining Order that we obtained today
                                                             to stop any collection and foreclosure proceedings in this matter.
                                                             Obviously, we will be expecting you to comply with the Temporary
                                                             Restraining Order and stop any and all collection efforts and foreclosure
Kevin A. Snider, J.D., C.F.E.                                proceedings.
Founding Attorney *1
Gail % Horner                                                Also enclosed, you will find a Notice for the Temporary Injunction
Attorney*4                                                   Hearing that is scheduled for March 18.2019 at 10:00 a.m. in Part 3 of
Erin M. Shea                                                 Shelby County Chancery Court.
Attorney
Joshua B. Bradley                                            If you have any additional questions, please feel free to give me a call.
Attorney
                                                             Sincerely,
Elizabeth B. Stagich
Attorney                                                     SNIDER & HORNER, PLLC

1 Abo licensed os a Certified Fraud Examiner
2 Abo Certified as a Gvil Trial Specialist end
                                                             3£epin A. Snider
  Cm) Retrial Specialist by the National Beard               KevinWI3fflflffHWE"m
  of Trial Advocacy
3 Abo Certified os a Rule 31 listed General CM)              Attorney at Law
  Mediator
4 Abo Certified as a Rute31 listed Family Mediator
                                                             Enclosures
This communtcolion is from o debt collector and the
purposo of this communication b toed ed     l o debt and     cc: Ms. Julie Mulanax
any information obtained will bo used far thot and
other purposes allowed by law. Unless you, within
thirty days oflot die receipt of tins communication,
dispute the validity of the debt, or any portion thereof,    KAS/sjs
the debt will be assumed to be volid by us. If you
notify us within e thirty-day period thot the debt, or any
portion thereof, is disputed, we will obtain verification
of the debt or o copy of o judgment ogoinst you and o
copy of such verification or a judgment will bo mailed

                        EXHIBIT A
to you by us and upon your written request within tho
thirty-day period, wo will provide you with tho name
and address of tho origino! creditor if different from
die current creditor;
            Case 2:19-cv-02215-SHL-dkv Document 1-2 Filed 04/05/19 Page 4 of 126                                             PageID 10
      5*'
                                                                                                                CHANCERY COURT
                                                                                                                       MAR 0 5 2019
                                                                                                                NOT FOR SERVICE
                                                  THE STATE OF TENNESSEE                                         OR RETURN USE
                                                                    TO
     Quicken Loans, Inc. - c/o CT Corporation System, 300 Montvue Road, Knoxville, TN 37919
     Ditech Financial, LLC - c/o CT Corporation System, 300 Montvue Road, Knoxville, TN 37919


                                                                                              AGENTS AND ATTORNEYS - Greetings
        WHEREAS Julie Rene Mulanax


     hath lately exhibited _________                                                               Complaint in the Chancery Court of
     Shelby County against you the said                                               Defendant


~T

                                                                                         as Defendants therein, and obtained from the
     Honorable                                                                          Chancellor, a fiat that a restraining order issue ;; ^
     according to the prayer of said complaint. We, therefore in consideration of the premises, do strictly restrain and
     command you, the said      Defendant and your assignees, agents, servants, employees and attorneys
                                                                                                                                           % 4   (

     and all persons in active concert and participation with you
                                                                                                                                             I S




     and all and eveiy the persons before mentioned, and each and every of you, that you and every of you, do absolutely
     desist and refrain and be restrained   ________________________________________________ ___
     from all efforts to collect any alleged unpaid debt from the Plaintiff and from any and all foreclosure
     proceedings against the Plaintiffs real property at 1194 Wingfield Road in Memphis, Tennessee




     until further orders of our said Court to the contrary. And this you shall in no wise omit, under the penalty prescribed
     by law.

                 ATRUECOPY-ATTEST
                  D&nna L. Russell, Cleck & Master
                                                   Witness, Donna L. Russell, Clerk and Master of said Court,
                                                                    This   6* day of fVhro 1a                                        2o/_fL
               JoeDae L. Jenkins
                                                      D.C. & M                                 Donna L. Russell, Cli
                                                                                                                                   m   &
                                                                                                                                         itert
                       Chancellor

     This   /$r day of f(\mh                                        20
             EXHIBIT A
   Case 2:19-cv-02215-SHL-dkv Document 1-2 Filed 04/05/19 Page 5 of 126                 PageID 11

               Julie Rene Mulanax                                        Office of Clerk and Master
                                                                       Chancery Court, Shelby County
                                                                                Memphis, TN
      vs.         una-iv EQa-vJ
Quicken Loans, Inc. and Ditech Financial, LLC                      day of   IVUnrein          20   15


TO Quicken Loans, Inc. - c/o CT Corporation System, 300 Montvue Road, Knoxville, TN 37919
  Ditech Financial, LLC -c/oCT Corporation SyBtem, 300 Montvue Road, Knoxville, TN 37919


   You are hereby notified that____________________________________________
  a Temporary inunction Hearing will be held on: PW<^    I?,


                                                                             k-t.




                                                                             V




  CHANCERY COURT
        MAR 0 5 2019
                                                   Respectfully,
   NOT FOR SERVICE
    OR RETURN USE                                  DONNA L. RUSSELL, C. & M.

                                                   By




  Kevin A. Snider / Snider & Homer, PLLC

Attorney for              Plaintiff




     EXHIBIT A
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          IN THE CHANCERY COURT OF SHELBY COUNTY, T
             FOR THE THIRTIETH JUDICIAL DISTRICT AT ME
                                                                                  _     CE __
                                                                                 SHELBY COUNTY
                                                                                 ^'MANUfcRY COURT

    JULIE RENE MULANAX,                                                      u        MAR -5 2019
           Plaintiff,                                                       DONNA L. RUSSELL, C & M
                                                                            TIME:               saw*
    vs.                                                          Docket No. CH    • IT
                                                                 Part
                                                                 JURY DEMANDED
    QUICKEN LOANS, INC., and
    DITECH FINANCIAL, LLC,

           Defendants.


             COMPLAINT FOR DECLARATORY JUDGMENT, DAMAGES,
                   AND REQUEST FOR INJUNCTIVE RELIEF




           COME NOW the Plaintiff, Julie Rene Mulanax, by and through her legal counsel

    of record, Kevin A. Snider of Snider & Homer, PLLC, and files her Complaint for

    Declaratory Judgment, Damages, and Request for Injunctive Relief and would state to

    this Honorable Court as follows:



                               JURISDICTION AND VENUE

           1. The Plaintiff, Julie Rene Mulanax (hereinafter referred to as “Plaintiff’), is an

    adult resident and citizen of Shelby County, Tennessee.




                                         - Page 1 of 13-
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           2. The Defendant, Quicken Loans, Inc. (hereinafter referred to as “Defendant”

    and/or “Quicken”) is an active, for-profit corporation lawfully registered with the

    Secretary of the State of Tennessee transacting business in Shelby County, Tennessee,

    and may be served with process through its registered agent, CT Corporation System, 300

    Montvue Road, Knoxville, Tennessee 37919.

           3. The Defendant, Ditech Financial, LLC (hereinafter referred to as “Defendant”

    and/or “Ditech”), is an active, limited liability coiporation lawfully registered with the

    Secretary of the State of Tennessee transacting business in Shelby County, Tennessee,

    and may be served with process through its registered agent, CT Corporation System, 300

    Montvue Road, Knoxville, Tennessee 37919.

           4. For purposes of this Complaint, all Defendants named in Paragraphs 2 and 3

    shall be collectively referred to as “the Defendants”.

           5. Jurisdiction and Venue in the instant case are properly found in Shelby

    County, Tennessee, pursuant to T.C.A. § 20-4-101 and related sections.



                                    FACTUAL ALLEGATIONS

           6. On or about May 30, 2007, the Plaintiff purchased the real property

    municipally known as 1194 Wingfield Road, Memphis, Tennessee (hereinafter referred

    to as the “Property”) from George Parks and Jean Burk. A copy of the Warranty Deed is

    attached hereto as Exhibit A.

           7. On the same date, the Plaintiff financed and took out a mortgage on the

    Property with Quicken in the amount of $69,000.00. A copy of the Deed of Trust is

    attached hereto as Exhibit B.



                                          - Page 2 of 13-
 EXHIBIT A
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           8. Thereafter, the Plaintiff made her monthly payments on the home pursuant to

    the terms and conditions of a note and the deed of trust.

           9. Upon information and belief, the indebtedness was assigned to Bank of

    America, Green Tree, and ultimately to Ditech. It should be noted that the Plaintiff did

    not receive timely and proper notices of any assignments or transfers and nothing has

    been filed or recorded in the Shelby County Register’s Office regarding such.

           10. In 2011, the Plaintiff made her monthly mortgage payment to Bank of

    America (as she had for some time) and was then contacted by Green Tree essentially

    stating that she was behind in her mortgage as they never received any payments from

    Bank of America. The Plaintiff contacted Bank of America and was informed that the

    Plaintiffs payments were sent to Green Tree.

            11. The Plaintiff continued to make her payments in 2012,2013, and 2014.

            12. Sometime in 2015, the Plaintiff received a letter from an attorney about a

    foreclosure on the property and demanding that the indebtedness be brought current.

    Although the Plaintiff disputed the amount owed and/or that the Plaintiff was behind on

    her payments and/or in an effort to resolve the dispute without further cost and expense,

    the Plaintiff borrowed money and paid the amount that was claimed to be owed.

            13. After making this payment and bringing the account current, the Property was

    immediately placed back into arrears although the Plaintiff would aver that this would not

    be possible. The Plaintiff was told by representatives of Green Tree that the money was

    placed into a “suspense account” for which the Plaintiff was not provided any

    explanation. Sometime, thereafter the indebtedness was assigned to Ditech.




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 EXHIBIT A
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            14. Upon information and belief, from that point forward and continuing forward

    to the date of the filing of this Complaint, the Plaintiff’s payments were never properly be

    properly applied to her loan.

            1S. In particular, it appears that the Defendants and/or their predecessors and/or

    assignees in interest, miscalculated the principal, interest, late fees, and/or other charges

    that they assessed against the Plaintiff; and/or refused and/or failed to properly accept and

    apply all of the payments that the Plaintiff made on the mortgage loan; and/or refused

    and/or failed to cure the problems with the billing on the loan; and/or by issuing

    inappropriate or unwarranted charges against the Plaintiff.

            16. As a result Ditech is now claiming a current balance owed in excess of

    $9,000.00 and apparently has instituted foreclosure proceedings against the Property.

            17. It should also be noted'that the Plaintiff has not received any actual and/or

    proper notice of the foreclosure proceedings but upon information and belief Defendant

    Ditech has engaged the services of the Padgett Law Group to complete a foreclosure sale

    on March 7,2019.

            18. The Plaintiff would aver that there is a serious and substantial dispute as to

    the amounts owed to the Defendants and that the Court needs to determine and resolve

    these disputes through a declaratory order. Moreover, the Plaintiff would aver that there

    is an immediate threat of irreparable harm against her by these Defendants and/or their

    assignees, agents, and/or others acting on their behalf due to the threatened and/or actual

    foreclosure processes) that apparently has already begun for which there would be no

    adequate remedy at law if the foreclosure process is not immediately stopped.




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                          FIRST CLAIM - BREACH OF CONTRACT

            20. The allegations of all other paragraphs and claims in this pleading are

     incorporated as if fully rewritten herein.

            21. This claim is for breach of contract against the Defendants.

            22. The Plaintiff entered into mortgage loan agreementwith the Defendants, both

     of which set forth dates by which monthly principal and interest payments were due as

     well as when late fees and other changes could be assessed.

            23. The Plaintiff has duly performed all of the terms and conditions of the above-

     described mortgage loan agreement with Defendants to the extent that the Plaintiff can

     ascertain what is rightly and properly owed.

             24. The terms and conditions of the Plaintiffs mortgage loan agreement with the

     Defendants required that the payments made by the Plaintiff be properly applied to said

     loan agreement.

             25. The Defendants and/or their predecessors and/or assignees and/or agents

     breached the Plaintiffs mortgage loan agreement in one or more of the following

     respects:

                    A. By miscalculating principal, interest, late fees, and/or other charges

             that they assessed against the Plaintiff; and/or

                    B. By refusing and/or otherwise failing to accept and apply all of the

             payments and/or credits that the Plaintiff made or had on the mortgage loan, the

             result of which has led to the commencement of the process of foreclosure against

             the Property; and/or




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  EXHIBIT A
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                     C. By refusing and/or failing to cure the problems with the calculation of

            amounts owed on the mortgage; and/or

                     D. By issuing inappropriate or unwarranted charges against the Plaintiff;

            and/or

                     E. By not properly allowing the grace period.

            26. As a sole, direct, and proximate cause of the Defendants’ actions and/or

     omissions constituting a breach of contract, the Plaintiff has and continues to incur

     substantial damages.



         SECOND CLAIM - BREACH OF THE IMPLIED COVENANT OF GOOD
                                   FAITH AND FAIR DEALING

            27. The allegations of all other paragraphs and claims in this pleading are

     incorporated as if fully rewritten herein.

            28. This claim is for breach of the implied covenant of good faith and fair dealing

     against the Defendants.

             29. Every contract imposes upon each party a duty of good faith and fair dealing

     in its performance and enforcement. The implied covenant of good faith and fair dealing

     requires that no party will do anything that will have the effect of impairing, destroying,

     or injuring the rights of the other party to receive the benefits of his or her agreement.

     This covenant implies that in all contracts each party will do all things reasonably

     contemplated by the terms of the agreement to accomplish its purpose. This covenant

     protects the benefits of the agreement the parties reasonably contemplated when they

     entered into the contract.




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  EXHIBIT A
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            30. The Defendants did not deal fairly with the Plaintiff in connection with the

     mortgage loan agreement when they refused or otherwise failed to properly accept and

     apply payments to the parties9 mortgage loan agreements and thereafter began

     foreclosure proceedings against the Property. Moreover, the Defendants ultimately

     refused to resolve their mistakes with the Plaintiff in an equitable fashion.

            31. The Defendants enjoyed substantial discretionary power affecting the rights

     of the Plaintiff during the events alleged in this Complaint and were required to exercise

     such substantial discretionary power in good faith.

            32. The Defendants engaged in such conduct to drive the Plaintiff into

     foreclosure so that they could acquire the Property. These actions were a bad faith breach

     of contract between the Plaintiff and Defendants, which show that said Defendants had

     no intentions whatsoever of performing the mortgage loan agreement in good faith.

            33. As a sole, direct, and proximate cause of the Defendants actions and/or

     omissions amounting to a breach of the implied covenant of good faith and fair dealing,

     the Plaintiff has and continues to incur substantial damages.



                THIRD CLAIM - FRAUD AND/OR MISREPRESENTATION

            34. The allegations of all other paragraphs and claims in this pleading are

     incorporated as if fully rewritten herein.

            35. This claim is for fraud and/or misrepresentation against the Defendants.




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            36. The Defendants and/or their predecessors, assignees, employees, agents,

     representatives, or other individuals working on their behalf, engaged in fraud and/or

     misrepresentation when they falsely represented to the Plaintiff that they would properly

     credit payments made by the Plaintiff on the mortgage loans when, in fact, they have

     refused and/or otherwise failed to accept and apply all of the payments that the Plaintiff

     made on the mortgage loans and/or duly apply all appropriate credits, the result of which

     has lead to the commencement of the process of foreclosure against the Property.

            37. The Defendants and/or their predecessors, assignees, employees, agents,

     representatives, or other individuals working on their behalf, engaged in fraud and/or

     misrepresentation when they falsely represented to the Plaintiff that they would properly

     calculate and/or correct errors regarding principal, interest, late fees, and/or other charges

     that they assessed against the Plaintiff when, in fact, they have refused and/or otherwise

     failed to make said corrections to the Plaintiff’s mortgage loan agreement.

             38. The Defendants’ actions were intentional, willful, malicious, and/or reckless

     and entitle the Plaintiff to punitive damages. The Defendants knew of the foregoing

     falsehoods and made them recklessly with the intent to deceive the Plaintiff and to induce

     her into entering into mortgage loan agreement, to foreclose on the Property and/or to

     damage the Plaintiffs credit rating from said foreclosure.

             39. Alternatively, the Defendants’ actions and/or omissions were negligent in that

     the Defendants failed to exercise due care to maintain proper and accurate mortgage loan

     records and should have reasonably foreseen that their herein-stated actions and/or

     omissions of not crediting payments made by the Plaintiff and/or properly managing

     and/or assigning her account would harm or damage said Plaintiff financially.



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            40. As a sole, direct, and proximate cause of the Defendants’ actions and/or

     omissions, the Plaintiff has and continues to incur substantial damages.



            FOURTH CLAIM - OTHER INTENTIONAL. RECKLESS. AND/OR
                   NEGLIGENT ACTIONS AND/OR OMISSIONS

            41. The allegations of all other paragraphs and claims in this pleading are

     incorporated as if fully rewritten herein.

            42. At all times relevant herein, the Defendants as the Plaintiff’s lenders and loan

     servicers had a duty to exercise reasonable care and skill to maintain proper and accurate

     mortgage loan records and to discharge and fulfill the other incidents attendant to the

     maintenance, accounting, and servicing of loan records including, but not limited to,

     acceptance of and accurate crediting of the Plaintiffs’ monthly mortgage payments.

            43. In taking the aforementioned actions and in failing to take the actions as the

     Plaintiff asserts should have been taken, the Defendants breached their duty of care and

     skill to the Plaintiff in the servicing of the Plaintiffs mortgage loan by failing to accept

     and properly and accurately credit the Plaintiffs monthly mortgage payments and by

     commencing foreclosure proceedings against the Property.

             44. In fact, the Plaintiff would further aver that the Defendants acted

     intentionally, recklessly, and/or negligently incidental to their representation to the

     Plaintiff that they would properly credit payments made by the Plaintiff on the mortgage

     loan; properly calculate and/or correct errors regarding principal, interest, late fees,

     and/or other charges that they assessed against the Plaintiff.




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             45. As a direct and proximate result of the Defendants’ other intentional,

     reckless, and/or negligent actions and/or omissions, the Plaintiff has and continues to

     incur substantial damages.



                                           JURY DEMAND

             The Plaintiff demands a trial by jury on all issues which may be determined by a

     jury.



     WHEREFORE, PREMISES CONSIDERED, your Plaintiff prays:

             1. That proper process be issued and served upon the Defendants, requiring them

     to answer this Complaint within the'time allotted by the Tennessee Rules of Civil

     Procedure.

             2. That this Court issue a declaration of the rights and duties of the parties,

     especially and specifically that the Court determine the proper amounts that may be owed

     to the Defendants by the Plaintiff.

             3. That this Court temporarily restrain and permanently enjoin the Defendants’

     foreclosure of the Property and/or order the Defendants’ to cease all efforts to foreclose

     on all of the Plaintiffs real estate involved in this civil action.

             4. That this Court vacate and set aside any foreclosure sale executed by the

     Defendants against the Property.

             5. That the Plaintiff be awarded a compensatory judgment against the

     Defendants, jointly and severally, in an amount of not less than $50,000.00, or an amount

     to be more specifically proven either before or at trial.



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  EXHIBIT A
Case 2:19-cv-02215-SHL-dkv Document 1-2 Filed 04/05/19 Page 16 of 126                     PageID 22



           6. That the Plaintiff be awarded a judgment against the Defendantsjointly and

    severally, for punitive damages.

           7. That the Plaintiff be awarded the court costs and other expenses of this action.

           8. That the Plaintiff be awarded such other and further relief to which she may be

    entitled by law.

    THIS IS THE FIRST APPLICATION FOR EXTRAORDINARY RELIEF IN THIS
    MATTER; NO OTHER CHANCELLOR OR JUDGE HAS REFUSED THE RELIEF
    SOUGHT.



                                                        Respectfully submitted,

                                                         SNIDER & HORNER, PLLC


                                                            K***




                                                     ■^KEVIN A. SNIDER (B.P.R. #18231)
                                                       Attorney for the Plaintiff
                                                       Corporate Gardens
                                                       9056 Stone Walk Place
                                                       Germantown, TN 38138
                                                       (901)751-3777




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  EXHIBIT A
Case 2:19-cv-02215-SHL-dkv Document 1-2 Filed 04/05/19 Page 17 of 126                       PageID 23




                                               AFFIDAVIT

     STATE OF TENNESSEE
     COUNTY OF SHELBY

            I, Julie Mulanax, having been duly sworn, state as follows:

            1. I have reviewed the allegations of this Complaint and they are true and correct

     to the best of my knowledge, information, and belief.

            FURTHER AFFIANTS SAYETHNOT.




     Sworn and subscribed to me on this         I ^ day of                             ,2019.




                                                             NOTARY PUBLI  h            L
                A\\wmin#,.,          .    .        _ ,
     My                          1 ^-| tft \       d* l

           = ?{ TENNESS^ :
           5 \ NOTftP; ■




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  EXHIBIT A
Case 2:19-cv-02215-SHL-dkv Document 1-2 Filed 04/05/19 Page 18 of 126                      PageID 24



                                               FIAT



    TO THE CLERK OF THE THIS COURT:



           1. After the Plaintiff posts a bond in the amount of $       5^
    please issue and enter a Temporary Restraining Order, immediately restraining the

    Defendants, their assignees, agents, servants, employees and attorneys and all persons in

    active concert and participation with them from all efforts to collect any alleged unpaid

    debt from the Plaintiff and from any and all foreclosure proceedings against the

    Plaintiffs real property at 1194 Wingfield Road in Memphis, Tennessee.

           2. Please set the matter of a temporary injunction for hearing on the

     fYVUr&Vi         ,2019 at      lb:oo       o’clock              ^ajjJ/pm.



                                                                  JoeDae L. Jenkins
                                                          CHANCELLOR


           Apo/uia
            TRUE
           By JU
                       COPY-ATTEST
                   L. .Uissell, Clerk & Masler

                                         DA & M.
                                                          Date:
                                                                    m    j:io fn
                                                                                        ,2019




                                         ■Page 13 of 13-
  EXHIBIT A
                                         Tom Leatherwood, Shelby County Register of Deeds: Instr. # 07091884
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      Sf9*       '<



                                                                                             State of Tarawsact. fiS
                                                                                             County                                             I
                                                                                            The actual consideration or value, whichever is greater, for
                                                                                            this transfer is 569,000.00^^^^^
                                                                                                                                            ■Itoe^
                                                                                                                 Affiant
                             Prepared By and Return To:                                     Subscribed and sworn tobetoremeJhis the 30th day of
                           Law Offices of Shannon H. Williams                               May. 2007.               ^/1/77/fl
                             5960 Cetwell Road, Suite 212
                                Southaven, MS 38672                                                    Notaiy Public        mi
                                 Phone: 662-895-9000                                 My commission expires:
                                                                                                (AFFIX SEAL!            •TiOTARr
                                                                                                                       f         t-s
                                                            THIS INSTRUMENT WAS PREPARED BY
                                                             Griffin, Clift, Everton and Thornton, PLLC                  jmug        VV                 II
                                                      6489 Quail Hollow, Suite 100 , Memphis, Tennessee 38120
                                                                           File No. FFI5686                         MYCQMM680N EXPIRES
                                                                                                                                          July 2.2010
                       Address ofNew Owners) 6 follows:         Send T« BillsIk                                 Mep-Parcel Numbers
                       Julie Rent Motuui
                                                                Quicken Loans, Inc.                             OSJ-OS74W2D

                       1194 Wiinrfirid SHTE»                     P.O. Box 553154

                       MeamM».TN 38121                           Detroit, MI              48255-3154


                                                                   WARRANTY DEED

                      FOR AND IN CONSIDERATION OF THE SUM OF TEN DOLLARS. CASH IN HAND PAID BY THE
                      HEREINAFTER NAMED GRANTEES, AND OTHER GOOD AND VALUABLE CONSIDERATION, THE
                      RECEIPT OF WHICH IS HEREBY ACKNOWLEDGED, WE,

                       George Arthur Parks and Jean Parks Burk, son and mother
                      HEREINAFTER CALLED THE GRANTORS, HAVE BARGAINED AND SOLD, AND BY THESE PRESENTS
                      DO TRANSFER AND CONVEY UNTO
                      Julie Rene Mulanax, an unmarried person
                      HEREINAFTER CALLED THE GRANTEES, THEIR HEIRS AND ASSIGNS, A CERTAIN TRACT OR PARCEL
                      OF LAND IN Shelby COUNTY, STATE OF TENNESSEE, DESCRIBED AS FOLLOWS, TO-WIT:
                      Lot 36, Shirley Manor Subdivision, ns shown on plat of record In Plat Booh 14, Page 67, lo the Register's Office
                      ofShelby County, Tennessee, to which plat reference Is hereby made for a more particalar description of said
                      property.

                      Bring the same property conveyed to the Grantors herein by Warranty Deed of record at Instrument Number
                      FA 9365 In the Register's Office of Shelby County, Tennessee.
                      This conveyance Is made subject to Subdivision Restrictions, Building Lines and Easements of record in Plat
                      Book 14, Page 67 and Protective Covenants in Book 2497, Page 617 nod Book 2497, Page 619 all lo laW
                      Register's Office and 2007 Shelby County Really taxes, not yet due and payable.

                      This is improved f xx    I Unimproved (       I property, known as 1194 Wingfield Street, Memphis, TN 38122
                                TO HAVE AND TO HOLD the said tract or parcel of land, with the appurtenances, esuue, title and interest
                      thereto belonging to the said GRANTEES that we are lawfully seized and possessed of said land in fee simple; have a
             t        gpod right to convey it and the some is unencumbered, unless otherwise herein set out; and we do further covenant and
                      bind ourselves, our heirs and representatives, to warrant and forever defend the title to the said (and to the said
                      GRANTEES, their heirs and assigns, against the lawful claims of oil persons whomsoever. Wherever used, the
                      singular number shall include the plural, the plural the singular, and the use of any gender shall be applicable to all
                      genden.

                      Witness my/our Itandfs) this 30th day of May, 2007.


                                         \-CW*
                      Grarge Artbifp P«rM




  EXHIBIT A
                                 Tom Lcatherwood, Shelby County Register ot Deeds: Instr. tt 07091884
Case 2:19-cv-02215-SHL-dkv Document 1-2 Filed 04/05/19 Page 20 of 126                                                 PageID 26

      jP* ’ "i




                 INDIVIDUAL
                 STATE OF TENNESSEE                 )
                 COUNTY OF    Shelby                )

                 Before me, the undersigned, a Notary Public of said County and State, personally appeared George
                 Arthur Parks and Jean Parks Burk, the within named seller, with whom I am personally
                 acquamted(or proved to me on the basis of satisfactory evidence), and who acknowledged that he/she
                 executed the within instrument for the purposes therein contained.

                         Witness my hand, at office, this 30tb day of May, 2007.



                 Nokfry Public


                 My Commission Expires:




  EXHIBIT A
                      Tom Leatherwood,
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                                  Document           Register
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                                                                                 21 of 126   PageID 27


       >



;




                                 ‘Tom Leatherwood
                                    Shelby County Register




           As evidenced by the instrument number shown below, this document
             has been recorded as a permanent record in the archives of the
                            Office of the Shelby County Register.




                                                                              *«

                                           07091884
                                   06/it/2007 — pans aw
                                   l oca ? » - wiifcn pecp
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                                   tUDUIH Kt                  10.00
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                                   tom «nm                   260.30

                                          TOM LEATHERWOOD
                                   BIOtStEB OT DSE9S SBELB7 COOMI TCWVE9SZE




              160 N. Main St., Suite 519 - Memphis, Tennessee 38103 - (901) 545-4366
                                       http://register.shelby.tn.us
      EXHIBIT A
                  Tom Leatherwood,
Case 2:19-cv-02215-SHL-dkv         Shelby County
                              Document     1-2 Register of Deeds: Instr.
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                                                                            22 of 126                              PageID 28

                                 Pftpkaed’by nad Retunt to:
                                 Lav.' Offices of Shannon H. Williams
                                 5960 Getwell Rd., Ste. 212-B
                                 Southaven, MS 38672
        Return To:               662-895-9000                                                                              ;
        Christie Holloway
        Quicken Loans Inc.
        20555 Victor Parkway
        Livonia, MI 48152



        Prepared By:
        Quicken Loans Inc.
        20555 Victor Parkway
        Livonia, MI 48152



        The Maximum Principal Indebtedness for Tennessee recording tax purposes is 869,000.00
         -      -           -■    —■    —        |Sp»cc Above Tbb Line For Recording D«t»|
                                                                                                           3211564428
                                                   DEED OF TRUST
                                                                                   MIN 100039032115644284




        DEFINITIONS
        Words used in multiple sections of this document arc defined below and other words are defined in
        Sections 3, 11, 13, 18, 20 and 21. Certain rules regarding tbe usage of words used in this document am
        also provided in Section 16.

        (A) "Security Instrument" means this document, which is dated                        May 30, 2007
        together with all Riders to this document.
        (B) "Borrower"is Julie Rene Mulanax, a single woman




        Borrower is tbe trustor under this Security Instrument
        (C) nLender"is Quicken Loans Inc.

        Lender is a                                                Corporation
        organized and existing under the laws of                       the 'State of Michigan


        TENNESSEESingte FamKy-FanntottaefFredtfleMac UNIFORM INSTRUMENT WTH MERS                          Form 3043 1/01
        <^^-6A{TN) (ooo5)         1492321057
        Pegs torts                               m                           q03211964428 0233 163 011S
              VMP MORTGAGE FORMS. (800)30-7291




  EXHIBIT A
                  Tom Leatherwood,
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                                                                                                   #
        3211564428
        Lender's address is 20555 Victor Parkway, Livonia, Ml                    48152

        (D) "Trustee"is Joseph B. Pitt, Jr.

        a resident of Nashville                                                                       , Tennessee.
        (E) "MERS" is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is
        acting solely as a nominee for Lender and Lender's successors and assigns. MERS is die beneficiary
        under this Security Instrument MERS is organized and existing under the laws of Delaware, and has an               !
        address and telephone number ofP.O. Box 2026, Flint, MI 48501-20216, tel. (888) 679-MERS.
        (F) "Note" means the promissory note signed by Borrower and dated              May 30, 2007
        The Note states that Borrower owes LenderSixty Nine Thousand and 00/100
                                                                                                            Dollars
        (U.$.$ 69,000.00                 ) plus interest Borrower has promised to pay this debt in regular Periodic
        Payments and to pay the debt in full not later than           June 1, 2037                 . The maximum
        principal indebtedness for Tennessee recording tax purposes is $ 69,000.00
        (G) "Property" means the property that is described below under the heading "Transfer of Rights in the
        Property."
        (H) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges
        due under die Note, and all sums due under this Security Instrument, plus interest.
        (I) "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following
        Riders are to be executed by Borrower [check box as applicable):

         ZH Adjustable Rate Rider ID Condominium Rider                          Second Home Rider
         ZD Balloon Rider         III Planned Unit Development Rider            1-4 Family Rider
         □ VA Rider               Li] Biweekly Payment Rider                    Others) [specify]
                                                                             Legal Attached

        (J) "Applicable Law" means all controlling applicable federal, state and local statutes, regulations,
        ordinances and administrative rules and orders (that have the effect of law) as well as all applicable final,
        non-appealablc judicial opinions..
        (K) "Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other
        charges that are imposed on Borrower or the Property by a condominium association, homeowners
        association or similar organization.
        (L) "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by
        check, draft, or similar paper instrument, which is initiated through an electronic terminal, telephonic
        instrument, computer, or magnetic tape so as to order, instruct, or authorize a financial institution to debit
        or credit an account. Such term includes, but is not limited to, point-of-sale transfers, automated teller
        machine transactions, transfers initiated by telephone, wire transfers, and automated clearinghouse
        transfers.
        (M) "Escrow Items" means those items that are described in Section 2.
        (N) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid
        by any third party (other than insurance proceeds paid under the coverages described in Section 5) for (i)
        damage to, or destruction of, the Property; (ii) condemnation or other taking of all or any part of the
        Property; (iii) conveyance in lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the
        value and/or condition of the Property.
        (O) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on,
        foe Loan.
        (P) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the
        Note, plus (ii) any amounts under Section 3 of this Security Instrument.

        <^£«6A(TN) {00051                                 PggaZflHS                                  Form 3043 1/01



  EXHIBIT A
                  Tom Leatherwood,
Case 2:19-cv-02215-SHL-dkv         Shelby County
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       3211564428
       (Q) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its
       implementing regulation, Regulation X (24 C.F.R. Pari 3500), as they might be amended from time to
       time, or any additional or successor legislation or regulation that governs the same subject matter. As used
       in this Security Instrument, "RESPA" refers to all requirements and restrictions that are imposed in regard
       to a "federally related mortgage loan" even if the Loan does not qualify as a "federally related mortgage
       loan" under RESPA.
       (R) "Successor in Interest of Borrower" means any party that has taken title to the Property, whether or
       not that party has assumed Borrower's obligations under the Note and/or this Security Instrument.

        TRANSFER OF RIGHTS IN THE PROPERTY
        The beneficiary of this Security Instrument is MERS (solely as nominee for Lender and Lender's
        successors and assigns) and the successors and assigns of MERS. This Security Instrument secures to
        Lender, (a) the repayment of the Loan, and all renewals, extensions and modifications of die Note; and (b)
        die performance of Borrower's covenants and agreements under this Security Instrument and the Note. For
        this purpose, Borrower irrevocably grants and conveys to Trustee, in trust, with power of sale, the
        following described property located in the
                             County                        of                     Shelby
                    [Type of Recording Jurisdiction]                       [Name of Recording Jurisdiction]




                     SEE EXHIBIT "A" ATTACHED HERETO AND MADE A PART HEREOF.
                                 SUBJECT TO COVENANTS OF RECORD.



                                                                                                                            I




                                                       Derivation Clause
             This instrument constituting the source of the Borrower's interest in the foregoing described
             property was aKtorrBitfYdeed                recorded 4 see legal description
             in the Register's Office of Shelby           *                            County, Tennessee.
        Parcel ID Number:                    05035700020                       which currently has the address of
        1194 Wingfield Rd                                                                                   [Street]
                                   Memphis                          [City] , Tennessee 38122-1622       [Zip Code}
        ("Property Address"):
              TO HAVE AND TO HOLD, the afbredescrihed property, together with all die hereditaments and
        appurtenances thereunto belonging to, or in anywise appertaining, unto the Tnistee, its successors in trust
        and assigns, in fee simple forever. Borrower understands and agrees that MERS bolds only legal title to the
        interests granted by Borrower in this Security Instrument, but, if necessary to comply with law or custom,
        MERS (as nominee for Lender and Lender's successors and assigns) has the right: to exercise any or all of
        those interests, including, but not limited to, the right to foreclose and sell the Property; and to take any
        action required of Lender including, but not limited to, releasing and canceling this Security Instrument.

                     (ooo5)                                PogoSoMS                                    Form 3043 1/01



  EXHIBIT    A 0233
     q03211S64428             163 031S
                 Tom Leatherwood,
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       3211564428
               TOGETHER WITH all the improvements now or hereafter erected on the property, and all
         easements, appurtenances, and fixtures now or hereafter a part of the property. All replacements and
         additions shall also be covered by this Security Instrument All of the foregoing is referred to in this
         Security Instrument as the "Property.n
               BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has
         the right to grant and convey the Property and that die Property is unencumbered, except for encumbrances
         of record. Borrower warrants and wifi defend generally the title to the Property against all claims and
         demands, subject to any encumbrances of record.
               THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
         covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
         property.
               UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
               1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges.
         Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any
         prepayment charges and late charges due under die Note. Borrower shall also pay fends for Escrow Items
         pursuant to Section 3. Payments due under the Note and this Security Instrument shall be made in U.S.
         currency. However, if any check or other instrument received by Lender as payment under the Note or this
         Security Instrument is returned to Lender unpaid, Lender may require that any or all subsequent payments
         due under die Note and this Security Instrument be made in one or more of the following forms, as
         selected by Lender (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or
         cashier's check, provided any such check is drawn upon an institution whose deposits are insured by a
         federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.
                Payments are deemed received by Lender when received at the location designated in the Note or at
         such other location as may be designated by Lender in accordance with the notice provisions in Section 15.
         Lender may return any payment or partial payment if the payment or partial payments are insufficient to
         bring the Loan current. Lender may accept any payment or partial payment insufficient to bring the Loan
         current, without waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial
         payments in the future, but Lender is not obligated to apply such payments at the time such payments are
       . accepted. If each Periodic Payment is applied as of its scheduled due date, then Lender need not pay
          interest on unapplied fends. Lender may bold such unapplied fends until Borrower makes payment to bring
         the Loan current. If Borrower does not do so within a reasonable period of time, Lender shall cither apply
         such funds or return them to Borrower. If not applied earlier, such fends will be applied to the outstanding
          principal balance under the Note immediately prior to foreclosure. No offset or claim which Borrower
         might have now or in the future against Lender shall relieve Borrower from making payments due under
          the Note and this Security Instrument or perfoiming the covenants and agreements secured by this Security
          Instrument.
                2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all
         payments accepted and applied by Lender shall be applied in the following order of priority: (a) interest
          due under the Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments
          shall be applied to each Periodic Payment in the order in which it became due. Any remaining amounts
          shall be applied first to late charges, second to any other amounts due under this Security Instrument, and
          then to reduce the principal balance of the Note.
                If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
          sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and
          the late charge. If more than one Periodic Payment is outstanding, Lender may apply any payment received
          from Borrower to the repayment of the Periodic Payments if, and to the extern that, each payment can be
          paid in fell. To the extent that any excess exists after the payment is applied to the fell payment of one or
          more Periodic Payments, such excess may be applied to any late charges due. Voluntary prepayments shall
          be applied first to any prepayment charges and then as described in the Note.
                Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under
          the Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.
                3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due
          under the Note, until the Note is paid in fell, a sum (the "Funds") to provide for payment of amounts due

        ^Q^CAfTN) (0005)                                          15                                 Form 3043 1/01



  EXHIBIT    A 0233 163 041S
     q03211S64428
                  Tom Leatherwood,
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       3211564428
       for: (a) taxes and assessments and other items which an attain priority over this Security Instrument as a
       lien or encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any; (c)
       premiums for any and all insurance required by Lender under Section S; and (d) Mortgage Insurance
       premiums, if any, or any sums payable by Borrower to Lender in lieu of the payment of Mortgage
       insurance premiums in accordance with the provisions of Section 10. These items are called "Escrow
       Items." At origination or at any time during the term of the Loan, Lender may require that Community
       Association Dues, Fees, and Assessments, if any, be escrowed by Borrower, and such dues, foes and
       assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts to
       be paid under this Section. Borrower shall pay-Lender the Funds for Escrow Items unless Lender waives
       Borrower's obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower's
       obligation to pay to Lender Funds for any or all Escrow Items at any time. Any such waiver may only be
       in writing. In the event of such waiver, Borrower shall pay directly, when and where payable, the amounts
       due for any Escrow Items for which payment of Funds has been waived by Lender and, if Lender requires,
       shall furnish to Lender receipts evidencing such payment within such time period as Lender may require.
       Borrower's obligation to make such payments and to provide receipts shall for all purposes be deemed to
       be a covenant and agreement contained in this Security Instrument, as the phrase "covenant and agreement"
       is used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to a waiver, and
       Borrower foils to pay the amount due for an Escrow Item, Lender may exercise its rights under Section 9
       and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such
       amount. Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in
       accordance with Section 15 and, upon such revocation, Borrower stall pay to Lender all Funds, and in
       such amounts, that are then required under this Section 3.
              Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to appty
       the Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can
       require under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and
       reasonable estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable
        Law.
              The Funds shall be held in an institution whose deposits arc insured by a federal agency,
        instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so insured) or in
        any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time
        specified under RESPA. Lender shall not charge Borrower for holding and applying the Funds, annually
        analyzing the escrow account, or verifying the Escrow Items, unless Lender pays Borrower interest on foe
        Funds and Applicable Law permits Lender to make suefa a charge. Unless an agreement is made in writing
        or Applicable Law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower
        any interest or earnings on the Funds. Borrower and Lender can agree in writing, however, that interest
        shall be paid on the Funds. Lender shall give to Borrower, without charge, an annual accounting of the
        Funds as required by RESPA.
              If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to
        Borrower for foe excess funds in accordance with RE5FA. if there is a shortage of Funds held in escrow,
        as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to
        Lender the amount necessary to make up the shortage in accordance with RESPA, but in no more than 12
        monthly payments. If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall
        notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make
        up foe deficiency in accordance with RESPA, but in no more than 12 monthly payments.
              Upon payment in foil of all sums secured by this Security Instrument, Lender shall promptly refund
        to Borrower any Funds held by Lender.
              4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions
        attributable to foe Property which can attain priority over this Security Instrument, leasehold payments or
        ground rents on foe Property, if any, and Community Association Dues, Fees, and Assessments, if any. To
        foe extent that these items are Escrow Items, Borrower shall pay them in the manner provided in Section 3.



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                 Borrower shall promptly discharge any lien which has priority over this Security Instrument unless
           Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable
           to Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in good faith
           by, or defends against enforcement of the lien in, legal proceedings which in Lender's opinion operate to
           prevent the enforcement of die lien while those proceedings are pending, but only until sucb proceedings
           are concluded; or (c) secures from tfae bolder of the lien an agreement satisfactory to Lender subordinating
           die lien to this Security Instrument If Lender determines that any part of the Property is subject to a lien
           which can attain priority over this Security Instrument, Lender may give Borrower a notice identifying the
           lien. Within 10 days of the date on which that notice is given, Borrower shall satisfy the lien or take one or
           more of die actions set forth above in this Section 4.
                 Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or
           reporting service used by Lender in connection with this Loan.
                 5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on
           Che Property insured against loss by fire, hazards included within the term "extended coverage," and any
           other hazards including, but not limited to, earthquakes and floods, for which Lender requires insurance.
           This insurance shall be maintained in the amounts (including deductible levels) and for the periods that
           Lender requires. What Lender requires pursuant to the preceding sentences can change during the term of
           the Loan. The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender's
           right to disapprove Borrower's choice, which right shall not be exercised unreasonably. Lender may
           require Borrower to pay, in connection with this Loan, either: (a) a one-time charge for flood zone
           determination, certification and tracking services; or (b) a one-time charge for flood zone determination
           and certification services and subsequent charges each time remappings or similar changes occur which
           reasonably might affect such determination or certification. Borrower shall also be responsible for the
           payment of any fees imposed by the Federal Emergency Management Agency in connection with the
           review of any flood zone determination resulting from an objection by Borrower.
                  If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance
           coverage, at Lender's option and Borrower’s expense. Lender is under no obligation to purchase any
           particular type or amount of coverage. Therefore, such coverage shall cover Lender, but might or might
            not protect Borrower, Borrower's equity in the Property, or the contents of fire Property, against any risk,
            hazard or liability and might provide greater or lesser coverage than was previously in effect. Borrower
            acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
            insurance that Borrower could have obtained. Any amounts disbursed by Lender under this Section 5 shall
            become additional debt of Borrower secured by this Security Instrument. These amounts shall bear interest
            at the Note rate from the date of disbursement and shall be payable, with such interest, upon notice from
            Lender to Borrower requesting payment.
                  All insurance policies required by Lender and renewals of sucb policies shall be subject to Lenders
            right to disapprove such policies, shall include a standard mortgage clause, and shall name Lender as
            mortgagee and/or as an additional loss payee. Lender shall have the right to hold the policies and renewal
            certificates. If Lender requires, Borrower shall promptly give to Lender all receipts of paid premiums and
            renewal notices. If Borrower obtains any form of insurance coverage, not otherwise required by Lender,
            for damage to, or destruction of, the Property, such policy shall include a standard mortgage clause and
            shall name Lender as mortgagee and/or as an additional loss payee.
                  In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender
            may make proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree
            in writing, any insurance proceeds, whether or not die underlying insurance was required by Lender, shall
            be applied to restoration or repair of die Property, if the restoration or repair is economically feasible and
            Lender's security is not lessened. During such repair and restoration period, Lender shall have the right to
            hold such insurance proceeds until Lender has had an opportunity to inspect sucb Property to ensure the


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       work has been completed to Lender's satisfaction, provided that such inspection shall be undertaken
       promptly. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series
       of progress payments as the work is completed. Unless an agreement is made in writing or Applicable Law
       requires interest to be paid on such insurance proceeds, Lender shall not be required to pay Borrower any
       interest or earnings on such proceeds. Fees for public adjusters, or other third parties, retained by
       Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borrower. If
       the restoration or repair is not economically feasible or Lender's security would be lessened, the insurance
       proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with
       the excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the order provided for in
       Section 2.
             (f Borrower abandons the Property, Lender may file, negotiate and settle any available insurance
       claim and related matters. If Borrower does not respond within 30 days to a notice from Lender that the
       insurance carrier has offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day
       period will begin when the notice is given. In either event, or if Lender acquires the Property under
       Section 22 or otherwise, Bonower hereby assigns to Lender (a) Borrower's rights to any insurance
       proceeds in an amount not to exceed the amounts unpaid under the Note or this Security Instrument, and
       (b) any other of Borrower's rights (other than the right -to any refund of unearned premiums paid by
       Borrower) under all insurance policies covering the Property, insofar as such rights are applicable to the
       coverage of the Property. Lender may use the insurance proceeds either to repair or restore the Property or
       to pay amounts unpaid under the Note or this Security Instrument, whether or not then due.
             6. Occupancy. Bonower shall occupy, establish, and use the Property as Borrower's principal
       residence within 60 days after the execution of this Security Instrument and shall continue to occupy the
       Property as Borrower's principal residence for at least one year after the date of occupancy, unless Lender
       otherwise agrees in writing, which consent shall not be unreasonably withheld, or unless extenuating
       circumstances exist which are beyond Borrower's control.
              7. Preservation, Maintenance and Protection of the Property*; Inspections. Borrower shall not
       destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the
       Property. Whether or not Borrower is residing in the Property, Bonower shall maintain the Property in
       order to prevent the Property from deteriorating or decreasing in value due to its condition. Unless it is
       determined pursuant to Section 5 that repair or restoration is not economically feasible. Borrower shall
        promptly repair the Property if damaged to avoid further deterioration or damage. If insurance or
       condemnation proceeds are paid in connection with damage to, or the taking of, the Property, Borrower
        shall be responsible for repairing or restoring the Property only if Lender has released proceeds for such
       purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of
        progress payments as the work is completed. If the insurance or condemnation proceeds are not sufficient
       to repair or restore the Property, Borrower is not relieved of Borrower's obligation for the completion of
        such repair or restoration.
              Lender or its agent may make reasonable entries upon and inspections of the Property. If it has
        reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
        Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause.
              8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application
        process, Borrower or any persons or entities acting at the direction of Bonower or with Borrower's
        knowledge or consent gave materially false, misleading, or inaccurate information or statements to Lender
        (or foiled to provide Lender with material information) in connection with the Loan. Material
        representations include, but are not limited to, representations concerning Borrower's occupancy of the
        Property as Borrower's principal residence.
              9. Protection of Lender's Interest in the Property and Rights Under this Security Instrument If
        (a) Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there


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                  Tom Leatherwood,
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       is a legal proceeding that might significantly affect Lender's interest in the Property and/or rights under
       this Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
       enforcement of a lien which may attain priority over this Security Instrument or to enforce laws or
       regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for whatever is
       reasonable or appropriate to protect Lender's interest in the Property and rights under this Security
       Instrument, including protecting and/or assessing the value of the Property, and securing and/or repairing
       the Property. Lender's actions can include, but are not limited to: (a) paying any sums secured by a lien
       which has priority over this Security instrument; (b) appearing in court; and (c) paying reasonable
       attorneys' fees to protect its interest in the Property and/or rights under this Security Instrument, including
       its secured position in a bankruptcy proceeding. Securing die Property includes, but is not limited to,
       entering the Property to make repairs, change locks, replace or board up doors and windows, drain water
       from pipes, eliminate building or other code violations or dangerous conditions, and have utilities turned
       on or off. Although Lender may take action under this Section 9, Lender does not have to do so and is not
       under any duty or obligation to do so. It is agreed that Lender incurs no liability for not taking any or all
       actions authorized under this Section 9.
             Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower
       secured by this Security Instrument These amounts shall bear interest at the Note rate from the date of
       disbursement and shall be payable, with sucb interest, upon notice from Lender to Borrower requesting
       payment                                                                                                             |
             If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the
       lease. If Borrower acquires fee title to toe Property, toe leasehold and toe fee title shall not merge unless
       Lender agrees to the merger in writing.
             10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan,
       Borrower shall pay the premiums required to maintain toe Mortgage Insurance in effect If, for any reason,
       toe Mortgage Insurance coverage required by Lender ceases to be available from toe mortgage insurer that
       previously provided such insurance and Borrower was required to make separately designated payments
       toward toe premiums for Mortgage Insurance, Borrower shall pay toe premiums required to obtain
       coverage substantially equivalent to the Mortgage Insurance previously in effect, at a cost substantially
       equivalent to toe cost to Borrower of toe Mortgage Insurance previously in effect, from an alternate
       mortgage insurer selected by Lender. If substantially equivalent Mortgage Insurance coverage is not
       available, Borrower shall continue to pay to Lender toe amount of toe separately designated payments that
       were due when toe insurance coverage ceased to be in effect. Lender will accept, use and retain these
       payments as a non-refundable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be
        non-refundable, notwithstanding the fact that the Loan is ultimately paid in foil, and Lender shall not be
       required to pay Borrower any interest or earnings on sucb loss reserve. Lender can no longer require loss
       reserve payments if Mortgage Insurance coverage (in toe amount and for toe period that Lender requires)
       provided by an insurer selected by Lender again becomes available, is obtained, and Lender requires
        separately designated payments toward the premiums for Mortgage Insurance. If Lender required Mongage
        Insurance as a condition of making toe Loan and Borrower was required to make separately designated
        payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to
        maintain Mortgage Insurance in effect, or to provide a non-refundable loss reserve, until Lender's
        requirement for Mortgage Insurance ends in accordance with any written agreement between Borrower and
        Lender providing for sucb termination or until termination is required by Applicable Law. Nothing in this
        Section 10 affects Borrower's obligation to pay interest at the rate provided in the Note.
             Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it
        may incur if Borrower does not repay the Loan as agreed. Borrower is not a party to toe Mortgage
        Insurance.
             Mortgage insurers evaluate their total risk on all sucb insurance in force from time to time, and may
        enter into agreements with other parties that share or modify their risk, or reduce losses. These agreements
        are on terms and conditions that are satisfactory to the mortgage insurer and toe other party (or parties) to
        these agreements. These agreements may require the mortgage insurer to make payments using any source
        of funds that the mortgage insurer may have available (which may include funds obtained from Mortgage
        Insurance premiums).



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             As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer,
       any other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that
       derive from (or might be characterized as) a portion of Borrower's payments for Mortgage Insurance, in
       exchange for sharing or modifying the mortgage' insurer's risk, or reducing losses. If such agreement
       provides that an affiliate of Lender takes a share of the insurer's risk in exchange for a share of the
       premiums paid to the insurer, the arrangement is often termed "captive reinsurance." Further:
             (a) Any such agreements will not affect the amounts that Borrower has agreed to pay for
       Mortgage Insurance, or any other terms of the Loan. Such agreements will not increase the amount
       Borrower will owe for Mortgage Insurance, and they will not entitle Borrower to any refund.
             (b) Any such agreements will not affect the rights Borrower has - if any - with respect to the
       Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These rights
       may include the right to receive certain disclosures, to request and obtain cancellation of the
       Mortgage Insurance, to have the Mortgage Insurance terminated automatically, and/or to receive a
       refund of any Mortgage Insurance premiums that were unearned at the time of such cancellation or
       termination.
             11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
       assigned to and shall be paid to Lender.
             If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of
       the Property, if the restoration or repair is economically feasible and Lender's security is not lessened.
       During such repair and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds
       until Lender has had an opportunity to inspect such Property to ensure the work has been completed to
       Lender's satisfaction, provided that such inspection shall be undertaken promptly. Lender may pay for the
       repairs and restoration in a single disbursement or in a series of progress payments as the work is
       completed. Unless an agreement is made in writing or Applicable Law requires interest to be paid on such
       Miscellaneous Proceeds, Lender shall not be required to pay Borrower any interest or earnings on such
       Miscellaneous Proceeds. If the restoration or repair is not economically feasible or Lender's security would
       be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument,
       whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be
       applied in the order provided for in Section 2.
             In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous
       Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with
       the excess, if any, paid to Borrower.
              In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
       value of the Property immediately before the partial taking, destruction, or loss in value is equal to or
       greater than the amount of the sums secured by this Security Instrument immediately before the partial
       taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the sums
       secured by this Security Instrument shall be reduced by the amount of the Miscellaneous Proceeds
       multiplied by the following fraction: (a) the total amount of the sums secured immediately before the
       partial taking, destruction, or loss in value divided by (b) the fair market value of the Property
        immediately before the partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.
              In the event of a partial taking, destruction, or loss in value of the Property in which foe fair market
       value of the Property immediately before foe partial taking, destruction, or loss in value is less than foe
       amount of foe sums secured immediately before foe partial taking, destruction, or loss in value, unless
       Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums
       secured by this Security Instrument whether or not the sums are then due.
              If foe Property is abandoned by Borrower, or if, after notice by Lender to Borrower that foe
       Opposing Party (as defined in foe next sentence) offers to make an award to settle a claim for damages,
        Borrower fails to respond to Lender within 30 days after the date the notice is given, Lender is authorized
       to collect and apply foe Miscellaneous Proceeds either to restoration or repair of the Property or to foe
       sums secured by this Security Instrument, whether or not then due. "Opposing Party" means the third party
        that owes Borrower Miscellaneous Proceeds or foe party against whom Borrower has a right of action in
       regard to Miscellaneous Proceeds.
              Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in
        Lender's judgment, could result in forfeiture of foe Property or other material impairment of Lender's
        interest in the Property or rights under fois Security Instrument. Borrower can cure such a default and, if

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                 Tom Leatherwood,
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       acceleration has occurred, reinstate as provided in Section 19, by causing the action or proceeding to be
       dismissed with a ruling that, in Lender's judgment, precludes forfeiture of the Property or other material
       impairment of Lender's interest in the Property or rights under this Security Instrument. The proceeds of
       any award or claim for damages that are attributable to the impairment of Lender's interest in the Property
       are hereby assigned and shall be paid to Lender.
             All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be
       applied in the order provided for in Section 2.
             12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
       payment or modification of amortization of the sums secured by this Security Instrument granted by Lender
       to Borrower or any Successor in interest of Borrower shall not operate to release the liability of Borrower
       or any Successors in Interest of Borrower. Lender shall not be required to commence proceedings against
       any Successor in Interest of Borrower or to refuse to extend time for payment or otherwise modify
       amortization of the sums secured by this Security Instrument by reason of any demand made by the original
       Borrower or any Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or
       remedy including, without limitation, Lender's acceptance of payments from third persons, entities or
       Successors in Interest of Borrower or in amounts less than the amount then due, shall not be a waiver of or
       preclude the exercise of any right or remedy.
              13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants
       and agrees drat Borrower's obligations and liability shall be joint and several. However, any Borrower who
       co-signs this Security Instrument but does not execute the Note (a "co-signer"): (a) is co-signing this
       Security Instrument only to mortgage, grant and convey the co-signer’s interest in the Property under the
       terms of this Security Instrument; (b) is not personally obligated to pay the sums secured by this Security
       Instrument; and (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or
       make any accommodations with regard to the terms of this Security Instrument or the Note without die
       co-signer’s consent
              Subject to the provisions of Section IB, any Successor in Interest of Borrower who assumes
        Borrower's obligations under this Security Instrument in writing, and is approved by Lender, shall obtain
        all of Borrower's rights and benefits under this Security Instrument. Borrower shall not be released from
        Borrower’s obligations and liability under this Security Instrument unless Lender agrees to such release in
        writing. The covenants and agreements of this Security Instrument shall bind (except as provided in
        Section 20) and benefit the successors and assigns of Lender.
              14. Loan Charges. Lender may charge Borrower fees for services performed in connection with
        Borrower's default, for the purpose of protecting Lender's interest in the Property and rights under Ibis
        Security Instrument, including, but not limited to, attorneys' fees, property inspection and valuation fees.
        In regard to any other fees, foe absence of express authority in this Security Instrument to charge a specific
        fee to Borrower shall not be construed as a prohibition on the charging of such fee. Lender may not charge
        fees that are expressly prohibited by this Security Instrument or by Applicable Law.
              If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so
        that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
        permitted limits, then: (a) any such loan charge shall be reduced by foe amount necessary to reduce the
        charge to the permitted limit; and (b) any sums already collected from Borrower which exceeded permitted
        limits will be refunded to Borrower. Lender may choose to make this refund by reducing foe principal
        owed under the Note or by making a direct payment to Borrower. If a refund reduces principal, foe
        reduction will be treated as a partial prepayment without any prepayment charge (whether or not a
        prepayment charge is provided for under foe Note). Borrower’s acceptance of any sucb refund made by
        direct payment to Borrower will constitute a waiver of any right of action Borrower might have arising out
        of such overcharge.
              15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument
        must be in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to
        have been given to Borrower when mailed by first class mail or when actually delivered to Borrower's
        notice address if sent by other means. Notice to any one Borrower shall constitute notice to all Borrowers
        unless Applicable Law expressly requires otherwise. The notice address shall be foe Property Address
        unless Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly
        notify Lender of Borrower's change of address. If Lender specifies a procedure for reporting Borrower’s
        change of address, then Borrower shall only report a change of address through that specified procedure.

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                 Tom Leathemood,
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       There may be only one designated notice address under this Security Instrument at any one time. Any
       notice to Lender shall be given by delivering it or by mailing it by first class mail to Lender's address
       stated herein unless Lender has designated another address by notice to Borrower. Any notice in
       connection with this Security Instrument shall not be deemed to lave been given to Lender until actually
       received by Lender. If any notice required by this Security Instrument is also required under Applicable
       Law, the Applicable Law requirement will satisfy die corresponding requirement under this Security
       Instrument.
              16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be
       governed by federal law and the law of die jurisdiction in which the Property is located. All rights and
       obligations contained in this Security Instrument are subject to any requirements and limitations of
       Applicable Law. Applicable Law might explicitly or implicitly allow the parties to agree by contract or it
       might be silent, but such silence shall not be construed as a prohibition against agreement by contract. In
       the event that any provision or clause of this Security Instrument or the Note conflicts with Applicable
       Law, such conflict shall not affect other provisions of this Security Instrument or the Note which can be
       given effect without the conflicting provision.
             As used in this Security Instrument: (a) words of the masculine gender stall mean and include
       corresponding neuter words or words of die feminine gender; (b) words in the singular shall mean and
       include the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to
       take any action.
              17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument
              18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18,
       "Interest in the Property'' means any legal or beneficial interest in the Property, including, but not limited
       to, those beneficial interests transferred in a bond for deed, contract for deed, installment sales contract or
       escrow agreement, the intent of which is the transfer of title by Borrower at a future date to a purchaser.
              If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower
       is not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior
       written consent, Lender may require immediate payment in full of all sums secured by this Security
       Instrument. However, this option shall not be exercised by Lender if such exercise is prohibited by
       Applicable Law.
              If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall
       provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
       within which Borrower must pay all sums secured by this Security Instrument If Borrower fails to pay
        these sums prior to the expiration of this period, Lender may invoke any remedies permitted by this
        Security Instrument without further notice or demand on Borrower.
              19. Borrower's Right ro Reinstate After Acceleration. If Borrower meets certain conditions,
        Borrower shall have the right to have enforcement of this Security Instrument discontinued at any time
        prior to the earliest of: (a) five days before sale of the Property pursuant to any power of sale contained in
        this Security Instrument; (b) such other period as Applicable Law might specify for the termination of
        Borrower's right to reinstate; or (c) entry of a judgment enforcing this Security Instrument. Throe
        conditions are that Borrower (a) pays Lender all sums which then would be due under this Security
        Instrument and the Note as if no acceleration had occurred; (b) cures any default of any other covenants or
        agreements; (c) pays all expenses incurred in enforcing this Security Instrument, including, but not limited
        to, reasonable attorneys' fees, property inspection and valuation fees, and other fees incurred for the
        purpose of protecting Lender's interest in the Property and rights under this Security Instrument; and (d)
        takes such action as Lender may reasonably require to assure that Lender's interest in the Property and
        rights under this Security Instrument, and Borrower's obligation to pay die sums secured by this Security
        Instrument, shall continue unchanged. Lender may require that Borrower pay such reinstatement sums and
        expenses in one or more of the following forms, as selected by Lender: (a) cash; (b) money order; (c)
        certified check, bank check, treasurer's check or cashier's check, provided any such check is drawn upon
        an institution whose deposits are insured by a federal agency, instrumentality or entity; or (d) Electronic
        Funds Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations secured hereby
        shall remain folly effective as if no acceleration had occurred. However, this right to reinstate shall not
        apply in the case of acceleration under Section 18.



        ^^•6A(TN) (0005)                                  PqallefIS                                  Form 3043 1/DI




  EXHIBIT    A 0233 163
     q0321136442B              1119
                 Tom Leatherwood,
Case 2:19-cv-02215-SHL-dkv        Shelby County
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       3211564428
            20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in
       the Note (together with this Security Instrument) can be sold one or more times without prior notice to
       Borrower. A sate might result in a change in the entity (known as the nLoan Servicer") that collects
       Periodic Payments due under the Note and this Security Instrument and performs other mortgage loan
       servicing obligations under the Note, this Security Instrument, and Applicable Law. There also might be
       one or more changes of the Loan Servicer unrelated to a sale of the Note. If there is a change of the Loan
       Servicer, Borrower will be given written notice of the change which will state the name aod address of the
       new Loan Servicer, the address to which payments should be made and any other information RESPA
       requires in connection with a notice of transfer of servicing. If the Note is sold and thereafter the Loan is
       serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations
       to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not
       assumed by the Note purchaser unless otherwise provided by the Note purchaser.
             Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an
       individual litigant or the member of a class) that arises from the other party's actions pursuant to this
       Security Instrument or that alleges that the other party has breached any provision of, or any duty owed by
       reason of, this Security Instrument, until such Borrower or Lender has notified the other party (with such
       notice given in compliance with the requirements of Section 15) of such alleged breach and afforded the
       other party hereto a reasonable period after the giving of such notice to take corrective action. If
       Applicable Law provides a time period which must elapse before certain action can be taken, that time
       period will be deemed to be reasonable for purposes of this paragraph. The notice of acceleration and
       opportunity to cure given to Borrower pursuant to Section 22 and the notice of acceleration given to
       Borrower pursuant to Section 18 shall be deemed to satisfy foe notice and opportunity to take corrective
       action provisions of this Section 20.
             21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those
       substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the
       following substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides
       and herbicides, volatile solvents, materials containing asbestos or formaldehyde, and radioactive materials;
       (b) "Environmental Law" means federal laws and laws of foe jurisdiction where the Property is located that
       relate to health, safety or environmental protection; (c) "Environmental Cleanup" includes any response
       action, remedial action, or removal action, as defined in Environmental Law; and (d) an "Environmental
        Condition" means a condition that can cause, contribute to, or otherwise trigger an Environmental
        Cleanup.
             Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
        Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do,
        nor allow anyone else to do, anything affecting the Property (a) that is in violation of any Environmental
        Law, (b) which creates an Environmental Condition, or (c) which, due to the presence, use, or release of a
       Hazardous Substance, creates a condition that adversely affects foe value of the Property. The preceding
       two sentences shall not apply to foe presence, use, or storage on foe Property of small quantities of
        Hazardous Substances that are generally recognized to be appropriate to normal residential uses and to
       maintenance of the Property (including, but not limited to, hazardous substances in consumer products).
             Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit
       or other action by any governmental or regulatory agency or private party involving foe Property and any
        Hazardous Substance or Environmental Law of which Borrower has actual knowledge, (b) any
       Environmental Condition, including but not limited to, any spilling, leaking, discharge, release or threat of


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  EXHIBIT    A 0239 163
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                 Tom Leatherwood,
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       3211564428
       release of any Hazardous Substance, and (c) any condition caused by the presence, use or release of a
       Hazardous Substance which adversely affects the value of the Property. If Borrower learns, or is notified
       by any governmental or regulatoiy authority, or any private party, that any removal or other remediation
       of any Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all necessary
       remedial actions in accordance with Environmental Law. Nothing herein shall create any obligation on
       Lender for an Environmental Cleanup.
              NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:
              22. Acceleration; Remedies. Lender .shall give notice to Borrower prior to acceleration following
       Borrower's breach of any covenant or agreement In this Security Instrument (but not prior to
       acceleration under Section 18 unless Applicable Law provides otherwise). The notice shall specify: (a)
       the default; (b) the action required to cure the default; (c) a date, not less than 30 days from the date
       the notice is given to Borrower, by which the default must be cured; and (d) that failure to cure the
       default on or before the date specified In the notice may result in acceleration of the sums secured by
       this Security Instrument and sale of the Property. The notice shall further inform Borrower of the
       right to reinstate after acceleration and the right to bring a court action to assert the non-existence of
       a default or any other defense of Borrower to acceleration and sale. If the default is not cured on or
       before the date specified io the notice, Lender at its option may require Immediate payment in full of
       all sums secured by this Security Instrument without further demand and may invoke the power of
       sale and any other remedies permitted by Applicable Law. Lender shall be entitled to collect all
       expenses incurred In pursuing the remedies provided in this Section 22, including, but not limited to,
       reasonable attorneys* fees and costs of title evidence.
              If Lender invokes the power of sale, Trustee shall give notice of sale by public advertisement Io
       the county in which the Property is located for the time and in the manner provided by Applicable
       Law, and Lender or Trustee shall mail a copy of the notice of sale to Borrower in the manner
       provided in Section 15. Trustee, without demand on Borrower, shall sell the Property at public
        auction to the highest bidder at the time and under the terms designated in the notice of sale. Lender
       or its designee may purchase the Properly at any sale.
              Trustee shall deliver to the purchaser Trustee's deed conveying the Property without any
        covenant or warranty, expressed or implied. The recitals in the Trustee's deed shall be prlma facie
        evidence of the truth of the statements made therein. Trustee shall apply file proceeds of the sale in
        the following order: (a) to all expenses of the sale, including, but not limited to, reasonable Trustee's
        and attorneys' fees; (b) to all sums secured by this Security Instrument; and (c) any excess to the
        person or persons legally entitled to it If the Property is sold pursuant to this Section 22, Borrower,
        or any person holding possession of the Property through Borrower, shall immediately surrender
        possession of the Property to the purchaser at the sale. If possession is not surrendered, Borrower or
        such person shall be a tenant at will of the purchaser and hereby agrees to pay the purchaser the
        reasonable rental value of the Property after sale.
              23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall release this
        Security Instrument. Lender may charge Borrower a fee for releasing this Security Instrument, but only if
        the fee is paid to a third party for services rendered and the charging of the fee is permitted under
        Applicable Law.
              24. Substitute Trustee. Lender, at its option, may from time to time remove Trustee and appoint a
        successor trustee to any Trustee appointed hereunder by an instrument recorded in the county in which this
        Security Instrument is recorded. Without conveyance of the Property, the successor trustee shall succeed to
        all the title, power and duties conferred upon Trustee herein and by Applicable Law.
              25. Waivers. Borrower waives all right of homestead, equity of redemption, statutory right of
        redemption and relinquishes all other rights and exemptions of every kind, including, but not limited to, a
        statutory right to an elective share in the Property.


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                     Tom Leatherwood,
    Case 2:19-cv-02215-SHL-dkv        Shelby County
                                 Document     1-2 Register of Deeds: Instr.
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           3211564428
               BY SIGN1NC BELOW, Boirower accepts and agrees to the terms and covenants contained in this
           Security Instrument and in any Rider executed by Borrower and recorded with it.
                IN WITNESS WHEREOF, Borrower has executed this Security Instrument.
           Witnesses:

                                                                             /
                                                                        i         u      >5/30/200*7 (Seal)
                                                                 rulie Rene Mulanax •              •Bonower




                                                                                                  - (Seal)
                                                                                                  -Borrower




                                               _ (Seal)                                              (Sea!)
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                                               ^ (Seal)                                           _ (Seal)
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                                               _ (Seal)                                           _ (Seal)
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                          Tom Leatherwood,
         Case 2:19-cv-02215-SHL-dkv        Shelby County
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                                                                                    36 of 126                         PageID 42

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•   *.   * ’




                  3211564428
                  STATE OF TENNESSEE,                        Shelfey                 County ss: D^SO rO

                      On this 30th      day of      May, 2007                                , before me personally appeared
                  Julie Rene Mulanax, a single woman




                  to me known to be the person(s) described in and who executed the foregoing instrument, and who
                  acknowledged the execution of the same to be fais/ber/their free act and deed. Witness my band and official
                  seal.

                  My Commission Expires:
                    n-st. 2oio
                                                                    Notary Public
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                                                                                          MY COMMISSION EXPIRES.
                                                                                                July 2.2010




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        Case 2:19-cv-02215-SHL-dkv        Shelby County
                                     Document     1-2 Register of Deeds: Instr.
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                                                    • \   * *#
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                                                    EXHIBIT A


               Lot 36, Shirley Manor Subdivision, as shown on plat of record in Plat Book 14, Page 67,
               in the Register's Office of Shelby County, Tennessee to which plat reference is hereby
               made for a more particular description of said property.

                Property more commonly known as: 1194 Wingfield Street, Memphis, TN 38122.




                              \\Uwserver\REAL ESTATE\2007\0257\EXHIBXT 4-1194 Wingfield.doc

          EXHIBIT A
                      Tom Leatherwood, Shelby County Register of Deeds: Instr. # 07091885
    Case 2:19-cv-02215-SHL-dkv Document 1-2 Filed 04/05/19 Page 38 of 126                   PageID 44

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                              Tom Leatfamuood                            )
                                 Shelby County Register



                                                                     /


       As evidenced by the instrument number shown below, this document
          has been recorded as a permanent record in the archives of the
                         Office of the Shelby County Register.




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           160 N. Main St.( Suite 519 - Memphis, Tennessee 38103 - (901) 545-4366
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Case 2:19-cv-02215-SHL-dkv Document 1-2 Filed 04/05/19 Page 39 of 126   PageID 45




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               IN THE CHANCERY COURT OF SHELBY COUNTY, TENNESSEE
                   FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS

   JULIE RENE MULANAX, )
                                                 )
            Plaintiff, )
                                                 )
   vs.                                        )
                                                 ) CaseNo.CH-19-0324-111
   QUICKEN LOANS, INC., and DITECH )
   FINANCIAL, LLC, )
                                                 )
           Defendants. )



     NOTICE OF BANKRUPTCY FILING AND IMPOSITION OF AUTOMATIC STAY

         Defendant and debtor. Green Tree Servicing LLC, now known as Ditech Financial LLC


  (the Debtor), by and through its undersigned counsel, in accordance with and consistent with


  section 362(a) of the United States Bankruptcy Code, 1 U.S.C. §§ 101, et seq. (the Bankruptcy

  Code), respectfully submits this Notice of Bankruptcy and Imposition of Automatic Stay, and


  states as follows:


         PLEASE TAKE NOTICE that on February 11, 2019, (the "Commencement Date"),

  Ditech Holding Corporation (f/k/a Walter Investment Management Corp.) and its debtor affiliates,


  as debtors and debtors in possession (collectively, the "Debtors"), each commenced a voluntary


  case (the "Chapter 11 Cases") under chapter 11 of title 11 of the United States Code (11 U.S.C.

  § 101 et seq.) (the "Bankruptcy Code") in the United States Bankruptcy Court for the Southern

  District of New York (the "Bankruptcy Court"). The Chapter 1 1 Cases are being jointly

  administered under Case No. 19-10412 (JLG). A copy of the applicable Debtor's chapter 11

  petition is attached hereto as Exhibit A.

         PLEASE BE ADVISED that pursuant to section 362(a) of the Bankruptcy Code (the

  "Automatic Stay"), the filing of a bankruptcy petition "operates as a stay, applicable to all


                                                     1

 EXHIBIT A
Case 2:19-cv-02215-SHL-dkv Document 1-2 Filed 04/05/19 Page 42 of 126                       PageID 48




   entities," of, among other things "the commencement or continuation, including the issuance or


   employment of process, of a judicial, administrative, or other action or proceeding against the


   debtor that was or could have been commenced before the commencement of the case under [the


   Bankruptcy Code], or to recover a claim against the debtor that arose before the commencement


   of the [bankruptcy] case" and "any act to obtain possession of property of the estate or of property


   from the estate or to exercise control over property of the estate." 11 U.S.C. § 362(a)(l), (3).


          PLEASE BE FURTHER ADVISED that on Febmary 13, 2019, upon the Debtors' motion,

   the Bankruptcy Court entered an interim order granting, among other things, the Debtors' motion


   for limited relief from the automatic stay to permit non-Debtor parties to assert and prosecute


   claims, cross-claims, third-party claims and counter-claims and raise certain defenses on a limited


   basis as described in the order (the "Interim Order").


           PLEASE BE FURTHER ADVISED that on March 20, 2019, the Bankruptcy Court

   entered an order clarifying and granting such relief on a final basis (the "Limited Stay

   Modification Order"). Paragraphs 16-22 of the Limited Stay Modification Order identify the

   categories of defenses, claims and counter-claims for which the automatic stay has been lifted


   (the "Permitted Claims"). A copy of the Limited Stay Modification Order is attached hereto as

   Exhibit B.

          PLEASE BE FURTHER ADVISED that to the extent that defenses, claims and counter-

   claims do not constitute Permitted Claims, they are subject to the automatic stay and the continued


   prosecution of those claims is prohibited.


          PLEASE BE FURTHER ADVISED that Debtor's position is that in this matter. Plaintiffs

   request for declaratory relief, to the extent construed as a separate claim, is a Permitted Claim and


   may proceed to the extent it does not have an adverse effect on any of the Debtors' assets. The




 EXHIBIT A
Case 2:19-cv-02215-SHL-dkv Document 1-2 Filed 04/05/19 Page 43 of 126                        PageID 49




   remainder of Plaintiffs claims for damages stemming from her causes of action for breach of


   contract, breach of the implied covenant of good faith and fair dealing, fraud and/or


   misrepresentation, and other intentional, reckless, and/or negligent actions and/or omissions do


   not constitute Permitted Claims, they remain subject to the automatic stay and the continued


   prosecution of these claims is prohibited. In addition, future claims, counter-claims, or defenses


   may be subject to the automatic stay. For convenience, to avoid prejudice, or to expedite and


   economize, the Permitted Claims may proceed separately from any other claim that is stayed by


   the Bankruptcy Code.


          PLEASE BE FURTHER ADVISED that any action taken by the Plaintiff or any other

   party against the Debtor without obtaining relief from the Bankruptcy Court from the automatic


   stay may be void ab initio and may result in a finding of contempt by the Bankruptcy Court against

   Plaintiff or such other party. The Debtor reserves and retains all rights to seek relief in Bankruptcy


   Court from any action, judgment, order, or ruling entered in violation of the automatic stay.


          PLEASE BE FURTHER ADVISED that pursuant to paragraphs 18, 19(h), and 22 of the

   Limited Stay Modification Order, any dispute regarding the extent, application and/or effect of the

   automatic stay under the Limited Stay Modification Order must be heard and determined in the


   Bankruptcy Court, jointly administered under Case No. 19-10412, and such other and further


   orders as may be entered by the Bankruptcy Court.



          DATED this 1st day of April, 2019.




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Case 2:19-cv-02215-SHL-dkv Document 1-2 Filed 04/05/19 Page 44 of 126                        PageID 50




                                          Respectfully submitted,




                                          Heather Howell Wright (BPR No. 30649)
                                          Benjamin William Perry (BPRNo. 34387)
                                          BRADLEY ARANT BOULT CUMMINGS LLP
                                          Roundabout Plaza
                                          1600 Division Street, Suite 700
                                         Nashville, Tennessee 37203
                                          P: (615) 252-3515
                                          F: (615) 252-6364
                                          Email: hwright(%bradley.com
                                          Email: bpen-y(%bradley.cQm


                                          Attorneys for Defendant Ditech Financial LLC




                                    CERTIFICATE OF SERVICE

          The undersigned hereby certifies that true and exact copies of the foregoing have been
   served upon the following through the Court's Electronic Filing System, or by mailing the same to
  the offices of said counsel by United States Mail, postage prepaid this 1st day of April, 2019.

  Kevin A. Snider
   Snider & Homer, PLLC
   Corporate Gardens
   9056 Stone Walk Place
  Germantown, TN 38138


  Attorney for Plaintiff




                                         Benjamin W. Perry               ~^>




 EXHIBIT A
      Case 2:19-cv-02215-SHL-dkv Document 1-2 Filed 04/05/19 Page 45 of 126  PageID 51 FILED
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                                                                                                                                                 CLERK OF COURT
Fill in this Information to identify the case

United States Bankruptcy Court for the:

Southern District of New York
                                         (State)
Case number (If known):                                     Chapter 11

                                                                                                                                                    D Check if this is
                                                                                                                                                    an amended filing


   Official Form 201
   Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                                                                                   04/16

   If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
   number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-lndividuals, Is available.


   1. Debtor's name                                Ditech Financial LLC



   2. All other names debtor used Green Tree Servicing LLC
         in the last 8 years                       Ditech
         Include any assumed names, trade
         names, and doing business as
         names




   3. Debtor's federal Employer
         Identification Number (EIN) XX-XXXXXXX



   4. Debtor's         Principal place of business                                                        Mailing address, if different from principal place of business
       address

                       1100                 Virginia Drive                                                3000                         Bayport Drive, Suite 985
                       Number               Street                                                        Number                       Street


                       Suite 100A
                                                                                                          P.O. Box



                       Fort Washington          Pennsylvania           19034                             Tampa                         Florida 33607
                       City State                                      ZIP Code                          City                          State           ZIP Code

                                                                                                          Location of principal assets, if different from principal place
                                                                                                          of business
                       Montgomery County
                       County
                                                                                                          Number                       Street




                                                                                                         City                          State           ZIP Code


   5. Debtor's website (URL) www.ditech.com



   6. Type of debtor                               B Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                   D Partnership (excluding LLP)
                                                   D Other. Specify:




Official Form 201                                        Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                                   Page 1




          EXHIBIT A
     Case 2:19-cv-02215-SHL-dkv Document 1-2 Filed 04/05/19 Page 46 of 126                                                              PageID 52
Debtor              Ditech Financial LLC                                                                Case number (if known)
                    Name



                                           A. Check one:
  7. Describe debtor's business
                                           D Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           D Single Asset Real Estate (as defined in 11 U.S.C. § 1 01(51B))
                                           D Railroad (as defined in 11 U.S.C. § 101(44))
                                           D Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           D Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           D Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           S None of the above



                                           B. Check all that apply:

                                           D Tax- entity (as described in 26 U.S.C. § 501)
                                           D Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                           D Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              httD:/Afvww.uscourts.flov/four-digit-national-association-naics-codes .

                                              5222


                                           Check one:
  8. Under which chapter of the
         Bankruptcy Code is the            D Chapter?
         debtor filing?                    D Chapter 9
                                           B Chapter 11. Check all that apply.
                                                             D Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                insiders or affiliates) are less than $2,566,050 (amount subject to adjustment
                                                                on 4/01/19 and every 3 years after that).
                                                             D The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51 D). If the
                                                                debtor is a small business debtor, attach the most recent balance sheet,
                                                                   statement of operations, cash-flow statement, and federal income tax return or
                                                                   if all of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                                   1116(1)(B).
                                                             D A plan is being filed with this petition.
                                                             D Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).
                                                             D The debtor Is required to file periodic reports (for example, 10K and 10Q) with
                                                                the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for
                                                                Non-lndividuals Filing for Bankruptcy under Chapter 11 (Official Form 201 A)
                                                                with this form.
                                                             a The debtor Is a shell company as defined in the Securities Exchange Act of
                                                                1934 Rule 12b-2.
                                           D Chapter 12


  9. Were prior bankruptcy cases           B No
         filed by or against the debtor
                                           a Yes        District                       When                              Case number
         within the last 8 years?
         If more than 2 cases, attach a                                                               MM/DD/YYYY
         separate list.
                                                        District                       When                              Case number

                                                                                                     MM/DD/YYYY

  10. Are any bankruptcy cases             D No
         pending or being filed by a
         business partner or an
                                           B Yes        Debtor          See attached Schedule 1                          Relationship
       affiliate of the debtor?                         District        Southern District of New York                    When February 11,2019
         List all cases. If more than 1,
                                                        Case number, if known                                                           MM/DD/YYYY
         attach a separate list.




Official Form 201                                  Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                        Page 2




           EXHIBIT A
      Case 2:19-cv-02215-SHL-dkv Document 1-2 Filed 04/05/19 Page 47 of 126                                                                  PageID 53
Debtor          Ditech Financial LLC                                                                        Case number (if known)
                Name


   11. Why Is the case filed in this          Check all that apply:
       district?
                                              D Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                  immediately preceding the date of this petition or for a longer part of such 1 80 days than in any other district.
                                              B A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.



  12. Does the debtor own or have
                                              S No
      possession of any real
         property or personal property        D Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
         that needs immediate                            Why does the property need Immediate attention? (Check all that apply.)
         attention?                                      D It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                              health or safety.
                                                              What is the hazard?
                                                         D     It needs to be physically secured or protected from the weather.
                                                         a     It includes perishable goods or assets that could quickly deteriorate or lose value
                                                               without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                               securities-related assets or other options).


                                                          D Other


                                                       Where is the property?
                                                                                          Number                  Street


                                                                                          City                              State                ZIP Code
                                                        Is the property Insured?
                                                                                           D No
                                                                                           D Yes. Insurance agency

                                                                                                     Contact Name
                                                                                                     Phone




                    Statistical and administrative information




   13. Debtor's estimation of             Check one:
          available funds                 12 Funds will be available for distribution to unsecured creditors.
                                          D After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


   14. Estimated number of                a    1-49                                       a 1,000-5,000                              D 25,001-50,000
       creditors                          D    50-99                                      D 5,001-10,000                             B 50,001-100,000
          (on a consolidated basis)       D    100-199                                    D 10,001-25,000                            D More than 100,000
                                          D   200-999


   15.   Estimated assets                 a    $0-$50,000                                D $1,000,001-$10 million                    D $500,000,001-$1 billion
          (on a consolidated basis)       D    $50,001-$100,000                          a $10,000,001-$50 million                   D $1,000,000,001-$10 billion
                                          D    $100,001-$500,000                                                                     S $10,000,000,001-$50 billion
                                                                                         a $50,000,001-$100 million
                                          D    $500,001-$1 million                                                                   D More than $50 billion
                                                                                         D $100,000,001-$500 million

   16. Estimated liabilities              D    $0-$50,000                                D $1,000,001-$10 million                    D $500,000,001-$1 billion

          (on a consolidated basis)       D    $50,001-$100,000                          a $10,000,001-$50 million                   D $1,000,000,001-$10 billion
                                          D    $100,001-$500,000                                                                     S $10,000,000,001-$50 billion
                                                                                         a $50,000,001-$100 million
                                          a    $500,001-$1 million                                                                   D More than $50 billion
                                                                                         D $100,000,001-$500 million




Official Form 201                                      Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                                 Pages




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Debtor          Ditech Financial LLC                                                                    Case number (if known)
                Name



                    Request for Relief, Declaration, and Signatures



 WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                     $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341, 1519, and 3571.


      17. Declaration and signature of              The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
          authorized representative of              this petition.
           debtor
                                                    I have been authorized to file this petition on behalf of the debtor.

                                                    I have examined the information in this petition and have a reasonable belief that the information is
                                                    true and correct.

                                                    I declare under penalty of perjury that the foregoing is true and correct.


                                                        Executed on February 11, 2019
                                                                             MM/ DD /YYYY



                                                         /s/ Kimberly Perez                                          KimberlyPerez
                                                         Signature of authorized representative of                   Printed name
                                                         debtor


                                                         Senior Vice President and Chief
                                                         Accounting Officer
                                                         Title




     18. Signature of attorney                       /s/ Ray C. Schrock, P.C.                                        Date February 11,2019
                                                     Signature of attorney for debtor                                        MM/DD/YYYY

                                                     Ray C. Schrock, P.C.
                                                     Printed Name


                                                     Well, Gotshal & Manges LLP
                                                     Firm Name


                                                     767 Fifth Avenue
                                                     Number               Street


                                                     New York                                            New York                    10153
                                                     City                                                State                       ZIP Code



                                                     (212)310-8000                                       ray.schrock@weil.com
                                                     Contact phone                                       Email address



                                                     4860631                                             New York
                                                     Bar Number                                          State




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                                                   Schedule 1

                 Pendinp Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

     On the date hereof, each of the affiliated entities listed below, including the debtor in this chapter
     11 case, filed a voluntary petition for relief under chapter 11 of title 11 of the United States Code
     in the United States Bankruptcy Court for the Southern District of New York (the "Court"). A
     motion will be filed with the Court requesting that the chapter 11 cases of the entities listed
     below be consolidated for procedural purposes only and jointly administered pursuant to Rule
     1015(b) of the Federal Rules of Bankruptcy Procedure.

                 COMPANY                           CASE              DATE FILED         DISTRICT      JUDGE
                                                  NUMBER

  Green Tree Credit LLC                          19-      _(   )   February 11,2019       S.D.N.Y.     Pending
  Ditech Holding Corporation                     19-      _(   )   February 11,2019       S.D.N.Y.     Pending
  DF Insurance Agency LLC                        19-      _(   )   February 11,2019       S.D.N.Y.    Pending
  Ditech Financial LLC                           19-_     _(   )   February 11,2019       S.D.N.Y.     Pending
  Green Tree Credit Solutions LLC                19-_     _(   )   February 11,2019       S.D.N.Y.     Pending
  Green Tree Insurance Agency of Nevada, Inc.    19-      _(   )   February 11,2019       S.D.N.Y.    Pending
  Green Tree Investment Holdings III LLC         19-      _(   )   February 11,2019       S.D.N.Y.    Pending
  Green Tree Servicing Corp.                     19-      _(   )   February 11,2019       S.D.N.Y.    Pending
  Marix Servicing LLC                            19-      _(   )   February 11,2019       S.D.N.Y.    Pending
  Mortgage Asset Systems, LLC                    19-      _(   )   February 11,2019       S.D.N.Y.    Pending
 REO Management Solutions, LLC                   19-      _(   )   February 11,2019       S.D.N.Y.    Pending
 Reverse Mortgage Solutions, Inc.                19-      _(   )   February 11,2019       S.D.N.Y.    Pending
  Walter Management Holding Company LLC          19-      _(   )   February 11,2019       S.D.N.Y.    Pending
  Walter Reverse Acquisition LLC                 19-      _(   )   February 11,2019       S.D.N.Y.    Pending




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                                       ExhibitA

                          Resolutions of the Board of Directors




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                                    RESOLUTIONS OF THE
                                 THE BOARD OF DIRECTORS OF
                                DITECH HOLDING CORPORATION

                                            February 10, 2019



                    WHEREAS, Ditech Holding Corporation (the "Company"), with the assistance
    of financial and legal advisors, has been conducting a review of strategic alternatives, including
    the potential sale of the Company, a sale of all or a portion of the Company's assets, and/or a
    recapitalization of the Company;

                    WHEREAS, the Board of Directors (the "Board") of the Company previously
    established a special committee of the Board composed of independent and disinterested
    directors (the "Special Committee") to assist management of the Company in evaluating,
    exploring and negotiating strategic alternatives, and recommending to the Board whether to
    approve any such potential transaction;

                   WHEREAS, upon recommendation of the Special Committee, the Board
    previously approved the form, terms and provisions of, and the execution, delivery, and
    performance of, and, on February 8, 2019, the Company entered into, the restructuring support
    agreement (the "RSA") with an ad hoc group of lenders (the "Term Loan Lenders") holding
    more than 75% of the aggregate total principal amount of the Company's senior secured first lien
    term loan, borrowed pursuant to the Second Amended and Restated Credit Agreement, dated as
    of February 9, 2018 (as amended, supplemented or otherwise modified, the "Credit Agreement")
    establishing the Term Loan Lenders' support for a prearranged chapter 11 plan of reorganization;

                   WHEREAS, upon recommendation of the Special Committee, the Board
    previously approved, and on February 8, 2019, the Company entered into, the Commitment
    Letter (the "Commitment Letter"), by and among the Company as Guarantor, its wholly-owned
    direct subsidiaries Reverse Mortgage Solutions, Inc. ("RMS") and Ditech Financial LLC
    ("Ditech") as Sellers, Barclays Bank PLC ("Barclays") as Administrative Agent and as Buyer
    and Nomura Corporate Funding Americas, LLC ("Nomura") as Buyer (together with Barclays in
    its capacity as Buyer, the "Buyers"), pursuant to which the Buyers committed to provide new
    debtor-in-possession financing in an amount of up to $1.9 billion on terms and subject to
    conditions set forth in the Commitment Letter and the term sheet attached thereto;

                    WHEREAS, the Board has met on various occasions to review and has had the
    opportunity to ask questions about the materials presented by the management and the legal and
    financial advisors of the Company regarding the liabilities and liquidity of the Company, the
    strategic alternatives available to it and the impact of the foregoing on the Company's business;
    and

                   WHEREAS, in connection therewith, the Board desires to approve the following
    resolutions.




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                    NOW, THEREFORE, BE IT HEREBY

    Commencement of Chapter 11 Cases


                     RESOLVED, that, upon recommendation of the Special Committee, the Board
    has determined, after consultation with the management and the legal and financial advisors of
    the Company, that it is desirable and in the best interests of the Company, its creditors, and other
    parties in interest to approve and authorize the filing of petitions by the Company and certain of
    its subsidiaries, including RMS and Ditech, seeking relief under the provisions of chapter 11 of
    title 11 of the United States Code (the "Bankruptcy Code") in the United States Bankruptcy
    Court for the Southern District of New York (the "Bankruptcy Court"); and be it further

                    RESOLVED, that upon recommendation of the Special Committee, the Board
    has determined, after consultation with the management and the legal and financial advisors of
    the Company, that it is desirable and in the best interests of the Company, its creditors, and other
    parties in interest that the Company and its advisors prepare, finalize and file, as appropriate, the
    prearranged chapter 11 plan of reorganization (the "Plan") and related disclosure statement (the
    "Disclosure Statement") consistent with the terms of the RSA;

                     RESOLVED, that any officer of the Company (each, an "Authorized Officer"),
    in each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and
    directed to execute and file in the name and on behalf of the Company all petitions, schedules,
    motions, lists, applications, pleadings, and other papers in the Bankruptcy Court, and, in
    connection therewith, to employ and retain all assistance by legal counsel, accountants, financial
    advisors, investment bankers and other professionals, and to take and perform any and all further
    acts and deeds which such Authorized Officer deems necessary, proper, or desirable in
    connection with the chapter 1 1 cases (the "Chapter 1 1 Cases"), the Plan and the Disclosure
    Statement, including, without limitation, negotiating, executing, delivering and performing any
    and all documents, agreements, certificates and/or instruments in connection with the
    transactions and professional retentions set forth in these resolutions, with a view to the
    successful prosecution of the Chapter 1 1 Cases; and be it further

    Debtor-in-Possession Financing


                  RESOLVED, that in connection with the Chapter 11 Cases, and as previously
    authorized and agreed to by Ditech and RMS in connection with the Commitment Letter, and
    upon recommendation of the Special Committee, it is in the best interest of the Company,
    Ditech, RMS, RMS REO CS, LLC ("RMS REO CS"), RMS REO BRC, LLC ("RMS REO
    BRC") and RMS REO BRC 11, LLC ("RMS REO BRC II") to engage in,and the Company,
    Ditech, RMS, RMS REO CS, RMS REO BRC and RMS REO BRC II will obtain benefits from,
    the financing transactions contemplated by the agreements listed on Schedule A hereto and any
    and all of the other agreements, including, without limitation, any other guarantees, certificates,
    documents and instruments authorized, executed, delivered, reaffirmed, verified and/or filed in
    connection with the Debtor-in-Possession Financing (as defined below) (together with the
    transaction documents listed on Schedule A, collectively, the "DIP Financing Documents"),
    which, subject to the approval of the Bankruptcy Court, will provide the Company, Ditech, RMS
    and RMS REO BRC II up to $1.9 billion in available warehouse financing, which is necessary




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    and appropriate for the conduct, promotion and attainment of the business of the Company and
    its subsidiaries, including Ditech, RMS and RMS REO BRC II (the "Debtor-in-Possession
    Financing") (capitalized terms used in this section with respect to Debtor-in-Possession
    Financing and not otherwise defined herein shall have the meanings ascribed to such terms in the
    Commitment Letter or the term sheet attached thereto); and be it further

                   RESOLVED, that the Company's performance of its obligations under the DIP
    Financing Documents, including the borrowings and guarantees contemplated thereunder, are
    hereby, in all respects confirmed, ratified and approved; and be it further

                    RESOLVED, that any Authorized Officer is hereby authorized, empowered and
    directed, in the name and on behalf of the Company, to cause the Company to negotiate and
    approve the terms, provisions of and performance of, and to prepare, execute and deliver the DIP
    Financing Documents, on substantially the same terms and conditions presented to the Board, in
    the name and on behalf of the Company under its corporate seal or otherwise, and such other
    documents, agreements, instruments and certificates as may be required by the Administrative
    Agent or required by the DIP Financing Documents; and be it further

                  RESOLVED, that any Authorized Officer is hereby authorized, as part of the
    adequate protection to be provided to the lenders and administrative agent under the Credit
    Agreement, to grant replacement security interests in, and replacement liens on, any and all
    property of the Company as collateral pursuant to the Bankruptcy Court's orders to secure all of
    the obligations and liabilities of the Company thereunder, and to authorize, execute, verify, file
    and/or deliver to the administrative agent, on behalf of the Company, all agreements, documents
    and instruments required by the lenders or the administrative agent under the Credit Agreement
    in connection with the foregoing; and be it further

                    RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
    directed, in the name and on behalf of the Company, to take all such further actions including,
    without limitation, to pay all fees and expenses, in accordance with the terms of the DIP
    Financing Documents, which shall, in such Authorized Officer's judgment, be necessary, proper
    or advisable to perform the Company's obligations under or in connection with the DIP
    Financing Documents and the transactions contemplated therein and to carry out fully the intent
    of the foregoing resolutions; and be it further

                    RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
    directed, in the name and on behalf of the Company, to execute and deliver any amendments,
    supplements, modifications, renewals, replacements, consolidations, substitutions and extensions
    of any of the DIP Financing Documents which shall, in such Authorized Officer's sole judgment,
    be necessary, proper or advisable; and be it further

    Retention of Advisors

                     RESOLVED, that, upon recommendation of the Special Committee, in
    connection with the Chapter 1 1 Cases, any Authorized Officer, in each case, acting singly or
    jointly, be, and each hereby is, authorized, empowered, and directed, with full power of
    delegation, in the name and on behalf of the Company, to employ and retain all assistance by




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    legal counsel, accountants, financial advisors, investment bankers and other professionals, on
    behalf of the Company, which such Authorized Officer deems necessary, appropriate or
    advisable in connection with, or in furtherance of, the Chapter 11 Cases, with a view to the
    successful prosecution of the Chapter 1 1 Cases (such acts to be conclusive evidence that such
    Authorized Officer deemed the same to meet such standard); and be it further

                   RESOLVED, that the firm ofHoulihan Lokey Capital, Inc., located at 10250
    Constellation Blvd., 5th Floor, Los Angeles, California 90067, is hereby retained as investment
    banker for the Company in the Chapter 11 Cases, subject to Bankruptcy Court approval; and be
    it further

                   RESOLVED, that the law firm of Well, Gotshal & Manges LLP, located at 767
    Fifth Avenue, New York, NY 10153, is hereby retained as counsel for the Company in the
    Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further

                   RESOLVED, that the firm of AlixPartners, located at 909 Third Avenue, New
    York, New York 10022, is hereby retained as financial advisor for the Company in the Chapter
    11 Cases, subject to Bankruptcy Court approval; and be it further

                   RESOLVED, that the firm ofEpiq Corporate Restructuring, LLC, located at 777
    Third Avenue, 12th Floor, New York, New York 10017, is hereby retained as claims, noticing,
    and solicitation agent and administrative advisor for the Company in the Chapter 11 Cases,
    subject to Bankruptcy Court approval; and be it further

    Approval of Actions of Subsidiaries

                    RESOLVED, that in the judgment of the Board, it is desirable and in the best
    interests of certain of the Company's direct and indirect subsidiaries for each such entity or
    entities to take any and all action, including related to the DIP Financing Documents, Debtor-in-
    Possession Financing and filing in the Bankruptcy Court, and to execute and deliver all
    documents, agreements, motions and pleadings as are necessary, proper, or desirable to enable
    such subsidiary to carry out the DIP Financing Documents, Debtor-in-Possession Financing and
    filing in the Bankruptcy Court contemplated hereby, including granting any director, officer, or
    other authorized representative as applicable according to local law, the authority to take action
    in support thereof; and be it further

    General


                   RESOLVED, that any Authorized Officer is hereby authorized, empowered and
    directed, in the name and on behalf of the Company, to cause the Company to enter into,
    execute, deliver, certify, file and/or record, perform and approve any necessary public
    disclosures and filings related to, such documents, agreements, instruments, motions, affidavits,
    applications for approvals or rulings of governmental or regulatory authorities and certificates
    as may be required in connection with the Chapter 1 1 Cases, DIP Financing Documents and
    Debtor-in-Possession Financing, and to take such other actions that in the judgment of the
    Authorized Officer shall be or become necessary, proper or desirable in connection therewith;
    and be it further




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                      RESOLVED, that any actions taken by any Authorized Officer, for or on behalf
     of the Company, prior to the date hereof that would have been authorized by these resolutions
     but for the fact that such actions were taken prior to the date hereof be, and they hereby are,
     authorized, adopted, approved, confirmed and ratified in all respects as the actions and deeds of
    the Company.




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                                              Schedule A

        1. Master Refinancing Agreement, dated as of the Closing Date, by and among Barclays, as
            administrative agent for the Buyers (as defined therein) and other Secured Parties (as
            defined therein), Barclays and Nomura, each as a Buyer (as defined therein), Barclays
            Capital Inc. and Nomura Securities International, Inc., each as an MSFTA Counterparty
           (as defined therein), Ditech and Reverse Mortgage Solutions, Inc., each as a Seller (as
           defined therein) and RMS REO BRC II, LLC, as REO Subsidiary (as defined therein)
           (the "Omnibus Agreement").

       2. Master DIP Fee Letter, dated as of the Closing Date, among Barclays, as administrative
           agent, Barclays and Nomura, as Committed Buyers (as defined therein), Ditech, RMS
           and Ditech Holding Corporation.

       3. Master DIP Guaranty, dated as of the Closing Date, made by Guarantor in favor of
           Barclays, as Administrative Agent, for the benefit of Buyers and the other Buyer Parties
           (as defined therein).

       4. Margin, Setoffand Netting Agreement, dated as of the Closing Date, among Barclays, as
           Administrative Agent, Barclays Capital, Inc., Nomura Securities International, Inc.,
           Nomura, Ditech, RMS, and RMS REO BRC II, LLC and acknowledged and agreed to by
           Ditech Holding Corporation.

       5. Master Administration Agreement, dated as of the Closing Date, among Barclays, as
           Administrative Agent for the Buyers and other Secured Parties (as defined therein),
           Barclays and Nomura, each as a Buyer (as defined therein), Barclays Capital Inc. and
           Nomura Securities International, Inc., each as a MSFTA Counterparty (as defined
           therein), Ditech and RMS, each as a Seller (as defined therein), and RMS REO BRC II,
           LLC as REO Subsidiary (as defined therein).

       6, Amended and Restated Master Repurchase Agreement, dated as of the Closing Date, by
           and among Barclays and Nomura, as Purchasers (as defined therein), Barclays, as Agent
           (as defined therein), RMS and RMS REO BRC II, LLC.

       7. Amended and Restated Pricing Side Letter, dated as of the Closing Date, among
           Barclays, as Purchaser and Agent, Nomura, as Purchaser, RMS and RMS REO BRC II,
           LLC.

       8. Assignment Agreement, dated as of the Closing Date, between RMS REO CS, LLC and
           RMS.

       9. Assignment Agreement, dated as of the Closing Date, between RMS REO BRC, LLC
           and RMS.

       10. Assignment Agreement, dated as of the Closing Date, between RMS REO BRC II, LLC
           and RMS.




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       11. Amended and Restated Custodial Agreement, dated as of the Closing Date, by and
           among RMS REO BRC II, LLC (the "REO Subsidiary"), RMS, Deutsche Bank National
          Trust Company, as custodian for Purchasers (as defined therein) and for the REO
          Subsidiary, Barclays and Nomura, as Purchasers (as defined therein), and Barclays, as
          Agent (as defined therein).

       12. Amended and Restated Deposit Account Control Agreement, dated as of the Closing
           Date, by and among RMS, Barclays, as Agent (as defined therein), and Wells Fargo
           Bank, National Association.

       13. Amendment No. 1 to the Limited Liability Company Agreement ofRMS REO BRC II,
           LLC, dated as of the Closing Date, entered into by RMS, as the sole member, RMS REO
          BRC II, LLC, and consented to by Barclays, as Agent.

       14. Indenture, dated as of February 9, 2018 and effective as of February 12, 2018 (as
           amended, restated, supplemented or otherwise modified as of the date hereof, the
           "Agency Facility Indenture"), by and among Ditech Agency Advance Trust, as issuer
           (the "Agency Facility Issuer"), Wells Fargo Bank, N.A. ("Wells Fargo"), as indenture
           trustee (in such capacity, the "Agency Facility Indenture Trustee"), calculation agent,
           paying agent and securities intermediary, Ditech, as administrator (in such capacity, the
           "Agency Facility Administrator") and as servicer (in such capacity, the "Agency Facility
           Servicer") and Barclays, as administrative agent (in such capacity, the "Agency Facility
           Administrative Agent") (successor to Credit Suisse First Boston Mortgage Capital LLC,
           as initial administrative agent).

       15. Series 2019-VF1 Indenture Supplement to Agency Facility Indenture, dated as of the
           Closing Date, by and among the Agency Facility Issuer, the Agency Facility Indenture
           Trustee (as indenture trustee, calculation agent, paying agent and securities intermediary),
           the Agency Facility Administrator, the Agency Facility Servicer and the Agency Facility
           Administrative Agent.

       16. Receivables Sale Agreement, dated as of February 9, 2018 and effective as of February
           12, 2018 (as amended, restated, supplemented or otherwise modified as of the date
           hereof, the "Agency Facility Receivables Sale Agreement"), by and among the Agency
           Facility Servicer, as servicer and as the receivables seller (in such capacity, the "Agency
           Facility Receivables Seller"), Ditech Agency Advance Depositor LLC, as depositor (the
           "Agency Facility Depositor") and the Company, as guarantor.

       17. Amendment No. 1 to the Agency Facility Receivables Sale Agreement, dated as of the
           Closing Date, by and among the Agency Facility Servicer, the Agency Facility
           Receivables Seller, the Agency Facility Depositor and the Company, as guarantor.

       18. Assignment of Receivables, dated as of February 9, 2018 and effective as of February 12,
           2018, by and between the Agency Facility Depositor and the Agency Facility
           Receivables Seller.




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       19. Receivables Pooling Agreement, dated as of February 9, 2018 and effective as of
           February 12, 2018, by and between the Agency Facility Depositor and the Agency
           Facility Issuer.

       20. Assignment of Receivables, dated as of February 9, 2018 and effective as of February 12,
           2018, by and between the Agency Facility Depositor and the Agency Facility Issuer.

       21. Administration Agreement, dated as of February 9, 2018 and effective as of February 12,
           2018, by and between the Agency Facility Issuer and the Agency Facility Administrator.

       22. Acknowledgment Agreement with Respect to Servicing Advance Receivables, dated as
           of February 9, 2018 and effective as of February 12, 2018 (as amended, restated,
           supplemented or otherwise modified as of the date hereof, the "Agency Facility
          Acknowledgment Agreement"), by and among the Agency Facility Issuer, the Agency
          Facility Depositor, the Agency Facility Servicer, the Agency Facility Indenture Trustee,
          Fannie Mae and the Agency Facility Administrative Agent.

       23. Amendment No. 1 to the Agency Facility Acknowledgment Agreement, dated as of April
           20, 2018, by and among the Agency Facility Issuer, the Agency Facility Depositor, the
           Agency Facility Servicer, the Agency Facility Indenture Trustee, Fannie Mae and the
           Agency Facility Administrative Agent.

       24. Amendment No. 2 to the Agency Facility Acknowledgment Agreement, dated as of the
          Closing Date, by and among the Agency Facility Issuer, the Agency Facility Depositor,
          the Agency Facility Servicer, the Agency Facility Indenture Trustee, Fannie Mae and the
          Agency Facility Administrative Agent.

       25. Series 2019-VF1 Variable Funding Note Purchase Agreement, dated as of the Closing
           Date, (the "Agency Facility Note Purchase Agreement"), by and among Ditech, as the
           Agency Facility Servicer, the Agency Facility Administrator and the Agency Facility
           Receivables Seller, the Agency Facility Depositor, the Agency Facility Issuer, the
           Administrative Agent, and Barclays, as a Purchaser Agent ("Agency Facility Purchaser").

       26. Ditech Agency Advance Trust Advance Receivables Backed Note, Series 2019-VF1
           Note, Number 1 (the "Agency Facility Note"), dated as of the Closing Date, in the name
           of the Agency Facility Purchaser.

       27. Amended and Restated Trust Agreement, dated as of February 9, 2018 and effective as of
           February 12, 2018 (as amended, restated, supplemented or otherwise modified as of the
           date hereof, the "Agency Facility Trust Agreement"), by and among the Agency Facility
           Depositor, Wilmington Trust, National Association, as the owner trustee (in such
           capacity, the "Agency Facility Owner Trustee"), and the Agency Facility Administrator.

       28. Amendment No. 1 to the Agency Facility Trust Agreement, dated as of the Closing Date,
           by and among the Agency Facility Depositor, Wilmington Trust, National Association,
           the Agency Facility Owner Trustee and the Agency Facility Administrator.




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       29. Amended and Restated Limited Liability Company Agreement of the Agency Facility
           Depositor (the "Agency Facility Depositor LLC Agreement"), dated as of February 9,
           2018 and effective as of February 12, 2018, by and among Ditech, as the sole economic
           member of the Agency Facility Depositor and Albert Fioravanti, as the Special Member
           and Independent Manager of the Agency Facility Depositor.

       30. Amendment No. 1 to the Agency Facility Depositor LLC Agreement, dated as of the
           Closing Date, made by Ditech, as the sole economic member of the Agency Facility
           Depositor and consented to by Albert Fioravanti, as the Special Member and Independent
           Manager of the Agency Facility Depositor and Barclays, as sole noteholder.

       31. Indenture, dated as of February 9, 2018 and effective as of February 12, 2018 (as
           amended, restated, supplemented or otherwise modified as of the date hereof, the"PLS
           Facility Indenture"), by and among Ditech PLS Advance Trust II, as issuer (the "PLS
           Facility Issuer"), Wells Fargo Bank, as indenture trustee (in such capacity, the "PLS
           Facility Indenture Trustee"), calculation agent, paying agent and securities intermediary,
           Ditech, as administrator (in such capacity, the "PLS Facility Administrator") and as
           servicer (in such capacity, the "PLS Facility Servicer") and Barclays, as administrative
           agent (in such capacity, the "PLS Facility Administrative Agent") (successor to Credit
           Suisse First Boston Mortgage Capital LLC, as initial administrative agent).

       32. Series 2019-VF1 Indenture Supplement to PLS Facility Indenture, dated as of the Closing
           Date (the "PLS Facility Indenture Supplement"), by and among the PLS Facility Issuer,
           the PLS Facility Indenture Trustee (as indenture trustee, calculation agent, paying agent
           and securities intermediary), the PLS Facility Administrator, the PLS Facility Servicer
           and the PLS Facility Administrative Agent.

       33. Receivables Sale Agreement, dated as of February 9, 2018 and effective as of February
           12, 2018 (as amended, restated, supplemented or otherwise modified as of the date
           hereof, the "PLS Facility Receivables Sale Agreement"), by and among the PLS Facility
           Servicer, as servicer and as the receivables seller (in such capacity, the "PLS Facility
           Receivables Seller"), Ditech PLS Advance Depositor LLC, as depositor (the "PLS
           Facility Depositor") and the Company, as guarantor.

       34. Amendment No. 1 to the PLS Facility Receivables Sale Agreement, dated as of the
           Closing Date, by and among the PLS Facility Servicer, the PLS Facility Receivables
           Seller, the PLS Facility Depositor and the Company, as guarantor ("PLS Facility
           Receivables Sale Agreement Amendment"),

       35. Assignment of Receivables, dated as of February 9, 2018 and effective as of February 12,
           2018 (the "PLS Facility Assignment of Receivables"), by and between the PLS Facility
           Depositor and the PLS Facility Receivables Seller.

       36. Receivables Pooling Agreement, dated as of February 9, 2018 and effective as of
           February 12, 2018 (the "PLS Facility Receivables Pooling Agreement"), by and between
           the PLS Facility Depositor and PLS Facility Issuer.




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       37. Assignment of Receivables, dated as of February 9, 2018 and effective as of February 12,
           2018 (the "Depositor PLS Facility Assignment of Receivables"), by and between the PLS
           Facility Depositor and the PLS Facility Issuer.

       38. Administration Agreement, dated as of February 9, 2018 and effective as of February 12,
           2018 (the "PLS Facility Administration Agreement"), by and between the PLS Facility
           Issuer and the PLS Facility Administrator.

       39. Acknowledgment Agreement with Respect to Servicing Advance Receivables, dated as
           of February 9, 2018 and effective as of February 12, 2018 (as amended, restated,
           supplemented or otherwise modified as of the date hereof, the "PLS Facility
           Acknowledgment Agreement"), by and among the PLS Facility Issuer, the PLS Facility
           Depositor, the PLS Facility Servicer, the PLS Facility Indenture Trustee, Fannie Mae and
           the PLS Facility Administrative Agent.

       40. Series 2019-VF1 Variable Funding Note Purchase Agreement, dated as of the Closing
           Date, and effective as of the Effective Date (the "PLS Facility Note Purchase
          Agreement"), by and among Ditech, as the PLS Facility Servicer, the PLS Facility
          Administrator and the PLS Facility Receivables Seller, the PLS Facility Depositor, the
          PLS Facility Issuer, the Administrative Agent, and Barclays, as a Purchaser Agent ("PLS
          Facility Purchaser").

       41. Ditech PLS Advance Trust II Advance Receivables Backed Note, Series 2019 Class A-
           VF1 Note Number 1 (the "PLS Facility Note, Class A"), dated as of the Closing Date, in
           the name of the PLS Facility Purchaser.

       42. Ditech PLS Advance Trust II Advance Receivables Backed Note, Series 2019 Class B-
          VF1 Note Number 1 (the "PLS Facility Note, Class B"), dated as of the Closing Date, in
          the name of the PLS Facility Purchaser.

       43. Ditech PLS Advance Trust II Advance Receivables Backed Note, Series 2019 Class C-
           VF1 Note Number 1 (the "PLS Facility Note, Class C"), dated as of the Closing Date, in
           the name of the PLS Facility Purchaser.

       44, Ditech PLS Advance Trust II Advance Receivables Backed Note, Series 2019 Class D-
           VF1 Note Number 1 (the "PLS Facility Note, Class D"), dated as of the Closing Date, in
           the name of the PLS Facility Purchaser.

       45. Amended and Restated Trust Agreement, dated as of February 9, 2018 and effective as of
           February 12, 2018 (as amended, restated, supplemented or otherwise modified as of the
           date hereof, the "PLS Facility Trust Agreement"), by and among the PLS Facility
           Depositor, Wilmington Trust, National Association, as the owner trustee (in such
           capacity, the "PLS Facility Owner Trustee"), and the PLS Facility Administrator.

       46. Amendment No. 1 to the PLS Facility Trust Agreement, dated as of the Closing Date, by
          and among the Agency Facility Depositor, the Agency Facility Owner Trustee and the
          Agency Facility Administrator.




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       47. Amended and Restated Limited Liability Company Agreement of the PLS Facility
           Depositor (the "PLS Facility Depositor LLC Agreement"), dated as of February 9,2018
           and effective as of February 12, 2018, by and among Ditech, as the sole economic
           member of the PLS Facility Depositor and Albert Fioravanti, as the Special Member and
           Independent Manager of the PLS Facility Depositor.

       48. Amendment No. 1 to the PLS Facility Depositor LLC Agreement, dated as of the Closing
           Date, made by Ditech, as the sole economic member of the PLS Facility Depositor and
           consented to by Albert Fioravanti, as the Special Member and Independent Manager of
           the PLS Facility Depositor and Barclays, as sole noteholder.

       49. Pledge Agreement, dated as of the Closing Date, made by the Ditech in favor of Barclays.

       50. Master Repurchase Agreement, dated as of the Closing Date, by and among Barclays, as
           Administrative Agent on behalf of Buyers (as defined therein), Barclays and Nomura, as
          Buyers (as defined therein), other Buyers party thereto from time to time, and Ditech.

       51. Pricing Side Letter, dated the Closing Date, among Barclays, as Administrative Agent for
           the benefit of Buyers (as defined therein), Barclays and Nomura, as Committed Buyers
           (as defined therein), and Ditech.

       52. Power of Attorney, dated as of the Closing Date, to be entered into by Ditech.

       53. Custodial and Disbursement Agreement, dated as of the Closing Date, by and among
           Barclays and Nomura, as Buyers (as defined therein), Ditech, Barclays, as agent of the
          Buyers, and Wells Fargo Bank, N.A.


       54. Amended and Restated Deposit Account Control Agreement, dated as of the Closing
           Date, by and among Barclays, as Administrative Agent (as defined therein), Ditech and
          U.S. Bank National Association.


       55. Second Amendment to the Master Securities Forward Transaction Agreement, dated as of
           the Closing Date, between Barclays Capital Inc. and Ditech.

       56, Second Amendment to the Master Securities Forward Transaction Agreement, dated as of
          the Closing Date, between Nomura Securities International, Inc. and Ditech.




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                                           ACTION BY
                                      WRITTEN CONSENT OF
                                    THE GOVERNING BODIES OF

                                   DF INSURANCE AGENCY LLC
                                     DITECH FINANCIAL LLC
                                    GREEN TREE CREDIT LLC
                                GREEN TREE CREDIT SOLUTIONS LLC
                        GREEN TREE INSURANCE AGENCY OF NEVADA, INC.
                            GREEN TREE INVESTMENT HOLDINGS III LLC
                                    GREEN TREE SERVICING CORP.
                                      MARIX SERVICING LLC
                                  MORTGAGE ASSET SYSTEMS, LLC
                                 REO MANAGEMENT SOLUTIONS, LLC
                               REVERSE MORTGAGE SOLUTIONS, INC.
                         WALTER MANAGEMENT HOLDING COMPANY LLC
                             WALTER REVERSE ACQUISITION LLC

                                            February 10,2019



                The required members of the board of directors, the sole member, the managing member,
 the sole manager or the sole general partner, as the case may be (as applicable, the "Governing Body"),
  of each of the entities referenced above (each, a "Company" and collectively, the "Companies"), do
 hereby consent to, adopt, and approve, by written consent in accordance with applicable law, the
 following resolutions and every action effected thereby:

                WHEREAS, each Company is a direct or indirect wholly-owned subsidiary ofDitech
 Holding Corporation (the "Parent");

                WHEREAS, Reverse Mortgage Solutions, Inc. is the sole "member" (as such term is
 used in the Delaware Limited Liability Company Act, 6 Del.C. § 18-101, et seq. (the "DLLC Act")) (the
 "Sole Member") of RMS REO CS, LLC, RMS REO BRC, LLC, RMS REO BRC 11, LLC and RMS
 2018-09, LLC (each a "Single Member LLC" and, collectively, the "Single Member LLCs");

                WHEREAS, the Board of Directors of the Parent and the Governing Body of the
 Company previously approved the form, terms and provisions of, and the execution, delivery, and
 performance of, and, on February 8, 2019, the Company entered into, the restructuring support
 agreement (the "RSA") with an ad hoc group of lenders (the "Term Loan Lenders") holding more than
 75% of the aggregate total principal amount of the Parent's senior secured first lien term loan, borrowed
 pursuant to the Second Amended and Restated Credit Agreement, dated as of February 9, 2018 (as
 amended, supplemented or otherwise modified, the "Credit Agreement") establishing the Term Loan
 Lenders' support for a prearranged chapter 11 plan of reorganization;

                WHEREAS, the Board of Directors of the Parent and, if applicable, the Governing Body
 of the Company, previously approved, and on February 8, 2019, the Parent and the applicable
 Companies entered into, the Commitment Letter (the "Commitment Letter"), by and among the Parent
 as Guarantor, its wholly-owned direct subsidiaries Reverse Mortgage Solutions, Inc. ("RMS") and
 Ditech Financial LLC ("Ditech") as Sellers, Barclays Bank PLC ("Barclays") as Administrative Agent



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 and as Buyer and Nomura Corporate Funding Americas, LLC ("Nomura") as Buyer (together with
 Barclays in its capacity as Buyer, the "Buyers"), pursuant to which the Buyers committed to provide
 new debtor-in-possession financing in an amount of up to $1.9 billion on terms and subject to conditions
 set forth in the Commitment Letter and the term sheet attached thereto;

                 WHEREAS, the Governing Body of the Company has reviewed and had the opportunity
 to ask questions about the materials attached hereto and the impact of the foregoing on the Company's
 business; and

                 WHEREAS, the Governing Body has considered and determined that taking the
 applicable actions set forth below are in the best interests of the Company and, therefore, desires to
 approve the following resolutions.

 Commencement of Chapter 11 Cases


                 RESOLVED, that it is desirable and in the best interests of the Company, its creditors,
 and other parties in interest and the Governing Body approves and authorizes the filing of petitions by
 the Company seeking relief under the provisions of chapter 11 of title 11 of the United States Code (the
 "Bankruptcy Code") in the United States Banla-uptcy Court for the Southern District of New York (the
 "Bankruptcy Court"); and be it further

                 RESOLVED, that it is desirable and in the best interests of the Company, its creditors,
 and other parties in interest that the Company and its advisors prepare, finalize and file, as appropriate,
 the prearranged chapter 11 plan of reorganization (the "Plan") and related disclosure statement (the
 "Disclosure Statement") consistent with the terms of the RSA;

                 RESOLVED, that any officer of the Company (each, an "Authorized Officer"), in each
 case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed to execute and
 file in the name and on behalf of the Company all petitions, schedules, motions, lists, applications,
 pleadings, and other papers in the Bankruptcy Court, and, in connection therewith, to employ and retain
 all assistance by legal counsel, accountants, financial advisors, investment bankers and other
 professionals, and to take and perform any and all further acts and deeds which such Authorized Officer
 deems necessary, proper, or desirable in connection with the chapter 11 cases (the "Chapter 11 Cases"),
 the Plan and the Disclosure Statement, including, without limitation, negotiating, executing, delivering
 and performing any and all documents, agreements, certificates and/or instruments in connection with
 the transactions and professional retentions set forth in this resolution, with a view to the successful
 prosecution of the Chapter 11 Cases; and be it further

 Retention of Advisors

                 RESOLVED, that in connection with the Chapter 11 Cases, any Authorized Officer, in
 each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed, with full
 power of delegation, in the name and on behalf of the Company, to employ and retain all assistance by
 legal counsel, accountants, financial advisors, investment bankers and other professionals, on behalf of
 the Company, which such Authorized Officer deems necessary, appropriate or advisable in connection
 with, or in furtherance of, the Chapter 11 Cases, with a view to the successful prosecution of the Chapter




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  11 Cases (such acts to be conclusive evidence that such Authorized Officer deemed the same to meet
 such standard); and be it further

                 RESOLVED, that the firm ofHoulihan Lokey Capital, Inc., located at 10250
 Constellation Blvd., 5th Floor, Los Angeles, California 90067, is hereby retained as investment banker
 for the Company in the Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further

                 RESOLVED, that the law firm of Well, Gotshal & Manges LLP, located at 767 Fifth
 Avenue, New York, NY 10153, is hereby retained as counsel for the Company in the Chapter 11 Cases,
 subject to Bankruptcy Court approval; and be it further

                 RESOLVED, that the firm of AlixPartners, located at 909 Third Avenue, New York,
 New York 10022, is hereby retained as financial advisor for the Company in the Chapter 11 Cases,
 subject to Bankruptcy Court approval, and that the Company's prior engagement of AlixPartners is
 hereby ratified in all respects; and be it further

                 RESOLVED, that the firm of Epiq Corporate Restructuring, LLC, located at 777 Third
 Avenue, 12th Floor, New York, New York 10017, is hereby retained as claims, noticing, and solicitation
 agent and administrative advisor for the Company in the Chapter 11 Cases, subject to Bankruptcy Court
 approval; and be it further

 Specified Consent with Respect to Sole IVIember

                 RESOLVED, that the written consent of the Sole Member provided herein to file a
 petition seeking relief under the Bankruptcy Code shall, to the maximum extent permitted by law,
 constitute a "written consent" for purposes of § 18-304 of the DLLC Act; and be it further

                 RESOLVED, that it is desirable and in the best interests of the Sole Member, its
 creditors, and other parties in interest that the Sole Member shall not cease to be a "member" (as such
 term is used in the DLLC Act) of any Single Member LLC as a result of the Chapter 11 Cases or upon
 the happening of any other event specified in §18-304 of the DLLC Act; and be it further

 General


                  RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
 directed, in the name and on behalf of the Company, to cause the Company to enter into, execute,
 deliver, certify, file and/or record, perform, and approve any necessary public disclosures and filings
 related to, and such other documents, agreements, instruments and certificates as may be required by the
 Chapter 11 Cases or retention of advisors and to take such other actions that in the judgment of the
 Authorized Officer shall be or become necessary, proper or desirable in connection therewith; and be it
 further

                RESOLVED, that any actions taken by any Authorized Officer, for or on behalf of the
 Company, prior to the date hereof that would have been authorized by these resolutions but for the fact
 that such actions were taken prior to the date hereof be, and they hereby are, authorized, adopted,
 approved, confirmed and ratified in all respects as the actions and deeds of the Company.

                                           [Signature Pages Follow]




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                IN WITNESS WHEREOF, the undersigned, being the managing member of the entities
  listed under "Group 1" on Schedule I has executed this written consent as of the date first set forth
  above.




                                                    DITECH HOLDING CORPORATION


                                                     /s/ Kimberiy Perez
                                                    Name: Kimberly Perez
                                                    Title: SVP& Chief Accounting Officer




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                  IN WITNESS WHEREOF, the undersigned, being all of the members of the board of
  directors of the entity listed under "Group 2" on Schedule I have executed this unanimous written
  consent as of the date first set forth above.




                                                  /s/ Jeffrey Baker
                                                  Jeffrey Baker

                                                  /s/Alan dark
                                                  Alan dark




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                  IN WITNESS WHEREOF, the undersigned, being the sole member of the board of
  directors of the entity listed under "Group 3" on Schedule I has executed this unanimous written consent
  as of the date first set forth above.




                                              /s/ Laura Reichel
                                              Laura Reichel




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                  IN WITNESS WHEREOF, the undersigned, being the sole member or managing
  member, as applicable, of the entities listed under "Group 4" on Schedule I, has executed this written
  consent as of the date first set forth above.




                                                            GREEN TREE CREDIT SOLUTIONS
                                                            LLC,



                                                             /s/ Kimberly^ Perez
                                                            Name: Kimberly Perez
                                                            Title: SVP & Chief Accounting Officer




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                IN WITNESS WHEREOF, the undersigned, being the managing member of each entity
  listed under "Group 5" on Schedule I, has executed this written consent as of the date first set forth
  above.




                                                            REVERSE MORTGAGE SOLUTIONS,
                                                            INC.



                                                            /s/ Jeanetta Brown
                                                            Name: Jeanetta Brown
                                                            Title: Vice President




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                IN WITNESS WHEREOF, the undersigned, being the managing member of the entity
  listed under "Group 6" on Schedule I, has executed this written consent as of the date first set forth
  above.




                                                     WALTER MANAGEMENT HOLDING
                                                     COMPANY LLC


                                                      /s/ Kimberly Perez
                                                    Name: Kimberly Perez
                                                     Title: SVP & Chief Accounting Officer




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                IN WITNESS WHEREOF, the undersigned, being the managing member of the entity
  listed under "Group 7" on Schedule I, has executed this written consent as of the date first set forth
  above.




                                                     GREEN TREE SERVICING CORP.



                                                      /s/ Kimberly Perez
                                                    Name: Kimberly Perez
                                                     Title: SVP & Chief Accounting Officer




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         Schedule I


  Grow 1

  Walter Reverse Acquisition LLC, a Delaware limited liability company

  Green Tree Credit Solutions LLC, a Delaware limited liability company

  Marix Servicing LLC, a Delaware limited liability company



  Group 2

 Reverse Mortgage Solutions, Inc., a Delaware corporation




  Group 3

 Green Tree Insurance Agency of Nevada, Inc., a Nevada corporation

  Green Tree Servicing Corp., a Delaware corporation




  Group 4

 Walter Management Holding Company LLC, a Delaware limited liability company

 DF Insurance Agency LLC, a Delaware limited liability company

 Green Tree Investment Holdings III LLC, a Delaware limited liability company



  Group 5

 Mortgage Asset Systems, LLC, a Delaware limited liability company

 REO Management Solutions, LLC, a Delaware limited liability company



  Group 6

 Green Tree Credit LLC, a New York limited liability company



 Ground

 Ditech Financial LLC, a Delaware limited liability company




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                                           ACTION BY
                                      WRITTEN CONSENT OF
                                    THE GOVERNING BODIES OF

                                        DITECH FINANCIAL LLC
                                REVERSE MORTGAGE SOLUTIONS, INC.
                                           RMS REO CS, LLC
                                          RMS REO BRC, LLC
                                         RMS REO BRC II, LLC

                                            February 10,2019




                 The required members of the board of directors, the sole member, the managing member,
 the sole manager or the sole general partner, as the case may be (as applicable, the "Governing Body"),
 of each of the entities referenced above (each, a "Company" and collectively, the "Companies"), do
 hereby consent to, adopt, and approve, by written consent in accordance with applicable law, the
 following resolutions and every action effected thereby:

                 WHEREAS, the Company is a direct or indirect wholly-owned subsidiary ofDitech
 Holding Corporation (the "Parent"),

                 WHEREAS, the Board of Directors of the Parent and the Governing Body of each of
 Reverse Mortgage Solutions, Inc. ("RMS") and Ditech Financial LLC ("Ditech") previously approved
 the form, terms and provisions of, and the execution, delivery, and performance of, and, on February 8,
 2019, the Parent and certain of its subsidiaries, including RMS and Ditech, entered into, the
 restructuring support agreement (the "RSA") with an ad hoc group of lenders (the "Term Loan
 Lenders") holding more than 75% of the aggregate total principal amount of the Parent's senior secured
 first lien term loan, borrowed pursuant to the Second Amended and Restated Credit Agreement, dated as
 of February 9, 2018 (as amended, supplemented or otherwise modified, the "Credit Agreement")
 establishing the Term Loan Lenders' support for a prearranged chapter 11 plan of reorganization;

                 WHEREAS, the Board of Directors of the Parent and the Governing Body of each of
 RMS and Ditech previously approved, and on February 8, 2019, the Parent, RM5 and Ditech entered
 into, the Commitment Letter (the "Commitment Letter"), by and among the Parent as Guarantor, its
 wholly-owned direct subsidiaries Reverse Mortgage Solutions, Inc. ("RMS") and Ditech Financial LLC
 ("Ditech") as Sellers, Barclays Bank PLC ("Barclays") as Administrative Agent and as Buyer and
 Nomura Corporate Funding Americas, LLC ("Nomura") as Buyer (together with Barclays in its capacity
 as Buyer, the "Buyers"), pursuant to which the Buyers committed to provide new debtor-in-possession
 financing in an amount of up to $1.9 billion on terms and subject to conditions set forth in the
 Commitment Letter and the term sheet attached thereto;

                 WHEREAS, the Governing Body of the Company has reviewed and had the opportunity
 to ask questions about the materials attached hereto and the impact of the foregoing on the Company's
 business; and




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                 WHEREAS, the Governing Body has considered and determined that taking the
  applicable actions set forth below are in the best interests of the Company and, therefore, desires to
  approve the following resolutions.

  Debtor-in-Possession Financing


                 RESOLVED, that as previously authorized and agreed to by Ditech and RMS in
  connection with the Commitment Letter, it is in the best interest of Ditech, RMS, RMS REO CS, LLC
  ("RMS REO CS"), RMS REO BRC, LLC ("RMS REO BRC") and RMS REO BRC 11, LLC ("RMS
  REO BRC II") to engage in, and the Parent, Ditech, RMS, RMS RED CS, RMS REO BRC and RMS
  REO BRC II will obtain benefits from, the financing transactions contemplated by the agreements listed
  on Schedule A hereto and any and all of the other agreements, including, without limitation, any other
  guarantees, certificates, documents and instruments authorized, executed, delivered, reaffirmed, verified
  and/or filed in connection with the Debtor-in-Possession Financing (as defined below) (together with the
  transaction documents listed on Schedule A, collectively, the "DIP Financing Documents"), which,
  subject to the approval of the United States Bankruptcy Court for the Southern District of New York
  (the "Bankruptcy Court") in connection with the chapter 11 cases of the Parent, RMS, Ditech and certain
  other subsidiaries of the Parent, will provide the Parent, Ditech, RMS and RMS REO BRC 11 up to $1.9
  billion in available warehouse financing, which is necessary and appropriate for the conduct, promotion
  and attainment of the business of the Parent and its subsidiaries, including Ditech, RMS and RMS REO
  BRC II (the "Debtor-in-Possession Financing") (capitalized terms used in this section with respect to
  Debtor-in-Possession Financing and not otherwise defined herein shall have the meanings ascribed to
  such terms in the Commitment Letter or the term sheet attached thereto); and be it further

                 RESOLVED, that the Company's performance of its obligations under the DIP
 Financing Documents, including the borrowings and guarantees contemplated thereunder, are hereby, in
  all respects confirmed, ratified and approved; and be it further

                 RESOLVED, that any Authorized Officer is hereby authorized, empowered and
  directed, in the name and on behalf of the Company, to cause the Company to negotiate and approve the
 terms, provisions of and performance of, and to prepare, execute and deliver the DIP Financing
 Documents, on substantially the same terms and conditions presented to the Company, in the name and
  on behalf of the Company under its corporate seal or otherwise, and such other documents, agreements,
  instruments and certificates as may be required by the Administrative Agent or required by the DIP
 Financing Documents; and be it further

                 RESOLVED, that any Authorized Officer is hereby authorized, as part of the adequate
 protection to be provided to the lenders and administrative agent under the Credit Agreement, to grant
 replacement security interests in, and replacement liens on, any and all property of the Company as
 collateral pursuant to the Bankruptcy Court's orders to secure all of the obligations and liabilities of the
  Company thereunder, and to authorize, execute, verify, file and/or deliver to the administrative agent, on
 behalf of the Company, all agreements, documents and instruments required by the lenders or the
 administrative agent under the Credit Agreement in connection with the foregoing; and be it further

                 RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
 directed, in the name and on behalf of the Company, to take all such further actions including, without
 limitation, to pay all fees and expenses, in accordance with the terms of the DIP Financing Documents,




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 which shall, in such Authorized Officer's judgment, be necessary, proper or advisable to perform the
  Company's obligations under or in connection with the DIP Financing Documents and the transactions
 contemplated therein and to carry out fully the intent of the foregoing resolutions; and be it further

                RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
 directed, in the name and on behalf of the Company, to execute and deliver any amendments,
  supplements, modifications, renewals, replacements, consolidations, substitutions and extensions of any
 of the DIP Financing Documents which shall, in such Authorized Officer's sole judgment, be necessary,
 proper or advisable; and be it further

 General


                RESOLVED, that any Authorized Officer is hereby authorized, empowered and
 directed, in the name and on behalf of the Company, to cause the Company to enter into, execute,
 deliver, certify, file and/or record, perform and approve any necessary public disclosures and filings
 related to, such documents, agreements, instruments, motions, affidavits, applications for approvals or
 rulings of governmental or regulatory authorities and certificates as may be required in connection
 with the DIP Financing Documents and Debtor-in-Possession Financing, and to take such other actions
 that in the judgment of the Authorized Officer shall be or become necessary, proper or desirable in
 connection therewith; and be it further

                RESOLVED, that any actions taken by any Authorized Officer, for or on behalf of the
 Company, prior to the date hereof that would have been authorized by these resolutions but for the fact
 that such actions were taken prior to the date hereof be, and they hereby are, authorized, adopted,
 approved, confirmed and ratified in all respects as the actions and deeds of the Company.



                                           [Signature Pages Follow]




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                 IN WITNESS WHEREOF, the undersigned, being all of the members of the board of
 directors of Reverse IVIortgage Solutions, Inc., a Delaware corporation, have executed this unanimous
 written consent as of the date first set forth above.




                                                /s/ Jeffrey B aker.
                                                Jeffrey Baker

                                                /s/ Alan dark
                                                Alan dark




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                IN WITNESS WHEREOF, the undersigned, being the sole member of each entity listed
 below, has executed this written consent as of the date first set forth above.



                                                               RMS REO CS, LLC

                                                               RMS REO BRC, LLC

                                                               RMS REO BRC II, LLC




                                                               REVERSE MORTGAGE SOLUTIONS,
                                                               INC.
                                                               as Member


                                                               /s/ Jeanetta Brown
                                                               Name: Jeanetta Brown
                                                               Title: Vice President




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                 IN WITNESS WHEREOF, the undersigned, being the managing member of Ditech
 Financial LLC, a Delaware limited liability company, has executed this written consent as of the date
 first set forth above.




                                                   GREEN TREE SERVICING CORP.


                                                    /s/ Kimberly Perez
                                                   Name: Kimberly Perez
                                                   Title: SVP & Chief Accounting Officer




 EXHIBIT A
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                                                Schedule A

     1. Master Refinancing Agreement, dated as of the Closing Date, by and among Barclays, as
         administrative agent for the Buyers (as defined therein) and other Secured Parties (as defined
        therein), Barclays and Nomura, each as a Buyer (as defined therein), Barclays Capital Inc. and
        Nomura Securities International, Inc., each as an MSFTA Counterparty (as defined therein),
        Ditech and Reverse Mortgage Solutions, Inc., each as a Seller (as defined therein) and RMS
        REO BRC II, LLC, as REO Subsidiary (as defined therein) (the "Omnibus Agreement").

    2. Master DIP Fee Letter, dated as of the Closing Date, among Barclays, as administrative agent,
        Barclays and Nomura, as Committed Buyers (as defined therein), Ditech, RMS and Ditech
        Holding Corporation.

    3. Master DIP Guaranty, dated as of the Closing Date, made by Guarantor in favor of Barclays, as
        Administrative Agent, for the benefit of Buyers and the other Buyer Parties (as defined therein).

    4. Margin, Setoffand Netting Agreement, dated as of the Closing Date, among Barclays, as
        Administrative Agent, Barclays Capital, Inc., Nomura Securities International, Inc., Nomura,
        Ditech, RMS, and RMS REO BRC 11, LLC and acknowledged and agreed to by Ditech Holding
        Corporation.


    5. Master Administration Agreement, dated as of the Closing Date, among Barclays, as
        Administrative Agent for the Buyers and other Secured Parties (as defined therein), Barclays and
        Nomura, each as a Buyer (as defined therein), Barclays Capital Inc. and Nomura Securities
        International, Inc., each as a MSFTA Counterparty (as defined therein), Ditech and RMS, each
        as a Seller (as defined therein), and RMS REO BRC II, LLC as REO Subsidiary (as defined
        therein).

    6. Amended and Restated Master Repurchase Agreement, dated as of the Closing Date, by and
        among Barclays and Nomura, as Purchasers (as defined therein), Barclays, as Agent (as defined
        therein), RMS and RMS REO BRC II, LLC.

    7. Amended and Restated Pricing Side Letter, dated as of the Closing Date, among Barclays, as
        Purchaser and Agent, Nomura, as Purchaser, RMS and RMS REO BRC II, LLC.

    8. Assignment Agreement, dated as of the Closing Date, between RMS REO CS, LLC and RMS.

    9. Assignment Agreement, dated as of the Closing Date, between RMS REO BRC, LLC and RMS.

    10. Assignment Agreement, dated as of the Closing Date, between RMS REO BRC II, LLC and
        RMS.

    11. Amended and Restated Custodial Agreement, dated as of the Closing Date, by and among RMS
        REO BRC II, LLC (the "REO Subsidiary"), RMS, Deutsche Bank National Trust Company, as
        custodian for Purchasers (as defined therein) and for the REO Subsidiary, Barclays and Nomura,
        as Purchasers (as defined therein), and Barclays, as Agent (as defined therein).

    12. Amended and Restated Deposit Account Control Agreement, dated as of the Closing Date, by
        and among RMS, Barclays, as Agent (as defined therein), and Wells Fargo Bank, National
        Association.




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     13. Amendment No. 1 to the Limited Liability Company Agreement ofRMS REO BRC II, LLC,
         dated as of the Closing Date, entered into by RMS, as the sole member, RMS REO BRC II,
         LLC, and consented to by Barclays, as Agent.

     14. Indenture, dated as of February 9, 2018 and effective as of February 12, 2018 (as amended,
         restated, supplemented or otherwise modified as of the date hereof, the "Agency Facility
         Indenture ), by and among Ditech Agency Advance Trust, as issuer (the "Agency Facility
         Issuer"), Wells Fargo Bank, N.A. ("Wells Fargo"), as indenture trustee (in such capacity, the
         "Agency Facility Indenture Trustee"), calculation agent, paying agent and securities
         intermediary, Ditech, as administrator (in such capacity, the "Agency Facility Administrator")
         and as servicer (in such capacity, the "Agency Facility Servicer") and Barclays, as administrative
         agent (in such capacity, the "Agency Facility Administrative Agent") (successor to Credit Suisse
         First Boston Mortgage Capital LLC, as initial administrative agent).

    15. Series 2019-VF1 Indenture Supplement to Agency Facility Indenture, dated as of the Closing
        Date, by and among the Agency Facility Issuer, the Agency Facility Indenture Trustee (as
        indenture trustee, calculation agent, paying agent and securities intermediary), the Agency
        Facility Administrator, the Agency Facility Servicer and the Agency Facility Administrative
        Agent.


    16. Receivables Sale Agreement, dated as of February 9, 2018 and effective as of February 12, 2018
        (as amended, restated, supplemented or otherwise modified as of the date hereof, the "Agency
        Facility Receivables Sale Agreement"), by and among the Agency Facility Servicer, as servicer
        and as the receivables seller (in such capacity, the "Agency Facility Receivables Seller"), Ditech
        Agency Advance Depositor LLC, as depositor (the "Agency Facility Depositor") and the
        Company, as guarantor.

    17. Amendment No. 1 to the Agency Facility Receivables Sale Agreement, dated as of the Closing
        Date, by and among the Agency Facility Servicer, the Agency Facility Receivables Seller, the
        Agency Facility Depositor and the Company, as guarantor.

    18. Assignment of Receivables, dated as of February 9, 2018 and effective as of February 12, 2018,
        by and between the Agency Facility Depositor and the Agency Facility Receivables Seller.

    19. Receivables Pooling Agreement, dated as of February 9, 2018 and effective as of February 12,
        2018, by and between the Agency Facility Depositor and the Agency Facility Issuer.

    20. Assignment of Receivables, dated as of February 9, 2018 and effective as of February 12, 2018,
        by and between the Agency Facility Depositor and the Agency Facility Issuer.

    21. Administration Agreement, dated as of February 9, 2018 and effective as of February 12, 2018,
        by and between the Agency Facility Issuer and the Agency Facility Administrator.

    22. Acknowledgment Agreement with Respect to Servicing Advance Receivables, dated as of
        February 9, 2018 and effective as of February 12, 2018 (as amended, restated, supplemented or
        otherwise modified as of the date hereof, the "Agency Facility Acknowledgment Agreement"),
        by and among the Agency Facility Issuer, the Agency Facility Depositor, the Agency Facility
        Servicer, the Agency Facility Indenture Trustee, Fannie Mae and the Agency Facility
        Administrative Agent.




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    23. Amendment No. 1 to the Agency Facility Acknowledgment Agreement, dated as of April 20,
        2018, by and among the Agency Facility Issuer, the Agency Facility Depositor, the Agency
        Facility Servicer, the Agency Facility Indenture Trustee, Fannie Mae and the Agency Facility
        Administrative Agent.

    24. Amendment No. 2 to the Agency Facility Acknowledgment Agreement, dated as of the Closing
        Date, by and among the Agency Facility Issuer, the Agency Facility Depositor, the Agency
        Facility Servicer, the Agency Facility Indenture Trustee, Pannie Mac and the Agency Facility
        Administrative Agent.

    25. Series 2019-VF1 Variable Funding Note Purchase Agreement, dated as of the Closing Date, (the
        "Agency Facility Note Purchase Agreement"), by and among Ditech, as the Agency Facility
        Servicer, the Agency Facility Administrator and the Agency Facility Receivables Seller, the
        Agency Facility Depositor, the Agency Facility Issuer, the Administrative Agent, and Barclays,
        as a Purchaser Agent ("Agency Facility Purchaser").

    26. Ditech Agency Advance Trust Advance Receivables Backed Note, Series 2019-VF1 Note,
        Number 1 (the "Agency Facility Note"), dated as of the Closing Date, in the name of the Agency
        Facility Purchaser.

    27. Amended and Restated Trust Agreement, dated as of February 9, 2018 and effective as of
        February 12, 2018 (as amended, restated, supplemented or otherwise modified as of the date
        hereof, the "Agency Facility Trust Agreement"), by and among the Agency Facility Depositor,
        Wilmington Trust, National Association, as the owner trustee (in such capacity, the "Agency
        Facility Owner Trustee"), and the Agency Facility Administrator.

    28. Amendment No. 1 to the Agency Facility Trust Agreement, dated as of the Closing Date, by and
        among the Agency Facility Depositor, Wilmington Trust, National Association, the Agency
        Facility Owner Trustee and the Agency Facility Administrator.

    29. Amended and Restated Limited Liability Company Agreement of the Agency Facility Depositor
        (the "Agency Facility Depositor LLC Agreement"), dated as of February 9, 2018 and effective as
        of February 12, 2018, by and among Ditech, as the sole economic member of the Agency
        Facility Depositor and Albert Fioravanti, as the Special Member and Independent Manager of the
        Agency Facility Depositor.

    30. Amendment No. 1 to the Agency Facility Depositor LLC Agreement, dated as of the Closing
        Date, made by Ditech, as the sole economic member of the Agency Facility Depositor and
        consented to by Albert Fioravanti, as the Special Member and Independent Manager of the
        Agency Facility Depositor and Barclays, as sole noteholder.

    31. Indenture, dated as of February 9, 2018 and effective as of February 12, 2018 (as amended,
        restated, supplemented or otherwise modified as of the date hereof, the "PLS Facility
        Indenture"), by and among Ditech PLS Advance Trust II, as issuer (the "PLS Facility Issuer"),
        Wells Fargo Bank, as indenture trustee (in such capacity, the "PLS Facility Indenture Trustee"),
        calculation agent, paying agent and securities intermediary, Ditech, as administrator (in such
        capacity, the "PLS Facility Administrator") and as servicer (in such capacity, the "PLS Facility
        Servicer") and Barclays, as administrative agent (in such capacity, the "PLS Facility
        Administrative Agent") (successor to Credit Suisse First Boston Mortgage Capital LLC, as initial
        administrative agent).




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    32. Series 2019-VF1 Indenture Supplement to PLS Facility Indenture, dated as of the Closing Date
        (the "PLS Facility Indenture Supplement"), by and among the PLS Facility Issuer, the PLS
       Facility Indenture Trustee (as indenture trustee, calculation agent, paying agent and securities
       intermediary), the PLS Facility Administrator, the PLS Facility Servicer and the PLS Facility
       Administrative Agent.

    33. Receivables Sale Agreement, dated as of February 9, 2018 and effective as of February 12, 2018
        (as amended, restated, supplemented or otherwise modified as of the date hereof, the "PLS
        Facility Receivables Sale Agreement"), by and among the PLS Facility Servicer, as servicer and
        as the receivables seller (in such capacity, the "PLS Facility Receivables Seller"), Ditech PLS
        Advance Depositor LLC, as depositor (the "PLS Facility Depositor") and the Company, as
       guarantor.


    34. Amendment No. 1 to the PLS Facility Receivables Sale Agreement, dated as of the Closing Date,
        by and among the PLS Facility Servicer, the PLS Facility Receivables Seller, the PLS Facility
        Depositor and the Company, as guarantor ("PLS Facility Receivables Sale Agreement
       Amendment").


    35. Assignment of Receivables, dated as of February 9, 2018 and effective as of February 12, 2018
        (the "PLS Facility Assignment of Receivables"), by and between the PLS Facility Depositor and
        the PLS Facility Receivables Seller.

    36. Receivables Pooling Agreement, dated as of February 9, 2018 and effective as of February 12,
        2018 (the "PLS Facility Receivables Pooling Agreement"), by and between the PLS Facility
       Depositor and PLS Facility Issuer.

    37. Assignment of Receivables, dated as of February 9, 2018 and effective as of February 12, 2018
        (the "Depositor PLS Facility Assignment of Receivables"), by and between the PLS Facility
        Depositor and the PLS Facility Issuer.

    38. Administration Agreement, dated as of February 9, 2018 and effective as of February 12, 2018
        (the "PLS Facility Administration Agreement"), by and between the PLS Facility Issuer and the
        PLS Facility Administrator.

    39. Acknowledgment Agreement with Respect to Servicing Advance Receivables, dated as of
        February 9, 2018 and effective as of February 12, 2018 (as amended, restated, supplemented or
        otherwise modified as of the date hereof, the "PLS Facility Acknowledgment Agreement"), by
        and among the PLS Facility Issuer, the PLS Facility Depositor, the PLS Facility Servicer, the
        PLS Facility Indenture Trustee, Fannie Mae and the PLS Facility Administrative Agent.

    40. Series 2019-VF1 Variable Funding Note Purchase Agreement, dated as of the Closing Date, and
        effective as of the Effective Date (the "PLS Facility Note Purchase Agreement"), by and among
        Ditech, as the PLS Facility Servicer, the PLS Facility Administrator and the PLS Facility
        Receivables Seller, the PLS Facility Depositor, the PLS Facility Issuer, the Administrative
        Agent, and Barclays, as a Purchaser Agent ("PLS Facility Purchaser"),

    41. Ditech PLS Advance Trust II Advance Receivables Backed Note, Series 2019 Class A-VF1 Note
        Number 1 (the "PLS Facility Note, Class A"), dated as of the Closing Date, in the name of the
        PLS Facility Purchaser.




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    42. Ditech PLS Advance Trust 11 Advance Receivables Backed Note, Series 2019 Class B-VF1 Note
        Number 1 (the "PLS Facility Note, Class B"), dated as of the Closing Date, in the name of the
        PLS Facility Purchaser.

    43, Ditech PLS Advance Trust II Advance Receivables Backed Note, Series 2019 Class C-VF1 Note
        Number 1 (the "PLS Facility Note, Class C"), dated as of the Closing Date, in the name of the
        PLS Facility Purchaser.

    44. Ditech PLS Advance Trust II Advance Receivables Backed Note, Series 2019 Class D-VF1 Note
        Number 1 (the "PLS Facility Note, Class D"), dated as of the Closing Date, in the name of the
        PLS Facility Purchaser.

    45. Amended and Restated Trust Agreement, dated as of February 9, 2018 and effective as of
        February 12, 2018 (as amended, restated, supplemented or otherwise modified as of the date
        hereof, the "PLS Facility Trust Agreement"), by and among the PLS Facility Depositor,
        Wilmington Trust, National Association, as the owner trustee (in such capacity, the "PLS
        Facility Owner Trustee"), and the PLS Facility Administrator.

    46. Amendment No. 1 to the PLS Facility Trust Agreement, dated as of the Closing Date, by and
        among the Agency Facility Depositor, the Agency Facility Owner Trustee and the Agency
        Facility Administrator.

    47. Amended and Restated Limited Liability Company Agreement of the PLS Facility Depositor
        (the "PLS Facility Depositor LLC Agreement"), dated as of February 9, 2018 and effective as of
        February 12, 2018, by and among Ditech, as the sole economic member of the PLS Facility
        Depositor and Albert Fioravanti, as the Special Member and Independent Manager of the PLS
        Facility Depositor.

    48. Amendment No. 1 to the PLS Facility Depositor LLC Agreement, dated as of the Closing Date,
        made by Ditech, as the sole economic member of the PLS Facility Depositor and consented to by
        Albert Fioravanti, as the Special Member and Independent Manager of the PLS Facility
       Depositor and Barclays, as sole noteholder.


    49. Pledge Agreement, dated as of the Closing Date, made by the Ditech in favor of Barclays.

    50. Master Repurchase Agreement, dated as of the Closing Date, by and among Barclays, as
        Administrative Agent on behalf of Buyers (as defined therein), Barclays andNomura, as Buyers
        (as defined therein), other Buyers party thereto from time to time, and Ditech.

    51. Pricing Side Letter, dated the Closing Date, among Barclays, as Administrative Agent for the
        benefit of Buyers (as defined therein), Barclays and Nomura, as Committed Buyers (as defined
       therein), and Ditech.

    52. Power of Attorney, dated as of the Closing Date, to be entered into by Ditech.

    53. Custodial and Disbursement Agreement, dated as of the Closing Date, by and among Barclays
        and Nomura, as Buyers (as defined therein), Ditech, Barclays, as agent of the Buyers, and Wells
       Fargo Bank, N.A.




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     54. Amended and Restated Deposit Account Control Agreement, dated as of the Closing Date, by
         and among Barclays, as Administrative Agent (as defined therein), Ditech and U.S. Bank
         National Association.

     55. Second Amendment to the Master Securities Forward Transaction Agreement, dated as of the
         Closing Date, between Barclays Capital Inc. and Ditech.

     56. Second Amendment to the Master Securities Forward Transaction Agreement, dated as of the
         Closing Date, between Nomura Securities International, Inc. and Ditech.




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Fill in this information to identify the case:

Debtor name: Ditech Financial LLC
United States Bankruptcy Court for the: Southern District of New York
                                                                         (State)
Case number (If known):


                                                                                                                                                   D Check if
                                                                                                                                                   this is an
                                                                                                                                                   amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors
Who Have the 40 Largest Unsecured Claims and Are Not Insiders
                                                                                                                                                              12/15
A list of creditors holding the 40 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined In 11 U.S.C. § 101(31). Also, do not Include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 40
largest unsecured claims.

Name of creditor and complete mailing          Name, telephone number, and email            Nature of the     Indicate If    Amount of unsecured claim
address. Including zip code                    address of creditor contact                       claim         claim is      If the claim is fully unsecured, fill In only
                                                                                            (for example,     contingent,    unsecured claim amount. If claim is partially
                                                                                             trade debts,    unliquidated,   secured, fill in total claim amount and
                                                                                             bank loans,      or disputed    deduction for value of collateral or setoffto
                                                                                             professional                    calculate unsecured claim.
                                                                                            services, and
                                                                                             government
                                                                                              contracts)
                                                                                                                                 Total       Deduction        Unsecured
                                                                                                                                claim. If   for value of        claim
                                                                                                                                partially   collateral or
                                                                                                                                secured        setoff
      ISGN Solutions Inc.                      Attn.: E. RockPrlmas
      Attn.: E. Rock Prlmas                    Phone: (609)932-4712                          Trade Debt                                                     $1,531,484.00
      2330 Commerce Park Drive, NE, Suite 2    Email: rock.primas@isgnsolutions.com
      Palm Bay, Florida 32905
      Black Knight Tech Solutions              Attn.: Darlene Ledet
      Attn.: Darlene Ledet                     Phone: (904)854-3153
                                                                                             Trade Debt                                                     $1,458,204.00
      601 Riverside Avenue                     Email: darlene.ledet@bkfs.com
      Jacksonville, FL 32204
      Servicelink                              Attn.: Joe Greve
      Attn.: Joe Greve                         Phone: (216) 374-1888
                                                                                             Trade Debt                                                     $1,222,945.00
      9600 Reserve Run                         Email: joe.greve@>svclnk.com
      Brecksvllle, Ohio 15108
      CorelogicTax Services LLC                Attn.: Tom Blauvelt
      Attn.: Tom Blauvelt                      Phone: (512)977-3716
                                                                                             Trade Debt                                                     $1,155,282.00
      4 First American Way                     Email: tblauvelt@coreloglc.com
      Santa Ana, California 92707
      Safeguard Properties Mgmt. LLC           Attn.: Gregory Sharp
      Attn.: Gregory Sharp                     Phone: (216)739-2900
                                                                                             Trade Debt                                                     $1,150,138.00
      7887 Safeguard Clr.                      Email:
      Valley View, Ohio 44125                  gregory.sharp@safeguardproperties.com
      Tata Consultancy Services Ltd.           Attn.: Prashant Panghal
      Attn.: Prashant Panghal                  Phone: (732)986-6921
                                                                                             Trade Debt                                                     $1,135,384.00
      379 Thornall Street                      Email: prashantl.p@tcs.com
      Edison, New Jersey 08837
      Cognizant Technology Solutions           Attn.: Janine Lj Durham
      Attn.: Janine Lj Durham                  Phone: (602)315-0481                          Trade Debt                                                     $1,023,481.00
      2512 Dunlap Avenue                       Email: janine.durham@cognizant.com
      Phoenix, Arizona 32905




Official Form 204                             List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                 Page 1




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                                                                    ELECTRONICALLY
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                                                                                                                                             CLERK OF COURT




Name of creditor and complete mailing          Name, telephone number, and email            Nature of the      Indicate if Amount of unsecured claim
address, including zip code                    address of creditor contact                     claim            claim Is If the claim Is fully unsecured, fill In only
                                                                                            (for example,     contingent, unsecured claim amount. If claim Is partially
                                                                                             trade debts,    unliquldated, ! secured, fill in total claim amount and
                                                                                              bank loans,     or disputed deduction for value of collateral or setoff to
                                                                                             professional                    : calculate unsecured claim.
                                                                                            services, and
                                                                                             government
                                                                                               contracts)
                                                                                                                                 Total         Deduction       Unsecured
                                                                                                                                claim, if     for value of       claim
                                                                                                                                partially     collateral or
                                                                                                                                secured          setoff
      Corelogic Information Solutions          Attn.: Tom Blauvelt
      Attn.: Tom Blauvelt                      Phone: (512)977-3716
                                                                                             Trade Debt                                                       $800,585.00
      4 First American Way                     Email: tblauvelt@coreloglc.com
      Santa Ana, California 92707
      Black Knight Financial Services          Attn.: Darlene Ledet
      Attn.: Darlene Ledet                     Phone: (904)854-3153
                                                                                             Trade Debt                                                       $586,915.00
      601 Riverside Avenue                     Email: darlene.ledet@bkfs.com
      Jacksonville, Florida 32204
10    Verizon Business                         Attn.: Lona Gruebele
      Attn.: Lona Gruebele                     Phone: (612)805-1034
                                                                                             Trade Debt                                                       $555,663.00
      22001 Loudoun County Pkwy                Email: iona.j.gruebele@verizon.com
      Ashburn, Virgina 20147
11    Nationwide Title Clearing Inc.           Attn.: Debbie Lastoria
      Attn.: Debbie Lastoria                   Phone: (727)771-4000
                                                                                             Trade Debt                                                       $554,418.00
      2100 Alt 19 North                        Email: debbie lastoria@nvrtc.com
      Palm Harbor, Florida 34683
12    NCP Solutions LLC                        Attn.; Tom Hart
      Attn.: Tom Hart                          Phone: (205)421-7254
                                                                                             Trade Debt                                                       $492,500.00
      5200 East Lake Boulevard                 Email: thart@ncpsolutions.com
      Birmingham, Alabama 35217
13    Pegasystems Inc.                         Attn.: Kirk Faustman
      Attn.: Kirk Faustman                     Phone: (617)777-3229
                                                                                             Trade Debt                                                       $480,180.00 i
      One Rogers Street                        Email: klrk.faustman@>pega.com
      Cambridge, Massachusetts 02142
14    Padgett Law Group                        Attn.: Timothy D. Padgett
      Attn.: Timothy D. Padgett                Phone: (850)422-2520                          Professional
                                                                                                                                                              $471,337.00 |
      6267 Old Water Oak Road, Suite 203       Email: accounting@padgettlaw.net                Services
      Tallahassee, Florida 32312
15    McCalla Raymer Leibert Pierce LLC        Attn.; Michael Allgood
      Attn.: Michael Allgood                   Phone: (770)643-7202
                                                                                             Trade Debt                                                       $462,992.00 |
      1544 Old Alabama Road                    Email: michael.allgood@mccalla.com
      Roswell, Georgia 30076
16    RAS Crane LLC                            Attn.: John Crane
      Attn.: John Crane                        Phone: (972)757-1486                          Professional
                                                                                                                                                              $446,268.00
      10700 Abbott's Bridge Road; Suite 170    Email: jcrane@rascrane.com                      Services
      Duluth, Georgia 30097
17    Locke Lord LLP                           Attn.: Lori Barton
      Attn.: Lori Barton                       Phone: (214)740-8000                          Professional
                                                                                                                                                              $443,666.00
      2200 Ross Avenue, Suite 2800             Email: lori.barton@lockelord.com                Services
      Dallas, Texas 75201
18    EllieMaelnc.                             Attn.: John Coppa
      Attn.; John Coppa                        Phone: (925)227-2060
                                                                                             Trade Debt                                                       $347,728.00 |
      4420 Rosewood Drive, Suite 500           Email: john.coppa@)elliemae.com
      Pleasanton, CA 94588
19    Quattro Direct LLC                       Attn.: Dan Lawler
      Attn.: Dan Lawler                        Phone: (610)993-0070
                                                                                             Trade Debt                                                       $342,006.00
      200 Berwyn Park, Suite 310               Email: dlawler@quattrodirect.com
      Berwyn, Pennsylvania 19312
20    KML Law Group PC                         Attn.: Lisa Lee
      Attn.: Usa Lee                           Phone: (215)627-1322                          Professional
                                                                                                                                                              $332,535.00
      701 Market Street, Suite 5000            Email: Uee@kmllawgroup.com                      Services
      Philadelphia, Pennsylvania 19106
21    Phelan Hallinan IIP                      Attn.; Jay Jones
      Attn.: Jay Jones                         Phone: (215)563-7000                          Professional
                                                                                                                                                              $305,245.00
      1617 JFK Blvd., Suite 1400               Email: jay.jones@phelanhallinan.com             Services
      Philadelphia, Pennsylvania 19103-1814




Official Form 204                             List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                 Page 2




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Name of creditor and complete mailing                Name, telephone number, and email            Nature of the      Indicate If ', Amount of unsecured claim
address, including zip code                          address of creditor contact                       claim          claim is : If the claim is fully unsecured, fill In only
                                                                                                  (for example,     contingent, unsecured claim amount. If claim is partially
                                                                                                   trade debts,    unliquldated, : secured, fill In total claim amount and
                                                                                                    bank loans,     ordlsputed deductionforvalueofcollateralorsetoffto
                                                                                                   professional                       calculate unsecured claim.
                                                                                                  services, and
                                                                                                   government
                                                                                                     contracts)
                                                                                                                                        Total      Deduction        Unsecured
                                                                                                                                      claim. If   for value of        claim
                                                                                                                                      partially   collateral or
                                                                                                                                      secured        setoff
22    Insight Direct/ Datalink                       Attn.: Michael Schmidt
      Attn.: Michael Schmidt                         Phone: (651)260-4017
                                                                                                   Trade Debt                                                     $300,279.00
      6820 South Harl Avenue                         Email: Michael.schmidt@insight.com
      Tempe, Arizona 85283
23    TCS America                                    Attn.: Prashant Panghal
      Attn.: Prashant Panghal                        Phone: (732)986-6921
                                                                                                   Trade Debt                                                     $297,383.00
      379 Thornall Street                            Email: prashantl.p@tcs.com
      Edison, New Jersey 08837
24    Robertson Anschutz & Schneid PL                Attn.: Eric L. Bronfeld
      Attn.: Eric L. Bronfeld                        Phone: (561) 241-6901                         Professional
                                                                                                                                                                  $290,502.00
      6409 Congress Avenue, Suite 100                Email: arcollections@rasflaw.com                Services
      Boca Raton, Florida 33487
25    American Bankers Insurance                     Attn.: Michelle Griffith
      Attn.: Michelle Griffith                       Phone: (305)253-2244
                                                                                                   Trade Debt                                                     $28S,213.00
      11222 Ouail Roost Drive                        Email: michelle.griffith@assurant.com
      Miami, Florida 33157
26    Indecomm Holdings Inc.                         Attn.: Teddl Horan
      Attn.: Teddi Horan                             Phone: (215)962-7212
      205 Regency Executive Park Drive, Suite        Email: teddi.horan@indecomm.net               Trade Debt                                                     $284,830.00
      500
      Charlotte, North Carolina 28217
27    Wells Fargo Bank N.A                           Attn.: Holly Monday
      Attn.: Holly Monday                            Phone: (703)865-7740
                                                                                                   Trade Debt                                                     $271,624.00
      420 Montgomery Street                          Email: holly.monday@wellsfargo.com
      San Francisco, California 94104
28    Newcourse Communications Inc.                  Attn.: Valerie Griffin
      Attn.: Valerie Griffin                         Phone: (615)921-6656
                                                                                                   Trade Debt                                                     $270,000.00
      5010 Linbar Dr., Ste. 100                      Email: valerie.grlffin@newcoursecc.com
      Nashville, Tennessee 37211
29    Xome Valuation Services                        Attn.: Alien lllgen
      Attn.: Alien lllgen                            Phone: (612)207-4012
                                                                                                   Trade Debt                                                     $249,474.00
      444 East Washington Street                     Email: allen.illgen@assurant.com
      Indianapolis, Indiana 46204
30    Rean Cloud LLC                                 Attn.: Rupa Vaslreddy
      Attn.; Rupa Vasireddy                          Phone: (844)377-7326
                                                                                                   Trade Debt                                                     $240,667.00
      2201 Cooperative Way ff250                     Email: rupa@reandoud.com
      Herndon, Virginia 20171
31    US Real Estate Services Inc.                   Attn.: Becca Nottberg
      Attn.: Becca Nottberg                          Phone: (949) 206-5353
      25520 Commerce Centre Drive;                   Email: becca.nottberg@res.net                 Trade Debt                                                     $233,284.00
      1st Floor
      Lake Forest, California 92630
32    Operational Excellence                    I Attn.: TonyGalluzzo
      Attn.; TonyGalluzzo                       I Phone: (949)988-7229
                                                                                                   Trade Debt                                                     $231,378.00
      19712 MacArthur Blvd., Suite 110          I Email: tgalluzzo@ca-usa.com
      Irvine, California 92612                  I

33    US Bank Trust NA                          I Attn.: KlrkLarson
      Ati: KirkLarson                           ] Phone: (651)466-5666
                                                                                                   Trade Debt                                                     $230,809.00
      300 East Delaware; 8th Floor              I Email: kirk.larsonl@usbank.com
                                                I
      Wilmington, Delaware 19809
34    Wolfe & Wyman LLP                           Attn.: Stuart B.Wolfe
      Attn.; Stuart B. Wolfe                    i Phone: (602)953-0100                             Professional
                                                                                                                                                                  $228,398.00
      11811 N.Tatum, Suite 3031                 I Email: sbwolfe@wolfewyman.com                      Services
      Phoenix, Arizona 85028-1621




Official Form 204                                   List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                Pages




     EXHIBIT A
   Case 2:19-cv-02215-SHL-dkv Document 1-2 Filed 04/05/19 Page 88 of 126                                                                     PageID 94




 Name of creditor and complete mailing          Name, telephone number, and email            Nature of the      Indicate if : Amount of unsecured claim
 address, including iip code                    address of creditor contact                       claim          claim Is ' If the claim is fully unsecured, fill In only
                                                                                             (for example,     contingent, unsecured claim amount. If claim Is partially
                                                                                             trade debts,     unllquldated, | secured, fill in total claim amount and
                                                                                              bank loans,      or disputed : deduction for value of collateral or setoff to
                                                                                              professional                       calculate unsecured claim.
                                                                                             services, and
                                                                                             government
                                                                                               contracts)
                                                                                                                                  Total       Deduction I Unsecured j
                                                                                                                                 claim, if   for value of claim
                                                                                                                                 partially   collateral or
                                                                                                                                 secured        setoff
                                                                                                                                                           j
 35    Five Brothers Mortgage Servs             Attn.: Dawn Whlteaker
       Attn.: Dawn Whiteaker                    Phone: (586) 354-2017
                                                                                              Trade Debt                                                       $224,947.00 |
       12220 E. 13 Mile Road; Suite 100         Email: dawnrw@fiveonline.com
       Warren, Missouri 48093
 36    Servlcelink Default Title & Closing      Attn.: Joe Greve
       Attn.; Joe Greve                         Phone; (216) 374-1888
                                                                                              Trade Debt                                                       $218,298.00
       1355 Cherrington Parkway                 Email: joe.greve@svdnk.com
       Moon Township, Pennsylvania 15108
I 37   Level 3 Communications LLC               Attn.: Timothy McGraw
       Attn.; Timothy McGraw                    Phone: (612)392-7364
                                                                                              Trade Debt                                                       $209,330.00 |
       600 W. Chicago Avnue, Suite 325          Email: timothy.mcgraw@level3.com
       Chicago, Illinois 60654
j 38   Xome Field Services LLC                  Attn.: Alien lllgen
       Attn.: Alien lllgen                      Phone: (612) 207-4012
                                                                                              Trade Debt                                                      $206,077.00 |
       444 East Washington Street               Email: allen.lllgen@>assurant.com
       Indianapolis, Indiana 46204
 39    RAS Boriskin LLC                         Attn.: Sara Boriskin
       Attn.: Sara Borskin                      Phone: (516)280-7675
                                                                                              Trade Debt                                                      $202,336.00
       900 Merchants Concourse                  Email: sboriskin@rasborlskin.com
       Westbury, New York 11590
1 40   ISGN Corporation                         Attn.: E. Rock Primas
       Attn.: E. Rock Primas                    Phone: (609)932-4712
                                                                                              Trade Debt                                                       $200,850.00
       2330 Commerce Park Drive, NE, Suite 2    Email: rock.primas@isgnsolutions.com
       Palm Bay, Florida 32905




 Official Form 204                             List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                 Page 4




       EXHIBIT A
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  Fill in this information to identify the case:

  Debtor name: Ditech Financial LLC
  United States Bankruptcy Court for the: Southern District of New York
                                                                    (State)
  Case number (If known):




  Official Form 202
   Declaration Under Penalty of Perjury for Non-lndividual Debtors                                                                12/15

  An individual who is authorized to act on behalf of a non-indlvidual debtor, such as a corporation or partnership, must sign and
  submit this form for the schedules of assets and liabilities, any other document that requires a declaration that Is not included In the
  document, and any amendments of those documents. This form must state the individual's position or relationship to the debtor,
  the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

  WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result In fines up to $500,000 or Imprisonment for up to 20 years, or both. 18 U.S.C.
 §§152,1341,1519, and 3571.


              Declaration and signature




     I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
     partnership; or another individual serving as a representative of the debtor in this case.
     I have examined the information in the documents checked below and I have a reasonable belief that the information is
     true and correct:

     D Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
     D Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     D Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     D Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
     D Schedule H: Codebtors (Official Form 206H)
     D Summary of Assets and Liabilities for Non-lndividuals (Official Form 206Sum)
     D Amended Schedule
     0 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders
           (Official Form 204)
     D Other document that requires a declaration

     I declare under penalty of perjury that the foregoing is true and correct.


                                                   x    /s/ Kimberlv Perez
     Executed on February 11, 2019
                                                         Signature of individual signing on behalf of debtor
                      MM /DD/YYYY
                                                         Kimberlv Perez
                                                         Printed name

                                                          Senior Vice President and Chief Accounting Officer
                                                        Position or relationship to debtor




 Official Form 202                         Declaration Under Penalty of Perjury for Non-lndividual Debtors




 EXHIBIT A
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  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK

  In re
                                                                       Chapter 11

  DITECH FINANCIAL LLC,                                                Case No. 19-                   .( )

                             Debtor.



                                            LIST OF EQUITY HOLDERS1

                        Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the

      following identifies all holders having a direct or indirect ownership interest of the above-

      captioned debtor in possession (the "Debtor").



          Name and Last Known Address or Place
                                                                     Number of Securities/Kind of Interest
                  of Business of Holder

          Walter Management Holding Company LLC
                        1100 Virginia Drive
                                                                                    100% (Equity)
                            Suite 100A
                   Fort Washington, PA 19034




  ' This list serves as the required disclosure by the Debtor pursuant to Rule 1007 of the Federal Rules of Bankruptcy
  Procedure. All equity positions listed are as of the date of commencement of the chapter 11 case.




 EXHIBIT A
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  Fill in this information to identify the case;

  Debtor name: Ditech Financial LLC
  United States Bankruptcy Court for the: Southi       District of New Yorl
                                                                    (State)
  Case number (If known):




  Official Form 202
   Declaration Under Penalty of Perjury for Non-lndividual Debtors                                                                12/15

  An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
  submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not Included In the
  document, and any amendments of those documents. This form must state the Individual's position or relationship to the debtor,
  the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

  WARNING - Bankruptcy fraud Is a serious crime. Making a false statement, concealing property, or obtaining money or property by
 fraud In connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
 §§152,1341,1519, and 3571.


              Declaration and signature




     I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
     partnership; or another individual serving as a representative of the debtor in this case.
     I have examined the information in the documents checked below and I have a reasonable belief that the information is
     true and correct:

      D Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
     D Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     D Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

      D Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
     D Schedule H: Codebtors (Official Form 206H)
     D Summary of Assets and Liabilities for Non-lndividuals (Official Form 206Sum)
     D Amended Schedule
     D Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders
          (Official Form 204)
     0 Other document that requires a declaration List of Equity Holders

     I declare under penalty of perjury that the foregoing is true and correct.


      Executed on February 11, 2019                     /s/ Kimberlv Perez
                      MM / DD /YYYY                     Signature of individual signing on behalf of debtor

                                                          Kimberlv Perez
                                                         Printed name

                                                          Senior Vice President and Chief Accounting Officer
                                                        Position or relationship to debtor




 Official Form 202                         Declaration Under Penalty of Perjury for Non-lndlvidual Debtors




 EXHIBIT A
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     UNITED STATES BANKRUPTCY COURT
     SOUTHERN DISTMCT OF NEW YORK


     In re                                                      Chapter 11

     DITECH FINANCIAL LLC,                                      Case No. 19-[_] (_)

                    Debtor.


     Fed. Tax Id. No. XX-XXXXXXX



                            CONSOLIDATED CORPORATE OWNERSHIP
                STATEMENT PURSUANT TO FED. R. BANKR. P. 1007 AND 7007.1

                    Pursuant to Rules 1007(a)(l) and 7007.1 of the Federal Rules of Bankruptcy

     Procedure and Rule 1007-3 of the Local Bankruptcy Rules for the Southern District of New York,

     Ditech Holding Corporation (ffk/a Walter Investment Management Corp.) ("Ditech") and its

     debtor affiliates, as debtors and debtors in possession in the above captioned chapter 11 cases

     (collectively, the "Debtors"), respectfully represent:

                    1. To the best of the Debtors' knowledge and belief, as of the date hereof (the

    "Commencement Date"), based solely on publicly available information, no entity du-ectly or

     indu'ectly owns 10% or more ofDitech's common stock.


                    2. To the best of the Debtors' knowledge and belief, as of the Commencement

    Date, based solely on publicly available information, Lion Point Master, LP owns approximately

    38.1% of the convertible preferred shares of Ditech, First Pacific Advisors LLC owns

    approximately 11.1% of the convertible preferred shares ofDitech, and no other entity directly or

    indirectly owns 10% or more ofDitech's convertible preferred shares.

                    3. Ditech has a one hundred percent (100%) ownership interest in the

    following entities:

                          i. Walter Reverse Acquisition LLC




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                            ii. Green Tree Credit Solutions LLC

                           iii. Marix Servicing LLC

                           iv. Mid-State Capital, LLC1

                            v. Hanover SPC-A, Inc.*


                           vi. WIMC Real Estate Investment LLC*

                     4. Walter Reverse Acquisition LLC has a one hundred percent (100%)

    ownership interest in Reverse Mortgage Solutions, Inc.

                     5. Reverse Mortgage Solutions, Inc. has a one hundred percent (100%)

    ownership interest in the following entities:

                             i. Mortgage Asset Systems, LLC

                            ii. REO Management Solutions, LLC

                           iii. RMS REO BRC, LLC*

                           iv. RMS REO CS, LLC*

                            v. RMS REO BRC II, LLC*

                           vi. RMS 2018-09, LLC*

                     6. Green Tree Credit Solutions LLC has a one hundred percent (100%)

    ownership interest in the following entities:

                             i. Green Tree Insurance Agency of Nevada, Inc.


                            ii. Walter Management Holding Company LLC

                           iii. DF Insurance Agency LLC

                           iv. Green Tree Investment Holdings III LLC

                     7. Walter Management Holding Company LLC has a one hundred percent



     Mid-State Capital, LLC and each other entity noted with a (*) are not debtors in these chapter 11 cases.




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     (100%) ownership interest in the following entities:

                           i. Green Tree Credit LLC

                           ii. Green Tree Servicing Corp.


                          iii. Ditech Financial LLC

                     8. Ditech Financial LLC has a one hundred percent (100%) ownership interest

     in the following entities:

                         i. Green Tree Advance Receivables IIILLC*

                        ii. Ditech Agency Advance Depositor LLC*

                        iii. Ditech PLS Advance Depositor LLC*

                     9. Attached hereto as Exhibit A is an organizational chart reflecting all of the

     ownership interests of the Debtors and their non-Debtor affiliates as of the Commencement Date.




  EXHIBIT A
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                                      Exhibit A

                                 Organizational Chart




  EXHIBIT A
                         Case 2:19-cv-02215-SHL-dkv Document 1-2 Filed 04/05/19 Page 96 of 126                                                                      PageID 102




                                                                                           Ditech Holding
                                                                                            Corporation




                                Walter Reverse                                                                  Green Tree Credit                                                       WIMC Real Estate
Mid-State Capital, LLC                                                HanoverSPC-A, Inc.                                                                MarixServicingU.C
                                Acquisition LLC                                                                   Solutions LLC                                                           InvestmentLLC




                               Reverse Mortgage                                    Green Tree Insurance                  Walter Management                    DFInsurance   Green Tree Investment
                                Solutions, Inc.                                    Agency of Nevada, Inc.                Holding Company LLC                  Agency LLC         Holdings III LLC



                                                   Mortgage Asset
                                                                                             GreenTree Credit LLC
                                                    Systems, LLC




                                                  REO Management                              Green Tree Servicing
                                                   Solutions, LLC                                     Corp.


                                                                                              (non-economic member of
                                                                                                 Ditech Financial LIC)

                                                  RMS REO BRC, ULC
                                                                                                                           Ditech Financial
                                                                                                                                 LLC


                                                   RMSREOCS,LLC
                                                                                              Green Tree Advance
                                                                                               Receivables III LLC



                                                                                                                                        Ditech Agency Advance
                                                  RMSREOBRCII,LIC
                                                                                                                                             Depos'rtorLLC




                                                                                                                                          DitechPLS Advance
                                                   RMS 2018-09, U.C
                                                                                                                                              Depositor U.C




   EXHIBIT A
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      Fill in this Information to identify the case:

      Debtor name: Ditech Financial LLC
      United States Bankruptcy Court for the:      ithern   District of Ne\         3Tk
                                                                         (Stat(i)
      Case number (If known):




     Official Form 202
        Declaration Under Penalty of Perjury for Non-lndividual Debtors                                                     12/15

     An Individual who is authorized to act on behalf of a non-indivldual debtor, such as a corporation or partnership, must
     sign and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that Is
     not included in the document, and any amendments of those documents. This form must state the Individual's position or
     relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

     WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
     property by fraud in connection with a bankruptcy case can result In fines up to $500,000 or imprisonment for up to 20
     years, or both. 18 U.S.C. §§ 152,1341,1519, and 3571.



                   Declaration and signature




         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of
        the partnership; or another individual serving as a representative of the debtor in this case.
        I have examined the information in the documents checked below and I have a reasonable belief that the
        information is true and correct:
         D Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
         D Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         D Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         D Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         D Schedule H: Codebtors (Official Form 206H)
         D Summary of Assets and Liabilities for Non-lndividuals (Official Form 206Sum)
         D Amended Schedule
         D Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not
              Insiders (Official Form 204)

         0 Other document that requires a declaration Consolidated Corporate Ownership Statement

        I declare under penalty of perjury that the foregoing is true and correct.


                                                             /s/ Kimberlv Perez
          Executed on February 11, 2019
                                                             Signature of individual signing on behalf of debtor
                       MM /DD /YYYY
                                                               Kimberlv Perez
                                                             Printed name

                                                               Senior Vice President and Chief Accounting Officer
                                                             Position or relationship to debtor




      Official Form 202                 Declaration Under Penalty of Perjury for Non-lndividual Debtors




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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTMCT OF NEW YORK


    In re                                                                  Chapter 11

    DITECH HOLDING CORPORATION, et al.,                                    Case No. 19-10412 (JLG)

                        Debtors.                                           (Jointly Administered)
                                                                           Related Docket No. 9, 55, 187




                        FINAL ORDER (I) AUTHOMZING
                     DEBTORS TO CONTINUE OMGINATION
         AND SERVICING OF FORWARD MORTGAGE LOANS IN ORDINARY
    COURSE AND GRANTING RELATED RELIEF AND (II) MODIFYING AUTOMATIC
    STAY ON A LIMITED BASIS TO FACILITATE DEBTORS' ONGOING OPERATIONS

                        Upon the motion dated February 11, 2019 (the "Motion")2 of Ditech Holding

    Corporation and its debtor affiliates, as debtors and debtors in possession in the above-captioned

    chapter 11 cases (collectively, the "Debtors" and, together with their non-debtor affiliates,

    the "Company"), pursuant to sections 105(a), 362, 363(c), 1107(a), and 1108 of the Bankruptcy

    Code and Bankruptcy Rules 4001, 6003, and 6004, the Debtors request authority, but not

    direction, to continue in the ordinary course of business (a) to originate and purchase mortgage

    loans; (b)to sell and securitize loans, including by performing under certain agreements with

    Fannie Mae, Freddie Mac, Ginnie Mae, and private parties; (c) to service and subservice loans

    pursuant to terms and conditions set forth in certain agreements with Fannie Mae, Freddie Mac,



    ' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
         number, as applicable, are Ditech Holding Corporation (0486); DP Insurance Agency LLC (6918); Ditech
         Financial LLC (5868); Green Tree Credit LLC (5864); Green Tree Credit Solutions LLC (1565); Green Tree
         Insurance Agency of Nevada, Inc. (7331); Green Tree Investment Holdings III LLC (1008); Green Tree
         Servicing Corp. (3552); Marix Servicing LLC (6101); Mortgage Asset Systems, LLC (8148); REO
         Management Solutions, LLC (7787); Reverse Mortgage Solutions, Inc. (2274); Walter Management Holding
         Company LLC (9818); and Walter Reverse Acquisition LLC (8837). The Debtors' principal offices are
         located at 1100 Virginia Drive, Suite 100, Fort Washington, Pennsylvania 19034.

    2 Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such
         terms in the Motion. As used herein, the term "mortgage" and similar formulations include both mortgages
          and deeds of trust.



                                                                                                         EXHIBIT
    WEIL:\96961917\1\41703.0010

  EXHIBIT A
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                                                   Pg 2 of 29



     Ginnie Mae, other applicable federal agencies, and private parties; (d) to make servicing

     advances; (e) to pay prepetition amounts owed to critical vendors; (f) to fulfill compliance and

     regulatory obligations; and (g) to provide assurances of future performance to Fannie Mae,

     Freddie Mac, and Ginnie Mae, all as more fully set forth in the Motion; and the Court having

    jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157

     and 1334, and the Amended Standing Order of Reference M-431, dated January 31, 2012

     (Preska, C.J.); and consideration of the Motion and the requested relief being a core proceeding

     pursuant to 28 U.S.C. § 157(b); and venue being proper before the Court pursuant to 28 U.S.C.

     §§ 1408 and 1409; and due and proper notice of the Motion and Final Hearing (defined below)

     having been provided to the Notice Parties as set forth in the affidavit of service filed with

     respect thereto [ECF No. 45]; and such notice having been adequate and appropriate under the

     circumstances, and it appearing that no other or further notice need be provided; and the Court

    having reviewed the Motion; and the Court having held a hearing to consider the relief requested

     in the Motion on an interim basis on February 13, 2019 (the "Interim Hearing"); and the Court

    having entered an order granting the relief requested in the Motion on an interim basis [ECF

    No. 55] and scheduling a final hearing on the Motion for March 14, 2019 (the "Final Hearing");

    and, if necessary, the Final Hearing having been held to consider the relief requested in the

    Motion on a final basis; and upon the Lombardo Declaration, filed contemporaneously with the

    Motion, and the record of the Interim Hearing and the Final Hearing; and the Court having

     determined that the legal and factual bases set forth in the Motion establish just cause for the

    relief granted herein; and it appearing that the relief requested in the Motion is in the best

     interests of the Debtors, their estates, creditors, and all parties in interest; and upon all of the




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                                                                          CLERK OF COURT
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     proceedings had before the Court and after due deliberation and sufficient cause appearing

     therefor,


                         IT IS HEREBY ORDERED THAT:

                         1. The Motion is granted on a final basis to the extent set forth herein.

                                       Forward Mortgage Origination Business

                         2. The Debtors are authorized but not directed, to continue in the ordinary

     course of business:


                                   (a) to fund their origination and purchase of mortgage loans and to pay
                                           related obligations, regardless of whether such obligations arose
                                          prepetitlon or postpetition;

                                   (b) (i) to honor and perform under the GSE Sales Agreements, (ii) to
                                            pay the GSE Guaranty Fees, (iii)to honor and pay the GSE
                                            Repurchase Obligations, and (iv)to perform other activities and
                                            pay fees related to mortgage loan origination, including paying all
                                            obligations related to loans originated prepetition;

                                   (c) (i) to honor and perform under the Ginnie Mae Agreements, (ii) to
                                            honor and pay the Ginnie Mae Buyout Obligations, (iii) to pay the
                                            Ginnie Mae Fees, and (iv) to pay the Ginnie Mae Administrative
                                            Fees, including, in each instance, all obligations related to loans
                                            originated prepetition; and

                                   (d) (i) to sell mortgage loans to private investors and (ii) to enter into,
                                            and perform under, MLPAs, including, to pay all obligations
                                            related to loans originated prepetition.

                                        Forward IVIortease Servicing Business

                         3. The Debtors are authorized but not directed, to continue in the ordinary

     course of business:


                                   (a) to service and subservice GSE Loans in the ordinary course,
                                           including by continuing to perform under the GSE Servicing
                                          Agreements and by continuing to honor and pay the GSE
                                          Repurchase Obligations and all prepetition amounts arising under
                                          the GSE Servicing Agreements;




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  EXHIBIT A
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                                  (b) to service Ginnie Securitized Loans in the ordinary course,
                                         including by continuing to perform under the Ginnie Mae
                                         Agreements and the applicable Government Loan Servicing
                                         Guidelines;

                                  (c) to service and subservice Private Loans in the ordinary course,
                                          including by continuing to perform under the Private Servicing
                                         Agreements;

                                  (d) (i) to sell MSRs and related reimbursement rights for Servicer
                                          Advances and (ii) the NRM Servicing Transition;

                                  (e) to service and subservice loans;

                                  (f) to make Servicer Advances, whether arising from prepetition or
                                          postpetition obligations, in accordance with the Agency Servicing
                                          Agreements and Private Servicing Agreements, as applicable;

                                  (g) (i) to modify loans and to participate in loan modification
                                          programs, (ii) make and/or accept Loss Mitigation Payments,
                                          which payments, for the avoidance of doubt, may include
                                         payments or other concessions to or from borrowers, lienholders,
                                         mortgagors, the heirs, estates, and other successors in interest of
                                         the foregoing, tenants, title companies, title insurers, purchasers
                                         from a tax sale or a foreclosure sale, or other parties with a claimed
                                         interest in the subject property or loan (each, an "Interested
                                         Party") with respect to foreclosures, evictions. Title Disputes (as
                                         defined below), collection actions, insurance disputes, replevins,
                                         and similar servicing related actions, and (iii) to enter into, and
                                         perform under existing. Deferment and Forbearance Arrangements,
                                         which agreements, for the avoidance of doubt, may include
                                         agreements with Interested Parties to compromise or settle claims
                                         related to loans owned, serviced or subserviced by the Debtors, and
                                         including honoring all obligations related thereto that accrued in
                                         whole or part prior to the Commencement Date;

                                  (h) to engage in nonperforming loan servicing activities with respect
                                          to Agency Loans, including (i) to conduct foreclosures, short sales,
                                         deeds in lieu of foreclosure, evictions, and similar actions,
                                         including to honor and to enter into settlements and other
                                         arrangements related thereto, including on behalf of investors in
                                         accordance with the Debtors' existing servicing and subservicing
                                         obligations, (ii)to pay any T&I Advances and Corporate
                                         Advances, including any prepetition amounts owed, with respect to
                                         (A) GSE Loans in accordance with the applicable GSE Servicing
                                         Agreements and (B) Ginnie Securitized Loans until such loans are
                                         conveyed to the FHA or transferred into the custody of the VA, in




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                                         each case as required pursuant to the applicable Government Loan
                                         Servicing Guidelines, (iii) to pay any P&I Advances, including any
                                         prepetition amounts owed, with respect to Ginnie Securitized
                                         Loans until such loans are conveyed to the FHA or transferred into
                                         the custody of the VA, in each case as required pursuant to the
                                         Ginnie Mae Agreements and the applicable Government Loan
                                         Servicing Guidelines, (iv) to distribute net sale proceeds to the
                                         appropriate parties in accordance with the applicable Agency
                                         Servicing Agreements, and (v) as necessary, to transfer or assign
                                         deeds to Agency REOs to the applicable owner of the Agency
                                         REO; and

                                  (i) to engage in nonperforming loan servicing activities with respect
                                          to Private Loans, including to (i) pay any Servicer Advances-
                                          including any prepetition amounts owed—with respect to Private
                                          REOs and Private Loans in foreclosure, (ii) sell Private REOs,
                                          whether owned by the Debtors or on behalf of third parties in the
                                         Debtors' capacity as servicer or subservicer, on an "as is where is"
                                         basis and without any representation and warranties except for
                                         title, in their discretion and subject to their business judgment, and
                                         free and clear of any and all liens and encumbrances either
                                         pursuant to (A) section 3 63 (f) of the Bankruptcy Code, to the
                                         extent that the Private REO is owned by the Debtors, or
                                         (B) applicable non-bankruptcy law, to the extent the Private REO
                                         is owned by third parties; provided that, should any lien, claim, or
                                         encumbrance exist on such Private REOs, such liens, claims, or
                                         encumbrances shall attach to the proceeds from the sales thereof,
                                         (iii) remit (A) overpayments to purchasers and (B) net sale
                                         proceeds to the appropriate parties, and (iv) conduct foreclosures,
                                         short sales, deeds in lieu of foreclosure, evictions, and similar
                                         actions, including to honor and to enter into settlements and other
                                         arrangements related thereto, including on behalf of investors in
                                         accordance with the Debtors' existing servicing and subservicing
                                         obligations, each of (i) through (iv) in accordance with the relevant
                                         Private Servicing Agreements.

                        4. As to mortgage loans not owned by Ditech, principal, interest, and funds

     for the payment of property taxes and insurance premiums collected by Ditech in connection

     with its performance of its Servicing Functions do not constitute property of the Debtors' estates

     under section 541 of the Bankruptcy Code, and no lien or other interest therein will be given by

     the Debtors to any party.




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         Additional Relief Related to Forward IVIortgaee Orieination and Servicine Businesses

                         5. The Debtors are authorized but not directed, to continue in the ordinary

     course of business (a) to fulfill state licensing requirements and to pay related obligations, (b) to

     submit to, and comply with, state and federal regulatory exams and audits and to pay related

     obligations, costs, and expenses, and (c) to remediate errors and/or lack of compliance with laws

     or regulations, including by continuing (i) to make payments to borrowers (e.g., in the form of

     reimbursements, refunds, and/or out-of-pocket expenses), (ii) to forgive past due amounts and/or


     assessed but unpaid fees or other charges, (iii) to pay fees, fines, and/or penalties, either directly

     to the applicable authority or through a Critical Vendor, (iv) to incur and pay certain expenses,

     (v) to pay the costs and expenses of state and federal regulatory examinations, (vi) to take such

     other measures as may be required by, or agreed to with, state and federal regulators, and (vii) to

     perform any other adjustments to borrowers' accounts as part of the Debtors' compliance


     obligations.

                         6. If, after the Commencement Date, a Specified Servicing Default (as defined


     below) under any Specified Agreement (as defined below) has occurred, then the Specified

     Counterparty (as defined below) under such Specified Agreement may, in accordance with the terms


     of such Specified Agreement and notwithstanding the automatic stay, issue a written notice declaring


     that such Specified Servicing Default has occurred and is continuing (a "Specified Servicing Default

     Notice"), to the Debtors and their counsel, the DIP Agent and its counsel, the U.S. Trustee, counsel


     to the official committee ofunsecured creditors appointed in these chapter 11 cases (the "Creditors'


     Committee"), and counsel to the Consenting Term Lenders (collectively, the "Specified Servicing


     Default Notice Parties"). To be effective hereunder, any Specified Servicing Default Notice shall


     (i) specify that it is a "Specified Servicing Default Notice", (ii) identify and attach copies of the

     relevant Specified Agreement(s), and (iii) otherwise comply with the requirements for such notice




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     under the applicable Specified Agreement. If a Specified Servicing Default Notice has been

     delivered in accordance with this paragraph and the alleged Specified Servicing Default is not cured

     within the longer of (x) three (3) business days of the Specified Servicing Default Notice Parties'

     receipt of such Specified Servicing Default Notice and (y) the applicable cure, grace, or notice period

     set forth in the Specified Agreement, then, upon the running of such cure, grace or notice period, the


     Specified Counterparty may move for relief from the automatic stay in connection with such


     Specified Servicing Default, which such motion may be heard by this Court on an expedited basis

     (but in any event, no earlier than five (5) days after such motion is filed with this Court and served on

     the Specified Servicing Default Notice Parties) (a "Lift Stay Motion"). At any hearing on any Lift

     Stay Motion, the applicable standards and burdens of proof and persuasion for relief from the

     automatic stay shall apply. Notwithstanding the automatic stay, solely to the extent necessary to


     effectuate its rights pursuant to this paragraph, and subject to the express terms of the applicable

     Specified Agreement, a Specified Counterparty may give notice to a Debtor in its servicing or


     servicing-related role pursuant to a Specified Agreement of the occurrence of any event, condition or


     default that, with the giving of notice, the passage of time, or both, would become a Specified


     Servicing Default. For purposes of this paragraph:


                                   (a) "Specified Agreement" means any Private Servicing Agreement,
                                          pooling and servicing agreement, or similar servicing agreement, in
                                          any such case, (x) permitting the securitization trustee, indenture
                                          trustee, or similar trustee party to such agreement (an "MBS
                                          Trustee") a right to terminate servicing for the Private Loans placed
                                          in the securitization trust subject to such agreement and (y) under
                                          which a Debtor is performing a servicing or servicing-related role
                                          postpetition in accordance with the relief granted in this Order with
                                          respect to Private Loans that have been securitized;


                                   (b) "Specified Counterparty" means the MB S Trustee party to such
                                          Specified Agreement; and

                                   (c) "Specified Servicing Default" means a failure by any Debtor to
                                          timely (i) make a Servicer Advance, or (ii) remit or make deposits of
                                          assets, in any such case of clause (i) or (ii), required to be made or
                                          remitted by such Debtor, in its servicing or servicing-related role,




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                                     pursuant to any Specified Agreement, which failure has continued
                                     beyond any applicable cure, grace or notice period set forth in such
                                     Specified Agreement and as a result of which the Specified
                                     Counterparty under such Specified Agreement would otherwise have
                                     the current right (but for the effect of the automatic stay and the
                                     provisions of this paragraph) to terminate the applicable Debtor from
                                     such servicing or servicing related role pursuant to the terms of such
                                     Specified Agreement.


                        7. For the avoidance of doubt, nothing herein nor the performance of the

     Debtors hereunder shall convert a prepetition debt to a postpetition administrative expense claim.

                                               Critical Vendors

                        8. Pursuant to sections 105(a) and 363(c) of the Bankruptcy Code, the

     Debtors are authorized, but not directed, in the reasonable exercise of their business judgment, to

     pay some or all of the prepetition claims of the Critical Vendors (each, a "Critical Vendor

     Claim"), upon such terms and in the manner provided in this Order and the Motion and subject

     to the Management Approval Process (as defined below); provided, that payments to Critical

     Vendors on account of prepetition claims shall not exceed $40 million during the chapter 1 1

     cases; provided, further, that payments to Critical Vendors on account of such prepetition claims

     may not be accelerated and shall be made only in the ordinary course in accordance with

     Customary Trade Terms.


                        9. As used herein, the term "Management Approval Process" means the


     advance review and approval by the chief financial officer of the Company, following

     consultation with the Debtors' management and AlixPartners, LLP (collectively, with the chief

     financial officer, the "Vendor Council"), of payment of a Critical Vendor Claim. Twenty-four

     hours prior to any meeting of the Vendor Council to approve payment of any Critical Vendor

     Claim (the "Review Period"), the Debtors shall provide the Creditors' Committee's advisors

     with the following information:




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                                   (a) the summary schedules provided to the Vendor Council in
                                          connection with such proposed payments of Critical Vendor
                                          Claims; and

                                   (b) a detailed listing of each such proposed payment of a Critical
                                         Vendor Claim, as well as supporting documentation, which listing
                                         and documentation shall be consistent with the form of information
                                         previously provided to the Creditors' Committee's advisors in
                                         connection with the previous payments of Critical Vendor Claims
                                         made by the Debtors.

     During the Review Period, the Creditors' Committee may communicate with AlixPartners, LLP

     and the designated representatives of the Debtors in order to discuss the proposed payments of

     Critical Vendor Claims, it being understood, however, that the receipt of the above described

     information by the Creditors' Committee and its right to have communications with

     AlixPartners, LLP and the Debtors' representatives with respect thereto shall not (a) constitute

     grounds for the Creditors' Committee to object to the payment of any Critical Vendor Claim or

     (b) grant any consent right to the Creditors' Committee to the payment of any Critical Vendor

     Claim.


                         10. As soon as reasonably practicable following entry of this Order, the

     Debtors shall provide a list of potential Critical Vendors and potential Critical Vendor Claims to

     the Court and the U.S. Trustee (the "Critical Vendors List"). The Critical Vendors List shall

     not be publicly filed. The Debtors shall not pay a claim as a Critical Vendor Claim unless such

     claim is set forth on the Critical Vendors List; provided, that the Debtors may update the Critical

     Vendors List from time to time with two business days' written notice and opportunity to object

     to the U.S. Trustee and the advisors to the Creditors' Committee.


                         11. Promptly after entry of this Order and weekly thereafter, the Debtors shall

     provide counsel for the Creditors' Committee, counsel to the Term Loan Lender Ad Hoc Group,

     and the U.S. Trustee with a schedule of all payments made to the Critical Vendors on account of




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      the Critical Vendor Claims in accordance with the terms of this Order, which shall include the

      name and address of the Critical Vendor and the amount and date of the payment.

                         12. If a Critical Vendor refuses to supply products and/or services to the

      Debtors on Customary Trade Terms (or such other terms as are agreed by the parties) following

      receipt of payment on its prepetition claim, then the Debtors may, upon notice to the Creditors'

      Committee, and without further order of the Court:

                                  (a) Declare that any payments made to the Critical Vendor on account
                                         of such claim be deemed to have been in payment of then-
                                         outstanding (or subsequently accruing) postpetition claims of the
                                         Critical Vendor without further order of the Court or action by any
                                         person or entity; and

                                  (b) Take actions to recover or seek disgorgement of any payment
                                        made to the Critical Vendor on account of its prepetition claim to
                                        the extent that the payments exceeded the postpetition claims of
                                        the Critical Vendor, without giving effect to any rights of setoff,
                                         recoupment, claims, provision for payment of reclamation or trust
                                         fund claims, or other defense.


                         13. Under such circumstances, such Critical Vendor shall immediately repay

     to the Debtors any payment made to it on account of its prepetition claims to the extent that such

     payments exceed its postpetition claims, without giving effect to any rights of setoff,

     recoupment, claims, provision for payment of reclamation or trust fund claims, or other defense.


                        14. Nothing herein shall:

                                  (a) Constitute a waiver of the Debtors rights to seek damages,
                                        disgorgement or other appropriate remedies against any breaching
                                        Critical Vendor;

                                  (b) Be construed to waive, limit, or in any way affect the Debtors'
                                         ability to dispute a claim of a Critical Vendor;

                                  (c) Be deemed an admission to the validity of the underlying
                                         obligation, including any payment made pursuant to this Order;




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                                    (d) Be deemed to constitute an assumption or rejection of any
                                          executory contract or prepetition or postpetition agreement
                                          between the Debtors and a Critical Vendor; or

                                    (e) Be deemed to require the Debtors to make any of the payments to
                                           the Critical Vendors authorized herein.

                          15. Notwithstanding entry of this Order, the Debtors' rights to enforce the

      automatic stay provision of section 362 of the Bankruptcy Code with respect to any creditor who

      demands payment of its prepetition claims as a condition to doing business with the Debtors

      postpetition are preserved.


                                          Limited Relief from Automatic Stay

      Borrower Foreclosure, Eviction, and Related Proceedinss


                          16. The stay imposed by section 362(a) of the Bankruptcy Code is hereby

      modified to allow Interested Parties to assert and prosecute claims, cross-claims, third-party

      claims, and counter-claims related to judicial and non-judicial foreclosure, eviction, replevin,


      actions on the note, and collection actions (each a "Default Action") brought by the Debtors to

      the limited extent such claims, cross-claims, third-party claims, and counterclaims, including the

      appeal and settlement of such, (a) have the sole purpose of defending, unwinding, or otherwise

      enjoining or precluding the relief sought by the Debtors in the Default Action, (b) are necessary

      for the resolution of such Default Action, (c) do not result in any order, judgment, or decree

      against the Debtors entitling any party to an award of money damages, including, without

      limitation, Interested Parties' attorneys' fees or costs, and (d) do not result in a claim against

      property of any Debtor's estate, other than as expressly allowed in Paragraph 20 below

      (collectively, the "Permitted Default Actions").

                          17. Absent further order of this Court, the automatic stay shall remain in full

      force and effect with respect to any and all pending or future claims, cross-claims, third-party




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      claims, and counterclaims by Interested Parties other than the Permitted Default Actions,

      including those with respect to (a) monetary relief of any kind or any nature against the Debtors,

      including, without limitation, Interested Parties' attorneys' fees or costs, (b) claims of

      recoupment or setoff, and (c) actions asserted in the form of a class action or collective action.


                        18. For convenience, to avoid prejudice, or to expedite and economize, the


      claims described in Paragraph 16 above may proceed separately from any other claim that is

      stayed by the Bankruptcy Code. Should there be any disagreements between or among any

      Interested Parties and/or the Debtors regarding whether any claims, cross-claims, third-party

      claims, or counterclaims fall within the exception to the automatic stay approved by this Court,

      this Court shall have exclusive jurisdiction to hear and resolve such disputes.

      Borrower Bankruptcy Proceedings


                        19. The automatic stay imposed by section 362(a) of the Bankruptcy Code

      applicable against a borrower who has sought, or may seek during the pendency of these cases,

      bankruptcy protection under chapters 7, 11, 12, or 13 of the Bankruptcy Code (each,

      a "Bankrupt Borrower"), is hereby modified pursuant to the following terms and conditions:

                        (a) except as set forth herein, a Bankrupt Borrower, a Bankruptcy Trustee, or
                                  a United States Trustee shall be entitled:

                                  (i) to assert or continue to assert an objection to a proof of claim,
                                         notice of payment change, notice of postpetition fee, expense, or
                                         charge, or response to notice of final cure (collectively,
                                         the "Required Bankruptcy Documents") filed by the Debtors in
                                         the Bankrupt Borrower's bankruptcy case;

                                  (ii) to assert or continue to assert an objection to a motion to lift the
                                           automatic stay filed by the Debtors in the Bankrupt Borrower's
                                         bankruptcy case;

                                  (iii) to assert appeals with respect to items (i) and (ii); and

                                  (iv) to seek an accounting from the Debtors with respect to the
                                         Bankrupt Borrower's loan;




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                         (b) except as set forth herein, a Bankrupt Borrower shall be entitled:

                                   (i) to engage in court-supervised or court-authorized loss-mitigation
                                           programs regarding the Bankrupt Borrower's loan;and

                                   (ii) to engage in discussion with the Debtors and execute a
                                           modification of the Bankrupt Borrower's loan or otherwise
                                          discuss, enter into, and consummate settlements of claims and liens
                                          in accordance with the ordinary course of the Debtors' business
                                          and applicable law;

                         (c) absent further order of this Court, the automatic stay shall remain in full
                                 force and effect with respect to all the Bankrupt Borrower's, the
                                   Bankruptcy Trustee's, and the United States Trustee's direct claims,
                                   counterclaims, motions, or adversary proceedings: 3


                                   (i) for monetary relief of any kind and of any nature against the
                                          Debtors, including, without limitation, attorneys' fees or costs,
                                          with the exception of adjustments resulting from objections
                                          permitted pursuant to Paragraph 19(a)(i) above;

                                   (ii) for violation of any local, state, or federal statute or other law in
                                            connection with the origination of the Bankrupt Borrower's loan;
                                          or


                                   (iii) asserted in the form of a class action;

                         (d) absent further order of this Court, the automatic stay shall remain in full
                                force and effect with respect to (a) any party seeking to intervene in a
                                Bankrupt Borrower's bankruptcy case to assert claims against the Debtors
                                on behalf of itself or others (including, without limitation, a class of
                                borrowers) and (b) any class action or collective action brought by any
                                Bankrupt Borrower on behalf of any class;

                         (e) with the sole exception of objections to Debtors' proofs of claim permitted
                                by subsection (a)(i) above, and solely for purposes of reducing any such
                                claim and not for the purpose of obtaining an affirmative recovery or
                                   award, under no circumstances shall a Bankrupt Borrower, a Bankruptcy
                                   Trustee, or a United States Trustee be entitled to recoup, setoff, or collect
                                   from the Debtors any judgment or award related to any direct claim or
                                   counterclaim for which the automatic stay has been lifted by the terms of
                                   this Order;




     3 United States Trustees have been included in this provision out of an abundance of caution. However, as
           referenced in Paragraph 31 of this Order, nothing herein shall be construed to limit the rights of the Office of
          the United States Trustee to take any action in these chapter 11 cases not subject to the automatic stay.




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                         (f) the Debtors shall retain the right, upon appropriate motion and notice to
                                   any Bankrupt Borrower, Bankruptcy Trustee, or United States Trustee, to
                                   seek to impose any provision of section 362(a) of the Bankruptcy Code
                                   modified by this Order, and to the extent such relief is sought, the Debtors
                                   will not object to such party's telephonic participation at any hearing on
                                   such motion;

                         (g) nothing set forth herein shall preclude or limit any Bankrupt Borrower,
                                Bankruptcy Trustee, or United States Trustee from seeking relief from the
                                automatic stay under section 362(a) of the Bankruptcy Code on
                                appropriate motion and notice to the Debtors and parties in interest; and

                         (h) should there be any disagreements between the Debtors, a Bankrupt
                                   Borrower, a Bankruptcy Trustee, or a United States Trustee regarding
                                   whether any actions, claims, or counterclaims fall within the exception to
                                   the automatic stay approved by this Court, this Court shall have exclusive
                                   jurisdiction to hear and resolve such dispute.

     Actions Involvins Amount, Validity, or Priority of Liem

                         20. The automatic stay imposed by section 362(a) of the Bankruptcy Code

     applicable to actions involving the amount, validity, and/or priority of liens with respect to

     properties subject to mortgages owned or serviced by the Debtors (such actions, "Title

     Disputes")4 is hereby modified to allow Interested Parties to defend and assert and prosecute

     claims, cross-claims, third-party claims, and counter-claims, including the appeal or settlement


     of such, in Title Disputes, to the limited extent such claims, cross-claims, third-party claims, and

     counterclaims (a) are necessary for the resolution of such Title Dispute and (b) do not result in

     any order, judgment, or decree against the Debtors entitling any party to an award of money

     damages including, without limitation, Interested Parties' attorneys' fees or costs (collectively,

     the "Permitted Title Disputes").

                         21. Absent further order of this Court, the automatic stay shall remain in full

     force and effect with respect to any and all pending or future claims, cross-claims, third-party


     4 These actions include quiet title suits, efforts by third parties to foreclose their liens, eminent domain and
          condemnation suits, corrective and reformation actions, disputes with home owners associations or common
           interest associations, code violation actions, tax sales, and other analogous causes of action.




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     claims, and counterclaims against the Debtors other than the Permitted Title Disputes, including

     those with respect to (a) monetary relief of any kind or any nature against the Debtors, including,

     without limitation, Interested Parties' attorneys' fees or costs, (b) actions for partition or criminal

     forfeiture or seizure of the property securing lien(s) held by the Debtors, (c) relief that is not

     necessary for the resolution of the Title Dispute, or (d) actions asserted in the form of a class

     action or collective action.


                        22. For convenience, to avoid prejudice, or to expedite and economize, the


     claims described in Paragraph 20 above may proceed separately from any other claim that is

     stayed by the Bankruptcy Code. Should there be any disagreements between or among any

     Interested Parties and/or the Debtors regarding whether any claims, cross-claims, third-party

     claims, or counterclaims fall within the exception to the automatic stay approved by this Court,

     this Court shall have exclusive jurisdiction to hear and resolve such disputes.

                  Additional Relief Related to Fannie IVIae, Freddie IVIac, and Ginnie Mae

                        23. The Debtors are authorized to provide to Fannie Mae, Freddie Mac, and

     Ginnie Mae assurances of future performance under the applicable Agency Agreements on the

     terms and conditions set forth in Schedules 1, 2, and 3 to this Order and to comply therewith;

     provided, that, nothing herein, including the provision of such assurances, shall be deemed to

     constitute an assumption or rejection of any executory contract or prepetition or postpetition

     agreement between the Debtors and Fannie Mae, Freddie Mac, or Ginnie Mae, as applicable. The

     acceptance by Fannie Mae, Freddie Mac, and Ginnie Mae of the assurances and related relief

     granted pursuant to this Order shall not be deemed to constitute consent by Fannie Mae, Freddie

     Mac, and Ginnie IVIae of the assumption and assignment of the applicable Agency Agreements or

     to the release of any Debtor from any obligations under the Ginnie Mae Agreements.

     Notwithstanding anything herein or in any order to the contrary, Fannie Mae, Freddie Mac, and



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     Ginnie Mae may seek additional assurances or modification to its grant of assurances provided

     herein so as to provide different or additional assurance, without prejudice to the right of the

     Debtors or any other party in interest to contest any such addition or modification.

                        24. For the avoidance of doubt, all payments by the Debtors to Fannie Mae,

     Freddie Mac, Ginnie IVIae, and Ginnie Mac guaranteed RMBS investors under the Agency

     Agreements (including, without limitation, repurchase or repurchase-related requests and

     requests for payments of principal and interest, Servicer Advances, and other origination-related,


     servicing-related, and with respect to Ginnie Securitized Loans, securitization-related escrows,


     fees and claims) shall be made free and clear of any lien, security interest, or other interest of any

     party, including, without limitation, any prepetition or postpetition lenders.

                        25. Nothing in this Order constitutes a determination of the applicability, if

     any, of the automatic stay under Bankruptcy Code section 362(a) to requests by Fannie Mae,

     Freddie Mac, or Ginnie Mae to the Debtors to honor their origination-related, servicing-related,

     and with respect to Ginnie Securitized Loans, securitization-related, commitments and

     obligations, including, without limitation, repurchase or repurchase-related requests and requests

     for payment of principal and interest, Servicer Advances, and other origination-related,

     servicing-related, and with respect to Ginnie Securitized Loans, securitization-related, fees and


     claims, in each case to the extent provided under the relevant Agency Agreements, and the rights

     of all parties are reserved with respect thereto. Without limiting the foregoing, in the event of a

     failure by any Debtor to timely (i) make a Servicer Advance, or (ii) remit or deposit receipts of

     the relevant mortgagee's assets, in any such case, required to be made or remitted by such


     Debtor, in its servicing or servicing-related role, pursuant to any Fannie Agreement or any


     Freddie Agreement, which failure has continued beyond any applicable cure, grace or notice




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      period set forth in such Fannie Agreement or Freddie Agreement and as a result of which Fannie

      Mae or Freddie Mac, as applicable, under such Fannie Agreement or Freddie Agreement would

      otherwise have the current right (but for the effect of the automatic stay, to the extent applicable)

      to terminate the applicable Debtor from such servicing or servicing related role pursuant to the

      terms of such Fannie Agreement or Freddie Agreement, then Fannie Mac or Freddie Mac, as

      applicable, may elect to avail itself of procedures set forth in Paragraph 6 above, with respect to

      such failure.


                         26. To the extent that the automatic stay under Bankruptcy Code section

      362(a) applies to requests by Fannie Mac, Freddie Mac, and Ginnie Mae that the Debtors honor

      their origination-related, servicing-related, and with respect to Ginnie Securitized Loans,

      securitization-related, commitments and obligations, the automatic stay is hereby modified to the

      limited extent necessary to allow Fannie Mae, Freddie Mac, and Ginnie Mae to make such

      requests to the Debtors, including, without limitation, repurchase or repurchase-related requests


      and requests for payment of principal and interest, Servicer Advances, and other origination-


     related, servicing-related, and with respect to Ginnie Securitized Loans, securitization-related,


      fees and claims, in each case to the extent provided under the relevant Agency Agreements;

     provided, that, Fannie Mae, Freddie Mac, and Ginnie Mae reserve all rights to assert that they

     may exercise any and all rights available to them under their respective agreements

     notwithstanding the automatic stay.

                                                 Other Relief

                         27. Nothing contained in the Motion or this Order, nor any payment made

     pursuant to the authority granted by this Order, shall constitute or be construed as (a) an

     admission as to the validity of any claim against the Debtors; (b) a waiver of the Debtors' or any

     appropriate party in interest's rights to dispute the amount of, basis for, or validity of any claim



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      against the Debtors; (c) a waiver of any claims or causes of action which may exist against any

      creditor or interest holder; or (d) an approval, assumption, adoption, or rejection of any

      agreement, contract, lease, program, or policy between the Debtors and any third party under

      section 365 of the Bankruptcy Code.

                        28. Notwithstanding anything to the contrary contained herein or in the

     Motion, any payment, obligation or other relief authorized by this Order shall be subject to and

      limited by the requirements imposed on the Debtors under the terms of any interim and/or final

      order approving the Debtors' Motion for Interim and Final Orders (A) Authorizing Debtors to

      Enter Into Repurchase Agreement Facilities, Servicer Advance Facilities and Related

      Documents; (B) Authorizing Debtors to Sell Mortgage Loans and Servicer Advance Receivables

      in the Ordinary Course of Business; (C) Granting Back-Up Liens and Superpriority

     Administrative Expense Claims; (D) Authorizing Use of Cash Collateral and Granting Adequate

      Protection (E) Modifying the Automatic Stay; (F) Scheduling a Final Hearing; and (G) Granting

      Related Relief [EC¥ No. 26], as may be amended or superseded from time to time, or any budget

     in connection therewith, entered by this Court in these chapter 11 cases.

                        29. Nothing herein shall create, nor is intended to create, any rights in favor of

     or enhance the status of any claim held by any party.

                        30. Nothing herein shall be construed to limit the right of any governmental

     unit (as such term is defined in section 101(27) of the Bankruptcy Code) to take any action not

     subject to the automatic stay.

                        31. Nothing herein shall be construed to narrow or limit any exception to the

     automatic stay under section 362(b) of the Bankruptcy Code applicable to the United States

     Trustee Program or any other governmental unit pursuant to any police and regulatory power.




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                         32. Under the circumstances of these chapter 11 cases, notice of the Motion is

     adequate under Bankruptcy Rule 6004(a).

                         33. Notwithstanding Bankruptcy Rule 6004(h), this Order shall be

     immediately effective and enforceable upon its entry.

                         34. The Debtors are authorized to take all action necessary to effectuate the

     relief granted in this Order,

                         35. The Court shall retain jurisdiction to hear and determine all matters arising

     from or related to the implementation, interpretation, and/or enforcement of this Order.




     Dated: March 20, 2019
            New York, New York


                                                      1's.l Ocime^ A, ^Wtit^, (k,.
                                                      HONORABLE JAMES L. GARRITY, JR.
                                                      UNITED STATES BANKRUPTCY JUDGE




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                                                   Schedule 1

                                   Fannie Mac Assurances of Future Performance




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                                   FannjeJVIae Assurances of Future Performance


    1. Ditech shall provide Fannie Mae staff with regular access to Ditech facilities, including
          reasonable access to its books, records, and accounts, so as to allow Fannie Mae to oversee
          Ditech's performance of its servicing duties.


    2. Ditech shall at all times maintain its servicing performance to the standards set forth in
         certain Fannie Mae Mortgage Selling and Servicing Contract dated as of March 23, 2005
          (together with all supplements, addendums, amendments, and related agreements,
          the "Fannie IVIae Mortgage Selling and Servicing Contract"), which includes that certain
          Selling Guide: Fannie Mae Single Family (together with all supplements, addendums,
          amendments, and related agreements, the "Fannie Selling Guide") and that certain Servicing
          Guide: Fannie Mae Single Family (together with all supplements, addendums, amendments,
          and related agreements, the "Fannie Servicing Guide" and, together with the Fannie Selling
          Guide, the "Fannie Guides"), that certain Subservicing Agreement effective as of
          December 22, 2010 (together with all supplements, addendums, amendments, and related
          agreements, the "Fannie Subservicing Agreement"), and that certain Pledge and Security
          Agreement effective as of December 19, 2014 (together with all supplements, addendums,
          amendments, and related agreements, the "Fannie Pledge Agreement" and, together further
          with the Fannie Mae Mortgage Selling and Servicing Contract, the Fannie Subservicing
          Agreement, and the Fannie Guides, the "Fannie Agreements"), as well as to the following
          supplemental standards:

          (a) As to each separate portfolio of Fannie Mae loans serviced or subserviced by Ditech,
               Ditech shall maintain monthly STAR Scorecard metrics as good as or better than such
               metrics for such portfolio as of the month ending November 30, 2018;

          (b) No STAR overall operational assessment can result in a rating of "red";

          (c) Any formal servicing compliance review must not return an overall risk rating of
                'high';

          (d) As applicable, Ditech shall comply with the High Touch Servicing Protocols previously
                agreed to by Fannie Mae and Ditech;

          (e) Ditech shall use best efforts to reduce the net population of seriously delinquent loans;

          (f) Ditech shall timely comply with all servicing action plans;

          (g) Ditech shall deliver custodial account reconciliations of all P&I and T&I accounts
               relating to Fannie Mac Loans via tapes to Fannie Mae on or before the fifteenth day of
               the month immediately following the reconciliation period;

          (h) Ditech shall provide Fannie Mae with a copy of its key employee retention program
                 and key employee incentive program;

     ' Capitalized terms used but not otherwise defined herein or in the Motion shall have the meaning ascribed to
           such term in the Fannie Agreements (as defined below).




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          (i) Ditech shall at all times maintain staffing levels commensurate with the servicing
                 portfolio, including maintaining adequate staffing within the requisite servicing
                 departments;

          (j) Ditech shall provide notice to Fannie Mae, within two (2) business days, of (i) senior
                management departures and/or (ii) the number of loans per employee falling below the
                level as of the date of the bankruptcy filing;

          (k) Ditech shall provide all reporting and other servicing information as reasonably
               requested by Fannie Mae, including such additional reports that may be requested, as
               currently permitted under the Fannie Servicing Guide;

          (1) Ditech shall continue regularly scheduled engagements with Fannie Mae, such as the
                monthly performance reviews at the current participation level, including Ditech senior
                 management;


          (m) Ditech shall keep Fannie Mae apprised of its ongoing compliance efforts, and will be
               entitled to apply for and obtain any extensions as it deems appropriate, which
               extensions will not be withheld solely on the basis ofDitech's bankruptcy proceedings;

          (n) Ditech shall deliver to Fannie Mae the following information: (i) on a quarterly basis, a
                completed Mortgage Bank Financial Reporting Form, (ii) monthly financial statements,
                and (iii) weekly liquidity reporting, in each case, on the same timeframe as such reports
               were delivered immediately prior to the Commencement Date;

          (o) Ditech shall continue to meet margin requirements as may be required under the Fannie
                Agreements in connection with the sale of loans; and

          (p) Ditech agrees to comply with the Fannie Servicing Guide to facilitate the orderly
               transfer of servicing rights to any new servicer where applicable.

    3. Ditech shall maintain response times to file requests (for both origination and servicing files)
          timely (within 30 days) as is current practice and Ditech will comply with Fannie Mac
          timelines for appeal letters, identifying "impasse loans", and for supplying missing
          documents as well as timely addressing aged repurchase issues.


    4. Ditech shall not grant a lien or security interest (including any adequate protection liens) in
          (a) any cash, accounts, or other collateral (or any proceeds of the foregoing) that has been
          pledged to Fannie Mae pursuant to any collateral pledge agreement or other security
          agreement between Ditech and Fannie Mae (including, without limitation, the Fannie Pledge
          Agreement), or (b) any mortgage servicing rights with respect to mortgages which are now or
          hereafter serviced or subserviced by Ditech for Fannie Mae, except as otherwise expressly
          authorized by, that certain Acknowledgment Agreement With Respect to Servicing Advance
          Receivables, dated as of February 9, 2018 and effective as of February 12, 2018, and
          amended as of April 20, 2018 (as further amended, restated, supplemented or otherwise
          modified from time to time), among Fannie Mae, Ditech, Ditech Agency Advance Depositor
          LLC, Ditech Agency Advance Trust, Wells Fargo Bank, N.A, in its capacity as Indenture
          Trustee, and Barclays Bank PLC, in its capacity as Administrative Agent; or by that certain




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          First Amended and Restated Acknowledgment Agreement dated as of February 9, 2018 (as
          amended, restated, supplemented or otherwise modified from time to time), among Fannie
          IVtae, Ditech, Credit Suisse AG, Cayman Islands Brach, in its capacity as collateral agent for
          the First Lien Secured Party, and Wilmington Savings Fund Society, FSB, in its capacity as
          Collateral Agent for the Second Lien Secured Party. In addition, Ditech shall not seek to
          modify or otherwise affect Fannie Mac's rights under the Fannie Mae Pledge Agreement.




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                                                   Schedule 2

                                  Freddie Mac Assurances of Future Performance




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                                   Freddie Mac Assurances of Future Performance'


    1. Ditech shall provide Freddie Mac staff with regular access to Ditech facilities, including
          reasonable access to its books, records, and accounts, so as to allow Freddie Mac to oversee
          Ditech's performance of its servicing duties.

    2. Ditech shall at all times maintain its servicing performance consistent with the standards set
          forth in the that certain Master Agreement dated as of August 1, 2014, as amended and
          restated on October 6, 2017 (together with all supplements, addendums, amendments, and
          related agreements, the "Freddie Master Agreement"), that certain Purchase Agreement
          dated as of November 7, 2018 (together with all supplements, addendums, amendments, and
          related agreements, the "Freddie Purchase Agreement"), and the Freddie Mac Single-
          Family Seller/Servicer Guide (the "Freddie Selling and Servicing Guide" and, together
          with the Freddie Master Agreement and the Freddie Purchase Agreement, the "Freddie
          Agreements"), as well as with the following supplemental standards (provided that, nothing
          herein is intended to waive or release any of Ditech's current obligations under the Freddie
          Agreements):

          (a) In connection with any operation assessment by Freddie Mac's Counterparty
                Operations Risk Evaluation group ("CORE"), Ditech must maintain an operational
                 assessment that is above "critical" or "major" for each finding in connection with such
                 assessment. If there is a finding by CORE of "critical," "major" or "other" for any
                 matter that is within the scope of any CORE review, Ditech must remediate and address
                 each such finding;

          (b) Ditech shall deliver custodial account reconciliations of all P&I and T&I accounts
               relating to Freddie Mac Loans via tapes to Freddie Mac on or before the fifth day of the
               month immediately following the reconciliation period;

          (c) Ditech shall provide Freddie Mac with a copy of its key employee retention program
                 and key employee incentive program;

          (d) Ditech shall at all times maintain staffing levels commensurate with the servicing
               portfolio, including maintaining adequate staffing within the requisite servicing
                 departments;

          (e) Ditech shall provide notice to Freddie Mac, within five business days, of senior
                 management departures or larger-than-average departures of non-management
                 personnel;


          (f) Ditech shall provide all reporting and other servicing information as reasonably
                requested by Freddie Mac, including (without limitation) fraud reports and such
                additional reports that may be requested by Freddie Mac, in accordance with the
                Freddie Selling and Servicing Guide;



           Capitalized terms used but not otherwise defined herein or in the Motion shall have the meaning ascribed to
           such term in the Freddie Agreements (as defined below).




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          (g) Ditech shall confer and consult with Freddie Mac in good faith with respect to the
               implementation of any new programs/directives, and policy changes and Ditech will
               (i) comply with such changes if compliance is required pursuant to applicable law or
               regulation, or if noncompliance would itself constitute grounds for termination of
               Ditech as a seller/servicer under the Freddie Agreements, and (ii) use commercially
               reasonable efforts to comply with such changes in all other cases, notwithstanding
               possible additional costs to implement those changes;

          (h) Ditech shall keep Freddie Mac apprised of its ongoing compliance efforts, and will be
               entitled to apply for and obtain any extensions as it deems appropriate, which
               extensions will not be withheld solely on the basis ofDitech's bankruptcy proceedings.
               As with other lenders, Freddie IVIac will acknowledge, but not approve, extension
               requests and will not assert a breach based solely on such non-compliance for up to 90
                  days of non-compliance;


          (i) Ditech shall continue (post-filing) its regularly scheduled meetings and engagements
                with Freddie Mac, including (without limitation) monthly executive meetings and any
                and all reviews relating to the servicing of the Freddie Mac servicing portfolio;

          (j) Ditech shall maintain response times to file requests (for both origination and servicing
                files) timely (within 30 days), as is current practice, and Ditech will comply with
                Freddie Mac timelines for appeal letters, and for supplying missing documents, as well
                as timely addressing aged repurchase issues; and

          (k) Ditech agrees to comply with the Freddie Selling and Servicing Guide, and specifically
                Chapter 7101 thereof, to facilitate the orderly transfer of servicing rights to any new
                  servicing agent where applicable.

          Ditech shall not grant a lien or security interest (including any adequate protection liens) in
          (a) any cash, accounts, or other collateral (or any proceeds of the foregoing) that has been
          pledged to Freddie Mac pursuant to any collateral pledge agreement or other security
          agreement between Ditech and Freddie IVIac (including, without limitation, the Amended and
          Restated Collateral Account Control Agreement, dated as of January 17, 2014, and the
          Amended and Restated Collateral Pledge Agreement, dated as of January 17, 2014)
          (collectively, the "Freddie M[ac Pledge Agreements"), (b) any mortgage servicing rights
          with respect to mortgages which are now or hereafter serviced by Ditech for Freddie Mac, or
          (c) the "Servicing Collateral" as defined and referenced in, and except as otherwise expressly
          authorized by, that certain Second Amended and Restated Acknowledgement Agreement,
          dated as of October 30, 2015, among Freddie Mac, Ditech, and Credit Suisse AG, Cayman
          Islands Branch. In addition, Ditech shall not seek to modify or otherwise affect Freddie
          Mac's rights under the Freddie Mac Pledge Agreements.




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                                                  Schedule 3

                                  Ginnie Mac Assurances of Future Performance




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                                  Ginnie MaeAssurances of Future Performance'


    1. Ditech shall provide Ginnie Mae staff and its designees with regular access to Ditech
          facilities, including reasonable access to its books, records, and accounts, so as to allow
          Ginnie Mac to oversee Ditech's performance of its securitization duties.

    2. Ditech shall at all times maintain its securitization performance to the standards set forth in
          that certain Master Servicing Agreement dated as of October 9, 2015 (collectively with the
          Cross-Default Agreement, that certain Escrow Tri-Party Agreement dated as of January 30,
          2019, all guaranty agreements, RMBS prospectus documents, escrow agreements,
          acknowledgment agreements, supplements, addendums, amendments, and related
          agreements, the "Ginnie Mac Master Servicing Agreements") and the Ginnie Mae
          Mortgage-Backed Securities Guide (the "Ginnie Mac Guide" and, together with the Ginnie
          Mae Master Servicing Agreements, the "Ginnie Mac Agreements") as well as to the
          following supplemental or existing standards:

          (a) Ditech shall deliver custodial account reconciliations of all P&I and T&I accounts
               relating to Ginnie Securitized Loans via tapes to Ginnie Mae on or before the 15th day
               of the month immediately following the reconciliation period;

          (b) Ditech shall provide Ginnie Mae with a copy of its key employee retention program
               and key employee incentive program and updates to form HUD 11702, as applicable;

          (c) Ditech shall provide notice to Ginnie Mac of senior management departures and
               updates to form HUD 11702, as applicable, as required under the Ginnie Mae
                 Agreements;


          (d) Ditech shall provide Ginnie Mae with a report identifying the Critical Vendors for the
                 Ginnie Mac guaranteed RMBS portfolio and a contact list of parties (other than
                 document custodians) to whom loan collateral documents have been or are delivered,
                 including ancillary systems and location of any origination, credit, and servicing files,
                 imaging, and records stored in hard copy format;

          (e) Ditech shall provide all reporting and other securitization information requested by
                Ginnie Mac, including such additional reports that may be reasonably requested, as
                currently permitted under the Ginnie Mac Agreements; and

          (f) Ditech shall keep Ginnie Mae apprised of its ongoing compliance efforts, and will be
                entitled to apply for and obtain any extensions from Ginnie Mae, in Ginnie Mac's sole
                discretion, which extensions will not be withheld solely on the basis of Ditech's
                 bankruptcy proceedings. Ditech may not seek extensions of the statutory requirement
                 to obtain mortgage insurance or guaranty for pooled loans or extensions of regulatory
                 requirements. A request to approve a transfer of issuer responsibility is not an
                 extension request.



     ' Capitalized terms used but not otherwise defined in the Motion shall have the meaning ascribed to such term in
          the Ginnie Mac Agreements (as defined below).




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    3. Ditech shall maintain response times to file requests timely as is current practice and Ditech
          will comply with the requisite timelines pursuant to the Ginnie Mae Agreements.

    4. Ditech shall timely comply with the Ginnie Mae Buyout Obligations set forth in the Ginnie
          Mae Agreements.


    5. Ditech shall maintain delinquency rates on outstanding pools and loan packages below the
          threshold levels described in the Ginnie Mae Guide.

    6. Ditech shall comply with all the terms and conditions outlined in the Ginnie Mae Notice of
          Violation dated as of February 8, 2019.




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